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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS



                                       EXHIBIT B




                                                                            App.297
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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

 THE STATE OF TEXAS and                             §
                                                    §
 THE STATE OF MISSOURI,                             §
                                                    §
             Plaintiffs,                            §
                                                    §    Case No. 2:21-cv-00067-Z
 v.                                                 §
                                                    §
 JOSEPH R. BIDEN, JR., in his official              §
 capacity as President of the United States         §
 of America, et al.,                                §
                                                    §
             Defendants.                            §
                                                    §

                       DECLARATION OF RYAN D. WALTERS IN SUPPORT OF
                      PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

I, Ryan D. Walters, hereby declare as follows:

            1.        I am over 18 years of age and am fully competent to make this declaration. I am

Special Counsel in the Special Litigation Unit at the Texas Office of Attorney General, and I am

admitted to practice law in this Court, and I represent the State of Texas in the above-captioned

matter. I submit this Declaration in support of Plaintiffs’ Motion for Preliminary Injunction. I have

personal knowledge of the facts stated herein.

            2.        Appended to the Plaintiffs’ Motion for Preliminary Injunction are the following

exhibits:


  Ex. No.         Title

        1         U.S. Dept. of Homeland Security Migrant Protection Protocols Website, which is
                  publicly available at Dep’t of Homeland Sec., Migrant Protection Protocols (Jan. 24,
                  2019), https://www.dhs.gov/news/2019/
                  01/24/migrant-protection-protocols
        2         Assessment of the Migrant Protection Protocols (Oct. 28, 2019), which is publicly
                  available at Dep’t of Homeland Sec., Assessment of the Migrant Protection Protocols


                                                                                              App.298
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               (MPP), https://www.dhs.gov/sites
               /default/files/publications/assessment_of_the_migrant_protection_protocols_mpp.pdf


      3         Memorandum of Understanding between the U.S. Department of Homeland Security
               and the State of Texas
      4        U.S. Customs and Border Protection Custody and Transfer Statistics FY2021, which
               is publicly available at U.S. Customs and Border Protection, Custody and Transfer
               Statistics FY2021, Office of Field Operations - Dispositions and Transfers,
               https://www.cbp.gov/newsroom/stats/custody-and-transfer-statistics

      5        U.S. Customs and Immigration Services Description of Parole, which is publicly
               available at USCIS, Humanitarian or Significant Public Benefit Parole for
               Individuals Outside the United States, “What is Parole?” (Mar. 31, 2021),
               https://www.uscis.gov/humanitarian/humanitarian-or-significant-public-benefit-
               parole-for-individuals-outside-the-united-states.
      6        U.S. Department of Homeland Security’s Letter to Texas Attorney General Ken
               Paxton
      7        Texas Department of Public Safety Texas Criminal Illegal Alien Data

      8        U.S. Census Bureau Table – Geographic Mobility by Citizenship Status

      9        Foreign-Born Population in Texas: Sources of Growth

     10        Gone to Texas


          3.      The exhibits listed above are true and correct copies of what they purport to be.

I declare under the penalty of perjury that the foregoing is true and correct.

                                                         Executed on May 14, 2021

                                                         /s/ Ryan D. Walters
                                                         Ryan D. Walters

                                   CERTIFICATE OF SERVICE

           I hereby certify that on May 14, 2021, I electronically filed the foregoing document
  through the Court’s ECF system, which automatically serves notification of the filing on counsel
  for all parties.

                                                         /s/ Ryan D. Walters
                                                         Ryan D. Walters


                                                    2

                                                                                             App.299
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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS




     U.S. Dept. of Homeland Security Migrant Protection Protocols Website



                                      EXHIBIT B-1




                                                                            App.300
     Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21
~ Official website of the Department of Homeland Security
                                                                      Page 5 of 165 PageID 650

                U.S. Department of
                Homeland Security




 Archived Content
  In an effort to keep OHS.gov current, the archive contains outdated information that may
  not reflect current policy or programs.




Migrant Protection Protocols
Release Date: January 24, 2019


  "We have implemented an unprecedented action that will address the urgent humanitarian
  and security crisis at the Southern border. This humanitarian approach will help to end the
 exploitation of our generous immigration laws. The Migrant Protection Protocols represent a
   methodical commonsense approach, exercising long-standing statutory authority to help
     address the crisis at our Southern border." - Secretary of Homeland Security Kirstjen M.
                                                            Nielsen


What Are the Migrant Protection Protocols?
The Migrant Protection Protocols (MPP) are a U.S. Government action whereby certain foreign
individuals entering or seeking admission to the U.S. from Mexico - illegally or without proper
documentation - may be returned to Mexico and wait outside of the U.S. for the duration of
their immigration proceedings, where Mexico will provide them with all appropriate
humanitarian protections for the duration of their stay.


Why is DHS Instituting MPP?
The U.S. is facing a security and humanitarian crisis on the Southern border. The Department
of Homeland Security (DHS) is using all appropriate resources and authorities to address the
crisis and execute our missions to secure the borders, enforce immigration and customs laws,


                                                                                       App.301
    Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21 Page 6 of 165 PageID 651
facilitate legal trade and travel, counter traffickers, smugglers and transnational criminal
organizations, and interdict drugs and illegal contraband.

MPP will help restore a safe and orderly immigration process, decrease the number of those
taking advantage of the immigration system, and the ability of smugglers and traffickers to
prey on vulnerable populations, and reduce threats to life, national security, and public safety,
while ensuring that vulnerable populations receive the protections they need.

Historically, illegal aliens to the U.S. were predominantly single adult males from Mexico who
were generally removed within 48 hours if they had no legal right to stay; now over 60% are
family units and unaccompanied children and 60% are non-Mexican. In FYI 7, CBP
apprehended 94,285 family units from Honduras, Guatemala, and El Salvador (Northern
Triangle) at the Southern border. Of those, 99% remain in the country today.

Misguided court decisions and outdated laws have made it easier for illegal aliens to enter and
remain in the U.S. if they are adults who arrive with children, unaccompanied alien children,
or individuals who fraudulently claim asylum. As a result, DHS continues to see huge numbers
of illegal migrants and a dramatic shift in the demographics of aliens traveling to the border,
both in terms of nationality and type of aliens- from a demographic who could be quickly
removed when they had no legal right to stay to one that cannot be detained and timely
removed.

In October, November, and December of 2018, DHS encountered an average of 2,000 illegal
and inadmissible aliens a day at the Southern border. While not an all-time high in terms of
overall numbers, record increases in particular types of migrants, such as family units,
travelling to the border who require significantly more resources to detain and remove {when
our courts and laws even allow that), have overwhelmed the U.S. immigration system, leading
to a "system" that enables smugglers and traffickers to flourish and often leaves aliens in
limbo for years. This has been a prime cause of our near-800,000 case backlog in immigration
courts and delivers no consequences to aliens who have entered illegally.

Smugglers and traffickers are also using outdated laws to entice migrants to undertake the
dangerous journey north where on the route migrants report high rates of abuse, violence,
and sexual assault. Human smugglers and traffickers exploit migrants and seek to turn human
misery into profit. Transnational criminal organizations and gangs are also deliberately
exploiting the situation to bring drugs, violence, and illicit goods into American communities.
The activities of these smugglers, traffickers, gangs and criminals endanger the security of the
U.S., as well as partner nations in the region.

The situation has had severe impacts on U.S. border security and immigration operations.
The dramatic increase in illegal migration, including unprecedented number of families and
                                                                                 App.302
    Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21 Page 7 of 165 PageID 652
fraudulent asylum claims is making it harder for the U.S. to devote appropriate resources to
individuals who are legitimately fleeing persecution. In fact, approximately 9 out of 10 asylum
claims from Northern Triangle countries are ultimately found non-meritorious by federal
immigration judges. Because of the court backlog and the impact of outdated laws and
misguided court decisions, many of these individuals have disappeared into the country
before a judge denies their claim and simply become fugitives.

The MPP will provide a safer and more orderly process that will discourage individuals from
attempting illegal entry and making false claims to stay in the U.S., and allow more resources
to be dedicated to individuals who legitimately qualify for asylum.


What Gives DHS the Authority to Implement
MPP?
Section 235 of the Immigration and Nationality Act (INA) addresses the inspection of aliens
seeking to be admitted into the U.S. and provides specific procedures regarding the treatment
of those not clearly entitled to admission, including those who apply for asylum. Section
235(b)(2)(C) provides that "in the case of an alien . .. who is arriving on land (whether or not
at a designated port of arrival) from a foreign territory contiguous to the U.S.," the Secretary of
Homeland Security "may return the alien to that territory pending a [removal] proceeding
under§ 240" of the I NA." The U.S. has notified the Government of Mexico that it is
implementing these procedures under U.S. law.


Who is Subject to MPP?
With certain exceptions, MPP applies to aliens arriving in the U.S. on land from Mexico
(including those apprehended along the border) who are not clearly admissible and who are
placed in removal proceedings under INA§ 240. This includes aliens who claim a fear of return
to Mexico at any point during apprehension, processing, or such proceedings, but who have
been assessed not to be more likely than not to face persecution or torture in Mexico.
Unaccompanied alien children and aliens in expedited removal proceedings will not be
subject to MPP. Other individuals from vulnerable populations may be excluded on a case-by-
case basis.


How Will MPP Work Operationally?
Certain aliens attempting to enter the U.S. illegally or without documentation, including those
who claim asylum, will no longer be released into the country, where they often fail to file an
                                                                                       App.303
   Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21 Page 8 of 165 PageID 653
asylum application and/or disappear before an immigration judge can determine the merits of
any claim. Instead, these aliens will be given a "Notice to Appear" for their immigration court
hearing and will be returned to Mexico until their hearing date.

While aliens await their hearings in Mexico, the Mexican government has made its own
determination to provide such individuals the ability to stay in Mexico, under applicable
protection based on the type of status given to them.

Aliens who need to return to the U.S. to attend their immigration court hearings will be
allowed to enter and attend those hearings. Aliens whose claims are found meritorious by an
immigration judge will be allowed to remain in the U.S. Those determined to be without valid
claims will be removed from the U.S. to their country of nationality or citizenship.

DHS is working closely with the U.S. Department of Justice's Executive Office for Immigration
Review to streamline the process and conclude removal proceedings as expeditiously as
possible.


Will Migrants in MPP Have Access to Counsel?
Consistent with the law, aliens in removal proceedings can use counsel of their choosing at no
expense to the U.S. Government. Aliens subject to MPP will be afforded the same right and
provided with a list of legal services providers in the area which offer services at little or no
expense to the migrant.


What Are the Anticipated Benefits of MPP?
Every month, tens of thousands of individuals arrive unlawfully at the Southern Border. MPP
will reduce the number of aliens taking advantage of U.S. law and discourage false asylum
claims. Aliens will not be permitted to disappear into the U.S. before a court issues a final
decision on whether they will be admitted and provided protection under U.S. law. Instead,
they will await a determination in Mexico and receive appropriate humanitarian protections
there. This will allow DHS to more effectively assist legitimate asylum-seekers and individuals
fleeing persecution, as migrants with non-meritorious or even fraudulent claims will no longer
have an incentive for making the journey. Moreover, MPP will reduce the extraordinary strain
on our border security and immigration system, freeing up personnel and resources to better
protect our sovereignty and the rule of law by restoring integrity to the American immigration
system.


Additional Information
                                                                                         App.304
     Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                                  Page 9 of 165 PageID 654
 • Secretary Nielsen lmP-lementation Memo (Lr2ublication/policy.:guidance-imr2lementation-migrant-

     Rrotection-r2rotocols)_(January 25, 2019, PDF)


Topics: Border Security_(L!Qr;iics/border-securitY.L Immigration and Customs Enforcement (L!Qr;iics/immigration-enforcement)_
Keywords: Border Security_(&gY.J!Yords/border-securitY.L, Immigration Enforcement (fuY.J!Yords/immigration-enforcement)_,
Migrant Protection Protocols (MPP)_(fuY.J!Yords/migrant-r;irotection-r;irotocols-mr;ir;i)_, Southwest Border {fuY.J!Yords/southwest-
border)_

Last Published Date: January 24, 2019




                                                                                                                      App.305
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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
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of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS




          Assessment of the Migrant Protection Protocols (Oct. 28, 2019)



                                      EXHIBIT B-2




                                                                             App.306
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                      Assessment of the Migrant Protection Protocols (MPP)
                                        October 28, 2019

    I.    Overview and Legal Basis

The Department of Homeland Security (DHS) remains committed to using all available tools to
address the unprecedented security and humanitarian crisis at the southern border of the United
States.

      •   At peak of the crisis in May 2019, there were more than 4,800 aliens crossing the border
          daily—representing an average of more than three apprehensions per minute.

      •   The law provides for mandatory detention of aliens who unlawfully enter the United
          States between ports of entry if they are placed in expedited removal proceedings.
          However, resource constraints during the crisis, as well as other court-ordered limitations
          on the ability to detain individuals, made many releases inevitable, particularly for aliens
          who were processed as members of family units.

Section 235(b)(2)(C) of the Immigration and Nationality Act (INA) authorizes the Department of
Homeland Security to return certain applicants for admission to the contiguous country from
which they are arriving on land (whether or not at a designated port of entry), pending removal
proceedings under INA § 240.

      •   Consistent with this express statutory authority, DHS began implementing the Migrant
          Protection Protocols (MPP) and returning aliens subject to INA § 235(b)(2)(C) to
          Mexico, in January 2019.

      •   Under MPP, certain aliens who are nationals and citizens of countries other than Mexico
          (third-country nationals) arriving in the United States by land from Mexico who are not
          admissible may be returned to Mexico for the duration of their immigration proceedings.

The U.S. government initiated MPP pursuant to U.S. law, but has implemented and expanded the
program through ongoing discussions, and in close coordination, with the Government of
Mexico (GOM).

      •   MPP is a core component of U.S. foreign relations and bilateral cooperation with GOM
          to address the migration crisis across the shared U.S.-Mexico border.

      •   MPP expansion was among the key “meaningful and unprecedented steps” undertaken by
          GOM “to help curb the flow of illegal immigration to the U.S. border since the launch of
          the U.S.-Mexico Declaration in Washington on June 7, 2019.”1



1
 https://www.whitehouse.gov/briefings-statements/readout-vice-president-mike-pences-meeting-mexican-foreign-
secretary-marcelo-ebrard/

                                                      1

                                                                                                   App.307
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       •   On September 10, 2019, Vice President Pence and Foreign Minister Ebrard “agree[d] to
           implement the Migrant Protection Protocols to the fullest extent possible.”2

       •   Therefore, disruption of MPP would adversely impact U.S. foreign relations—along with
           the U.S. government’s ability to effectively address the border security and humanitarian
           crisis that constitutes an ongoing national emergency.3


    II.    MPP Has Demonstrated Operational Effectiveness

In the past nine months—following a phased implementation, and in close coordination with
GOM—DHS has returned more than 55,000 aliens to Mexico under MPP. MPP has been an
indispensable tool in addressing the ongoing crisis at the southern border and restoring integrity
to the immigration system.

       Apprehensions of Illegal Aliens are Decreasing

       •   Since a recent peak of more than 144,000 in May 2019, total enforcement actions—
           representing the number of aliens apprehended between points of entry or found
           inadmissible at ports of entry—have decreased by 64%, through September 2019.

       •   Border encounters with Central American families—who were the main driver of the
           crisis and comprise a majority of MPP-amenable aliens—have decreased by
           approximately 80%.

       •   Although MPP is one among many tools that DHS has employed in response to the
           border crisis, DHS has observed a connection between MPP implementation and
           decreasing enforcement actions at the border—including a rapid and substantial decline
           in apprehensions in those areas where the most amenable aliens have been processed and
           returned to Mexico pursuant to MPP.


       MPP is Restoring Integrity to the System

       •   Individuals returned to Mexico pursuant to MPP are now at various stages of their
           immigration proceedings: some are awaiting their first hearing; some have completed
           their first hearing and are awaiting their individual hearing; some have received an order
           of removal from an immigration judge and are now pursuing an appeal; some have
           established a fear of return to Mexico and are awaiting their proceedings in the United
           States; some have been removed to their home countries; and some have withdrawn
           claims and elected to voluntarily return to their home countries.

2
  https://www.whitehouse.gov/briefings-statements/readout-vice-president-mike-pences-meeting-mexican-foreign-
secretary-marcelo-ebrard/
3
  https://www.whitehouse.gov/presidential-actions/presidential-proclamation-declaring-national-emergency-
concerning-southern-border-united-states/

                                                      2

                                                                                                    App.308
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  •   MPP returnees with meritorious claims can be granted relief or protection within months,
      rather than remaining in limbo for years while awaiting immigration court proceedings in
      the United States.

      o The United States committed to GOM to minimize the time that migrants wait in
        Mexico for their immigration proceedings. Specifically, the Department of Justice
        (DOJ) agreed to treat MPP cases such as detained cases such that they are prioritized
        according to longstanding guidance for such cases.

      o The first three locations for MPP implementation—San Diego, Calexico, and El
        Paso—were chosen because of their close proximity to existing immigration courts.

      o After the June 7, 2019, Joint Declaration between GOM and the United States
        providing for expansion of MPP through bilateral cooperation, DHS erected
        temporary, dedicated MPP hearing locations at ports of entry in Laredo and
        Brownsville, in coordination with DOJ, at a total six-month construction and
        operation cost of approximately $70 million.

      o Individuals processed in MPP receive initial court hearings within two to four
        months, and—as of October 21, 2019—almost 13,000 cases had been completed at
        the immigration court level.

      o A small subset of completed cases have resulted in grants of relief or protection,
        demonstrating that MPP returnees with meritorious claims can receive asylum, or any
        relief or protection for which they are eligible, more quickly via MPP than under
        available alternatives.

      o Individuals not processed under MPP generally must wait years for adjudication of
        their claims. There are approximately one million pending cases in DOJ immigration
        courts. Assuming the immigration courts received no new cases and completed
        existing cases at a pace of 30,000 per month—it would take several years, until
        approximately the end of 2022, to clear the existing backlog.

  •   MPP returnees who do not qualify for relief or protection are being quickly removed
      from the United States. Moreover, aliens without meritorious claims—which no longer
      constitute a free ticket into the United States—are beginning to voluntarily return home.

      o According to CBP estimates, approximately 20,000 people are sheltered in northern
        Mexico, near the U.S. border, awaiting entry to the United States. This number—
        along with the growing participation in an Assisted Voluntary Return (AVR) program
        operated by the International Organization for Migration (IOM), as described in more
        detail below—suggests that a significant proportion of the 55,000+ MPP returnees
        have chosen to abandon their claims.



                                               3

                                                                                       App.309
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III.   Both Governments Endeavor to Provide Safety and Security for Migrants

   •   The Government of Mexico (GOM) has publicly committed to protecting migrants.

       o A December 20, 2018, GOM statement indicated that “Mexico will guarantee that
         foreigners who have received their notice fully enjoy the rights and freedoms
         recognized in the Constitution, in the international treaties to which the Mexican State
         is a party, as well as in the current Migration Law. They will be entitled to equal
         treatment without any discrimination and due respect to their human rights, as well as
         the opportunity to apply for a work permit in exchange for remuneration, which will
         allow them to meet their basic needs.”

          ▪   Consistent with its commitments, GOM has accepted the return of aliens
              amenable to MPP. DHS understands that MPP returnees in Mexico are provided
              access to humanitarian care and assistance, food and housing, work permits, and
              education.

          ▪   GOM has launched an unprecedented enforcement effort bringing to justice
              transnational criminal organizations (TCOs) who prey on migrants transiting
              through Mexico—enhancing the safety of all individuals, including MPP-
              amenable aliens.

       o As a G-20 country with many of its 32 states enjoying low unemployment and crime,
         Mexico’s commitment should be taken in good faith by the United States and other
         stakeholders. Should GOM identify any requests for additional assistance, the United
         States is prepared to assist.

   •   Furthermore, the U.S. government is partnering with international organizations offering
       services to migrants in cities near Mexico’s northern border.

       o In September 2019, the U.S. Department of State Bureau of Population, Refugees,
         and Migration (PRM) funded a $5.5 million project by IOM to provide shelter in
         cities along Mexico’s northern border to approximately 8,000 vulnerable third-
         country asylum seekers, victims of trafficking, and victims of violent crime in cities
         along Mexico’s northern border.

       o In late September 2019, PRM provided $11.9 million to IOM to provide cash-based
         assistance for migrants seeking to move out of shelters and into more sustainable
         living.

   •   The U.S. Government is also supporting options for those individuals who wish to
       voluntarily withdraw their claims and receive free transportation home. Since November
       2018, IOM has operated its AVR program from hubs within Mexico and Guatemala,
       including Tijuana and Ciudad Juarez. PRM has provided $5 million to IOM to expand
       that program to Matamoros and Nuevo Laredo and expand operations in other Mexican

                                               4

                                                                                        App.310
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      northern border cities. As of mid-October, almost 900 aliens in MPP have participated in
      the AVR program.

  •   The United States’ ongoing engagement with Mexico is part of a larger framework of
      regional collaboration. Just as United Nations High Commissioner for Refugees has
      called for international cooperation to face the serious challenges in responding to large-
      scale movement of migrants and asylum-seekers travelling by dangerous and irregular
      means, the U.S. Government has worked with Guatemala, El Salvador, and Honduras to
      form partnerships on asylum cooperation (which includes capacity-building assistance),
      training and capacity building for border security operations, biometrics data sharing and
      increasing access to H-2A and H-2B visas for lawful access to the United States.



IV.   Screening Protocols Appropriately Assess Fear of Persecution or Torture

  •   When a third-country alien states that he or she has a fear of persecution or torture in
      Mexico, or a fear of return to Mexico, the alien is referred to U.S. Citizenship &
      Immigration Services (USCIS). Upon referral, USCIS conducts an MPP fear-assessment
      interview to determine whether it is more likely than not that the alien will be subject to
      torture or persecution on account of a protected ground if returned to Mexico.

         o MPP fear assessments are conducted consistent with U.S. law implementing the
           non-refoulement obligations imposed on the United States by certain international
           agreements and inform whether an alien is processed under—or remains—in
           MPP.

         o As used here, “persecution” and “torture” have specific international and
           domestic legal meanings distinct from fear for personal safety.

  •   Fear screenings are a well-established part of MPP. As of October 15, 2019, USCIS
      completed over 7,400 screenings to assess a fear of return to Mexico.

         o That number included individuals who express a fear upon initial encounter, as
           well as those who express a fear of return to Mexico at any subsequent point in
           their immigration proceedings, including some individuals who have made
           multiple claims.

         o Of those, approximately 13% have received positive determinations and 86%
           have received negative determinations.

         o Thus, the vast majority of those third-country aliens who express fear of return to
           Mexico are not found to be more likely than not to be tortured or persecuted on
           account of a protected ground there. This result is unsurprising, not least because
           aliens amenable to MPP voluntarily entered Mexico en route to the United States.


                                               5

                                                                                        App.311
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 V.    Summary and Conclusion

In recent years, only about 15% of Central American nationals making asylum claims have been
granted relief or protection by an immigration judge. Similarly, affirmative asylum grant rates
for nationals of Guatemala, El Salvador, and Honduras were approximately 21% in Fiscal Year
2019. At the same time, there are—as noted above—over one million pending cases in DOJ
immigration courts, in addition to several hundred thousand asylum cases pending with USCIS.

These unprecedented backlogs have strained DHS resources and challenged its ability to
effectively execute the laws passed by Congress and deliver appropriate immigration
consequences: those with meritorious claims can wait years for protection or relief, and those
with non-meritorious claims often remain in the country for lengthy periods of time.

This broken system has created perverse incentives, with damaging and far-reaching
consequences for both the United States and its regional partners. In Fiscal Year 2019, certain
regions in Guatemala and Honduras saw 2.5% of their population migrate to the United States,
which is an unsustainable loss for these countries.

MPP is one among several tools DHS has employed effectively to reduce the incentive for aliens
to assert claims for relief or protection, many of which may be meritless, as a means to enter the
United States to live and work during the pendency of multi-year immigration proceedings.
Even more importantly, MPP also provides an opportunity for those entitled to relief to obtain it
within a matter of months. MPP, therefore, is a cornerstone of DHS’s ongoing efforts to restore
integrity to the immigration system—and of the United States’ agreement with Mexico to
address the crisis at our shared border.




                                                6

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                 Appendix A: Additional Analysis of MPP Fear-Assessment Protocol


U.S. Citizenship and Immigration Services (USCIS) strongly believes that if DHS were to
change its fear-assessment protocol to affirmatively ask an alien amenable to MPP whether he or
she fears return to Mexico, the number of fraudulent or meritless fear claims will significantly
increase. This prediction is, in large part, informed by USCIS’s experience conducting credible
fear screenings for aliens subject to expedited removal. Credible fear screenings occur when an
alien is placed into expedited removal under section 235(b)(1) of the Immigration and
Nationality Act – a streamlined removal mechanism enacted by Congress to allow for prompt
removal of aliens who lack valid entry documents or who attempt to enter the United States by
fraud – and the alien expresses a fear of return to his or her home country or requests asylum.
Under current expedited removal protocol, the examining immigration officer – generally U.S.
Customs and Border Protection officers at a port of entry or Border Patrol agents – read four
questions, included on Form I-867B, to affirmatively ask each alien subject to expedited removal
whether the alien has a fear of return to his or her country of origin.4

The percentage of aliens subject to expedited removal who claimed a fear of return or requested
asylum was once quite modest. However, over time, seeking asylum has become nearly a default
tactic used by undocumented aliens to secure their release into the United States. For example,
in 2006, of the 104,440 aliens subjected to expedited removal, only 5% (5,338 aliens) were
referred for a credible fear interview with USCIS. In contrast, 234,591 aliens were subjected to
expedited removal in 2018, but 42% (or 99,035) were referred to USCIS for a credible fear
interview, significantly straining USCIS resources.

Table A1: Aliens Subject to Expedited Removal and Share Making Fear Claims, FY 2006 - 2018

               Fiscal Year       Subjected to   Referred for a      Percentage
                                 Expedited      Credible Fear       Referred for
                                 Removal        Interview           Credible Fear
               2006              104,440        5,338               5%
               2007              100,992        5,252               5%
               2008              117,624        4,995               4%
               2009              111,589        5,369               5%
               2010              119,876        8,959               7%
               2011              137,134        11,217              8%
               2012              188,187        13,880              7%
               2013              241,442        36,035              15%
               2014              240,908        51,001              21%
               2015              192,120        48,052              25%
               2016              243,494        94,048              39%
               2017              178,129        78,564              44%
               2018              234,591        99,035              42%

4
    See 8 C.F.R.§ 235.3(b)(2).

                                                7

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    Transitioning to an affirmative fear questioning model for MPP-amenable aliens would likely
    result in a similar increase. Once it becomes known that answering “yes” to a question can
    prevent prompt return to Mexico under MPP, DHS would experience a rise in fear claims similar
    to the expedited removal/credible fear process. And, affirmatively drawing out this information
    from aliens rather than reasonably expecting them to come forward on their own initiative could
    well increase the meritless fear claims made by MPP-amenable aliens.

    It also bears emphasis that relatively small proportions of aliens who make fear claims ultimately
    are granted asylum or another form of relief from removal. Table A2 describes asylum outcomes
    for aliens apprehended or found inadmissible on the Southwest Border in fiscal years 2013 –
    2018. Of the 416 thousand aliens making fear claims during that six-year period, 311 thousand
    (75 percent) had positive fear determinations, but only 21 thousand (7 percent of positive fear
    determinations) had been granted asylum or another form of relief from removal as of March 31,
    2019, versus 72 thousand (23 percent) who had been ordered removed or agreed to voluntary
    departure. (Notably, about 70 percent of aliens with positive fear determinations in FY 2013 –
    2018 remained in EOIR proceedings as of March 31, 2019.)

    Table A2: Asylum Outcomes, Southwest Border Encounters, FY 2013 – 2018

Year of Encounter                            2013       2014       2015       2016       2017       2018        Total
Total Encounters                             490,093    570,832    446,060    560,432    416,645    522,626     3,006,688
Subjected to ER                              225,426    222,782    180,328    227,382    160,577    214,610     1,231,105
              1
Fear Claims                                  39,648     54,850     50,588     98,265     72,026     100,756     416,133
 Positive Fear Determinations2               31,462     36,615     35,403     76,005     55,251     75,856      310,592
                                  3
 Asylum Granted or Other Relief              3,687      4,192      3,956      4,775      2,377      2,168       21,155
                                             11.7%      11.4%      11.2%      6.3%       4.3%       2.9%        6.8%
 Removal Orders4                             9,980      11,064     9,466      17,700     12,130     11,673      72,013
                                             31.7%      30.2%      26.7%      23.3%      22.0%      15.4%       23.2%
 Asylum Cases Pending                        17,554     21,104     21,737     53,023     40,586     61,918      215,922
                                             55.8%      57.6%      61.4%      69.8%      73.5%      81.6%       69.5%
 Other                                       241        255        244        507        158        97          1,502

    Source: DHS Office of Immigration Statistics Enforcement Lifecycle.
         Notes for Table A2: Asylum outcomes are current as of March 31, 2019.
         1
           Fear claims include credible fear cases completed by USCIS as well as individuals who claimed fear
         at the time of apprehension but who have no record of a USCIS fear determination, possibly because
         they withdrew their claim.
         2
           Positive fear determinations include positive determinations by USCIS as well as negative USCIS
         determinations vacated by EOIR.
         3
           Asylum granted or other relief includes withholding of removal, protection under the Convention
         Against Torture, Special Immigrant Juvenile status, cancelation of removal, and other permanent
         status conferred by EOIR.
         4
           Removal orders include completed repatriations and unexecuted orders of removal and grants of
         voluntary departure.



                                                              8

                                                                                                             App.314
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Implementing MPP assessments currently imposes a significant resource burden to DHS. As of
October 15, 2019, approximately 10% of individuals placed in MPP have asserted a fear of
return to Mexico and have been referred to an asylum officer for a MPP fear assessment. The
USCIS Asylum Division assigns on average approximately 27 asylum officers per day to handle
this caseload nationwide. In addition, the Asylum Division must regularly expend overtime
resources after work hours and on weekends to keep pace with the same-day/next-day processing
requirements under MPP. This workload diverts resources from USCIS’s affirmative asylum
caseload, which currently is experiencing mounting backlogs.

Most importantly, DHS does not believe amending the process to affirmatively ask whether an
alien has a fear of return to Mexico is necessary in order to properly identify aliens with
legitimate fear claims in Mexico because under DHS’s current procedures, aliens subject to MPP
may raise a fear claim to DHS at any point in the MPP process. Aliens are not precluded
from receiving a MPP fear assessment from an asylum officer if they do not do so initially upon
apprehension or inspection, and many do. As of October 15, 20195, approximately 4,680 aliens
subject to MPP asserted a fear claim and received an MPP fear-assessment after their initial
encounter or apprehension by DHS, with 14% found to have a positive fear of return to Mexico.
Additionally, Asylum Division records indicate as of October 15, 20196, approximately 618
aliens placed into MPP have asserted multiple fear claims during the MPP process (from the
point of placement into MPP at the initial encounter or apprehension) and have therefore
received multiple fear assessments to confirm whether circumstances have changed such that the
alien should not be returned to Mexico. Of these aliens, 14% were found to have a positive fear
of return to Mexico.

Additionally, asylum officers conduct MPP fear assessments with many of the same safeguards
provided to aliens in the expedited removal/credible fear context. For example, DHS officers
conduct MPP assessment interviews in a non-adversarial manner, separate and apart from the
general public, with the assistance of language interpreters when needed.7

In conducting MPP assessments, asylum officers apply a “more likely than not” standard, which
is a familiar standard. “More likely than not” is equivalent to the “clear probability” standard for
statutory withholding and not unique to MPP. Asylum officers utilize the same standard in the
reasonable fear screening process when claims for statutory withholding of removal and
protection under the Convention Against Torture (CAT).8 The risk of harm standard for
withholding (or deferral) of removal under the Convention Against Torture (CAT) implementing
regulations is the same, i.e., “more likely than not.”9 In addition to being utilized by asylum


5
  USCIS began tracking this information on July 3, 2019.
6
  USCIS began tracking this information on July 3, 2019.
7
  USCIS Policy Memorandum PM-602-0169, Guidance for Implementing Section 235(b)(2)(C) of the Immigration
and Nationality Act and the Migrant Protection Protocols, 2019 WL 365514 (Jan. 28, 2019).
8
  See INA § 241(b)(3); 8 C.F.R. § 1208.16(b)(2) (same); See 8 C.F.R. § 1208.16(c)(2).
9
  See 8 C.F.R. § 1208.16(c)(2); Regulations Concerning the Convention Against Torture, 64 Fed. Reg. 8478, 8480
(Feb. 19, 1999) (detailing incorporation of the “more likely than not” standard into U.S. CAT ratification history);
see also Matter of J-F-F-, 23 I&N Dec. 912 (BIA 2006).



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                                                                                                           App.315
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officers in other protection contexts, the “more likely than not” standard satisfies the U.S.
government’s non-refoulement obligations.




                                                 10

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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS




              Memorandum of Understanding Between Texas and DHS



                                      EXHIBIT B-3




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     AGREEMENT BETWEEN DEPARTMENT OF HOMELAND SECURITY AND THE
                          STATE OF TEXAS

The parties to this Agreement are on the one hand:

         (1)     the Department of Homeland Security,
         (2)     U.S. Customs and Border Protection (CBP),
         (3)     U.S. Immigration and Customs Enforcement (ICE), and
         (4)     U.S. Citizenship and Immigration Services (USCIS); 1

      and on the other hand:

         (5)     the State of Texas, by and through the Office of the Governor (Texas).
I.       AUTHORITY

The authorities governing this Agreement include, but are not limited to:

         (1)     the Immigration Reform and Control Act of 1986, Pub. L. No. 99-603, 100 Stat. 3359, as
                 amended;
         (2)     the Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L.
                 No. 104-208, 110 Stat. 3009, as amended;
         (3)     the Privacy Act, 5 U.S.C. Section 552a, as amended;
         (4)     the Inter-Governmental Cooperation Act, 31 U.S.C. Section 6501, et. seq. as
                 amended;
         (5)     the Homeland Security Act of 2002, 116 Stat. 2135, 6 U.S.C. Section 101, et seq. as
                 amended; and
         (6)     the Immigration and Nationality Act, 8 U.S.C. Section 1101, et seq. as amended.

II.      PURPOSE AND COMMITMENT

DHS recognizes that Texas, like other States, is directly and concretely affected by changes to
DHS rules and policies that have the effect of easing, relaxing, or limiting immigration
enforcement. Such changes can impact Texas’s law enforcement, housing, education,
employment, commerce, and healthcare needs and budgets. The harm to Texas is particularly
acute where its budget has been set months or years in advance and it has no time to adjust its
budget to respond to DHS policy changes. Specifically, DHS recognizes that the following actions
result in concrete injuries to Texas:

         (1)     a decrease of any immigration enforcement priorities;
         (2)     a reduction in the number of DHS agents performing immigration enforcement
                 functions;

1
  The Department of Homeland Security, CBP, ICE, and USCIS are collectively referred to in this Agreement as
“DHS.” The Department of Homeland Security, CBP, ICE, and USCIS enter into this Agreement individually and
collectively, such that termination or removal of one or more of those parties (whether by law or contract) does not
terminate this Agreement as to any other parties.



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       (3)     a decrease or pause on returns or removals of removable or inadmissible aliens;
       (4)     a decrease or pause on apprehensions or administrative arrests;
       (5)     relaxation of the standards for granting relief from return or removal, such as
               asylum;
       (6)     an increase in releases from detention;
       (7)     a relaxation of the standards for granting release from detention;
       (8)     changes to immigration benefits or eligibility, including work authorization,
               discretionary actions, or discretionary decisions; and
       (9)     rules, policies, procedures, and decisions that could result in significant increases
               to the number of people residing in a community.
At the same time, Texas recognizes that DHS relies on cooperation with Texas and information
shared by Texas to carry out DHS’s immigration enforcement functions. Any decrease in a State’s
cooperation or information sharing with DHS may result in a decrease in immigration
enforcement.

To that end, this Agreement establishes a binding and enforceable commitment between DHS and
Texas, in which Texas will provide information and assistance to help DHS perform its border
security, legal immigration, immigration enforcement, and national security missions in exchange
for DHS’s commitment to consult Texas and consider its views before taking any action, adopting
or modifying a policy or procedure, or making any decision that could:

       (1)     reduce, redirect, reprioritize, relax, or in any way modify immigration enforcement;
       (2)     decrease the number of ICE agents performing immigration enforcement duties;
       (3)     pause or decrease the number of returns or removals of removable or inadmissible
               aliens from the country;
       (4)     increase or decline to decrease the number of lawful, removable, or inadmissible
               aliens;
       (5)     increase or decline to decrease the number of releases from detention;
       (6)     relax the standards for granting relief from return or removal, such as asylum;
       (7)     relax the standards for granting release from detention;
       (8)     relax the standards for, or otherwise decrease the number of, apprehensions or
               administrative arrests;
       (9)     increase, expand, extend, or in any other way change the quantity and quality of
               immigration benefits or eligibility for other discretionary actions for aliens; or
       (10)    otherwise negatively impact Texas.
In case of doubt, DHS will err on the side of consulting with Texas.

III.   RESPONSIBILITIES

       A.      DHS agrees to:

       (1)     Utilize its immigration authorities, to the maximum extent possible, to prioritize the
               protection of the United States and its existing communities. This includes:


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           a.     enforcing the immigration laws of the United States to prohibit the entry
                  into, and promote the return or removal from, the United States of
                  inadmissible and removable aliens;
           b.     enforcing the immigration laws of the United States to prioritize detention
                  over release of inadmissible and removable aliens;
           c.     enforcing the immigration laws of the United States to apprehend and
                  administratively arrest inadmissible and removable aliens;
           d.     eliminating incentives and so-called “pull factors” for illegal immigration;
           e.     limiting eligibility for asylum and other relief from detention, return, or
                  removal to the statutory criteria; and
           f.     refusing asylum and other relief from detention, return, or removal for those
                  aliens who pose a danger to the United States, whether due to prior criminal
                  history, the security of the United States, health, or some other bar.

     (2)   Consult with Texas before taking any action or making any decision that could
           reduce immigration enforcement, increase the number of removable or
           inadmissible aliens in the United States, or increase immigration benefits or
           eligibility for benefits for removable or inadmissible aliens. This includes policies,
           practices, or procedures which have as their purpose or effect:

           a.     reducing, redirecting, reprioritizing, relaxing, lessening, eliminating, or in
                  any way modifying immigration enforcement;
           b.     decreasing the number of ICE agents within Texas’s territorial jurisdiction
                  performing immigration enforcement duties;
           c.     pausing or decreasing the number of returns or removals of removable or
                  inadmissible aliens from the country;
           d.     decreasing the number of or criteria for detention of removable or
                  inadmissible aliens from the country;
           e.     decreasing or pausing apprehensions or administrative arrests;
           f.     increasing or declining to decrease the number of lawful, removable, or
                  inadmissible aliens residing in the United States;
           g.     increasing, expanding, extending, or in any way changing the quantity or
                  quality of immigration benefits or eligibility for these benefits or other
                  discretionary actions for aliens; or
           h.     otherwise negatively impacting Texas.

     (3)   Provide Texas with 180 days’ written notice (in the manner provided for in Section
           IV of this Agreement) of any proposed action listed in Section III.A.2 and an
           opportunity to consult and comment on the proposed action. DHS will in good faith
           consider Texas’s input and provide a detailed written explanation of the reasoning
           behind any decision to reject Texas’s input before taking any action listed in Section
           III.A.2. In case of doubt as to whether DHS’s action is implicated by this provision,



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               DHS will err on the side of consulting with Texas before taking any such action
               listed above.

       B.      Texas agrees to:

Support DHS’s immigration enforcement by honoring “detainer requests” or “requests to hold”
issued to Texas by ICE or CBP, and honoring DHS requests for records or information from the
Texas Department of Motor Vehicles.

IV.    NOTICES

All notices required hereunder shall be given by certified United States mail, postage prepaid
return receipt requested, and addressed to the respective parties at their addresses set forth below,
or at such other address as any party shall hereafter inform the other party by written notice. All
written notices so given shall be deemed effective upon receipt.

       Department of Homeland Security
       Secretary of Homeland Security
       Washington, D.C. 20528

       U.S. Customs and Border Protection
       Office of the Commissioner
       1300 Pennsylvania Ave. NW
       Washington, D.C. 20229

       U.S. Immigration and Customs Enforcement
       Office of the Director
       500 12th Street SW
       Washington, D.C. 20536

       U.S. Citizenship and Immigration Services
       Office of the Director
       5900 Capital Gateway Drive
       Suitland, Maryland 20746

       Texas
       c/o Greg Abbott, Governor of Texas             c/o Ken Paxton, Attorney General
       1100 San Jacinto Boulevard, 4th Floor          300 West 15th Street
       Austin, Texas 78701                            Austin, Texas 78711

V.     PENALTIES

Texas acknowledges that the information it receives from DHS is governed by the Privacy Act, 5
U.S.C. section 552a(i)(1), and that any person who obtains this information under false pretenses
or uses it for any purpose other than as provided for in this Agreement may be subject to civil or
criminal penalties.

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VI.    INJUNCTIVE RELIEF

It is hereby agreed and acknowledged that it will be impossible to measure in money the damage
that would be suffered if the parties fail to comply with any of the obligations herein imposed on
them and that in the event of any such failure, an aggrieved party will be irreparably damaged and
will not have an adequate remedy at law. Any such party shall, therefore, be entitled (in addition
to any other remedy to which it may be entitled in law or in equity) to injunctive relief, including
specific performance, to enforce such obligations, and if any action should be brought in equity to
enforce any of the provisions of this Agreement, none of the parties hereto shall raise the defense
that there is an adequate remedy at law.

VII.   THIRD PARTY LIABILITY

Each party to this Agreement shall be solely responsible for its own defense against any claim or
action by third parties arising out of or related to the execution or performance of this Agreement,
whether civil or criminal, and retains responsibility for the payment of any corresponding liability.

Nothing in this Agreement is intended, or should be construed, to create any right or benefit,
substantive or procedural, enforceable at law by any non-party to this Agreement against any party,
its agencies, officers, or employees.

VIII. DISPUTE RESOLUTION

DHS and Texas will endeavor to the best of their ability to resolve their disputes informally and
through consultation and communication. Disagreements on the interpretation of the provisions of
this Agreement that cannot be resolved between the parties should be provided in writing to the
authorized officials at both agencies for resolution. If settlement cannot be reached at this level,
the disagreement may be adjudicated in a United States District Court located in Texas.

IX.    CONFLICTS

This Agreement constitutes the full agreement on this subject between DHS and Texas. Any
inconsistency or conflict between or among the provisions of this Agreement, will be resolved in
the following order of precedence: (1) this Agreement and (2) other documents incorporated by
reference in this Agreement. Provided, however, that this Agreement shall not void, abrogate, or
modify any other agreement between DHS and Texas unless and to such extent as such agreement
conflicts with this Agreement.




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X.     SEVERABILITY

The Parties agree that if a binding determination is made that any term of this Agreement is
unenforceable, such unenforceability shall not affect any other provision of this Agreement, and
the remaining terms of this Agreement shall, unless prohibited by law, remain effective as if such
unenforceable provision was never contained in this Agreement.

The parties additionally agree that if this Agreement is found to be unenforceable as to one or more
of the parties comprising DHS, including the Department of Homeland Security, such
unenforceability shall not affect the validity of this Agreement as to the remaining parties and this
Agreement shall remain effective as if such party was never a party to this Agreement.

XI.    ASSIGNMENT

Texas may not assign this Agreement, nor may it assign any of its rights or obligations under this
Agreement. To the greatest extent possible, this Agreement shall inure to the benefit of, and be
binding upon, any successors to DHS and Texas without restriction.

XII.   WAIVER

No waiver by any party of any breach of any provision of this Agreement shall constitute a waiver
of any other breach. Failure of any party to enforce at any time, or from time to time, any provision
of this Agreement shall not be construed to be a waiver thereof.

XIII. EFFECTIVE DATE

This Agreement shall be effective immediately when all parties have signed this Agreement. This
Agreement shall continue in effect unless modified or terminated in accordance with the provisions
of this Agreement.

XIV. MODIFICATION

This Agreement is subject to periodic review by DHS, its authorized agents or designees, and, if
necessary, periodic modification or renewal, consistent with this Agreement’s terms, to assure
compliance with current law, policy, and standard operating procedures. This Agreement
constitutes the complete Agreement between the parties for its stated purpose, and no modification
or addition will be valid unless entered into by mutual consent of all parties evidenced in writing
and signed by all parties.

Any party may accomplish a unilateral administrative modification to change point-of-contact
information. A written bilateral modification (i.e., agreed to and signed by authorized officials of
all parties) is required to change any other term of this Agreement.

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XV.       TERMINATION
Any party may terminate its involvement in this Agreement by submitting a request in writing to
the other parties and providing 180 days’ notice of intent to terminate its involvement in this
Agreement. The termination will be effective 180 days after the written termination request was
submitted or upon a date agreed upon by all parties, whichever is earlier. Termination by one party
of its involvement in this Agreement shall not terminate this Agreement as to the remaining parties.

XVI. STATUS
The foregoing constitutes the full agreement on this subject between DHS and Texas.

Nothing in this Agreement may be construed to (1) negate any right of action for a State, local
government, other person, or entity affected by this Agreement; or (2) alter the laws of the United
States.

XVII. KNOWING AND VOLUNTARY ACKNOWLEDGMENT
The parties enter into this Agreement voluntarily, without coercion or duress, and fully understand
its terms. The parties acknowledge they had an opportunity to review and reflect on this Agreement
and have discussed its provisions with their respective counsel, if any. The parties attest they
understand the effect of each of the provisions in this Agreement and that it is binding on all parties.

XVIII. COUNTERPARTS
This Agreement may be executed in counterparts, each of which shall be deemed to be an original,
but all of which together shall constitute one agreement.

XIX. FORMALIZATION
The undersigned represent that they are authorized to execute this Agreement on behalf of CBP,
ICE, USCIS, and Texas, respectively.

Furthermore, the undersigned execute this Agreement on behalf of CBP, ICE, USCIS, Texas, respectively.

[Signatures on the following pages]




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                                Signature for the Department of Homeland Security

    DEPARTMENT OF HOMELAND SECURITY


                                             1/8/2021
    Kenneth T. Cuccinelli II                    Date
    Senior Official Performing the Duties of the Deputy Secretary
    Signed individually and collectively2




2
  “Signed individually and collectively” as used here indicates that the agency is entering into this Agreement
both (1) for itself, independently, and (2) along with the other entities that comprise DHS, collectively. Should
one agency, for whatever reason, cease to be a party to this Agreement, this Agreement shall still survive for all
other parties and be read and interpreted as if the removed party had never been a party to this Agreement.
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                       Signature for the Office of the Governor of Texas

OFFICE OF THE GOVERNOR OF TEXAS



                                December 31, 2020
Greg Abbott                     Date
Governor




                    Signature for the Office of the Attorney General of Texas

OFFICE OF THE ATTORNEY GENERAL OF TEXAS



                                12/31/2020

Ken Paxton                      Date
Attorney General




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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
         Plaintiffs,                         §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
         Defendants.                         §

        APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS




     U.S. Customs and Border Protection Custody and Transfer Statistics FY2021



                                      EXHIBIT B-4




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Published on U.S. Customs and Border Protection (https://www.cbp.gov (https://www.cbp.gov))




Custody and Transfer Statistics FY2021
Fiscal Year 2021 runs from October 1, 2020 to September 30, 2021

   VCollapseAII

    VOffice of Field Operations - Dispositions and Transfers



    OFO Monthly Southwest Border Credible Fear lnadmissibles by
    Disposition
                                                              Oct-   Nov-    Dec-   Jan-
    Disposition                                                                            Feb-21 Mar-21 Apr-21
                                                              20     20      20     21
                                                  1
    Expedited Removal - Credible Fear (ERCF)                    63    94      111    133    117     56    77
                               2,7
    Notice to Appear (NTA)                                      22    36       74     93    200    795   2,027
    Notice to Appear (NTA) - Person Released                    0      0       0      0       0     0       0
    Notice to Appear (NTA) - Person Detained                    0      0       0      0       0     0       0
    Visa W~iver Program (VWP)-Removal - Limited
                                                                0      0       0      0       0     0       0
    Review
    Visa W~iver Program (VWP)-Refusal - Limited
                                                                0      0       0      0       0     0       0
    Review
                                     3
    Stowaway - Limited Review                                   0      0       0      0       0     0       0
    Total Credible Fear lnadmissibles                           85    130     185    226    317    851   2,104




    Title 8 lnadmissibles
    Field OfficeOct-20Nov-20Dec-20Jan-21 Feb-21 Mar-21 Apr-21
    El Paso       163    196         229   229   257   283    521
    Laredo        417    369         347   351   360   561   659
    San Diego     325    373         490   695   827   1,148 1,972
    Tucson         97     70         66    83    92    143   261
    Total         1,002 1,008 1,132 1,358 1,536 2,135 3,413




    OFO Monthly Southwest Border Credible Fear lnadmissibles by
    Program
                                                                                                  App.328
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                                                                                Oct- Nov-Dec-Jan- Feb-Mar-Apr-
                                                                                20    20    20   21   21   21   21
                                      4
Migrant Protection Protocols {MPP) - Initial returns                             3      9    8    9    0    0    0

                                               5
Asylum Cooperative Agreement {ACA) Program - Expedited
                                                                                 0      0    0    0    0    0    0
Removal - Credible Fear {ERCF)
ACA - Notice to Appear {NTA)                                                     0      0    0    0    0    0    0

                                                         6
Humanitarian Asylum Review Process {HARP) Program -Expedited
                                                                                 0      0    0    0    0    0    0
Removal - Credible Fear {ERCF)
HARP - Notice to Appear                                                          0      0    0    0    0    0    0




OFO Monthly Southwest Border Credible Fear by Transfer
Destination
Destination                    Oct-20Nov-20Dec-20Jan-21 Feb-21 Mar-21 Apr-21
Federal/State/Local Facility     10       11       18        20    15    23      54
ICE/ERO                          62    105         130       187   235   455    1,491
ICE/HSI                          3        0        0          0     0     0       6
OFO                              0        0        0          0     0     0       0
Return to Foreign                2        7        12        11     0     0       0
USBP                             5        5        0          0     7    16      32
Total                            82    128         160       218   257   494    1,583
1
 Includes subjects who claimed credible fear in Office of Field Operations (OFO) custody at a port of entry.
pFo refers all such claims to USCIS. Credible fear may be claimed at any time prior to removal.
 Office of Field Operations has the discretion to process arriving noncitizens for expedited removal or notice
to appear in removal proceedings or other disposition. In the event of NTA disposition, applicants for
~dmission have up to one year to seek asylum and while proceeding before the immigration judge.
 The term "limited review" refers to the process of an immigration judge considering prior administrative
adjudicated claims of US citizenship, Lawful Permanent Residence, Asylum or Refugee status. The
immigration judge considers only the claim to such benefit and not the underlying inadmissibility or removal
ground that may apply in the noncitizen's case.
 Migrant Protection Protocols (MPP) - An exercise of the Department of Homeland Security's (OHS) express
statutory authority under the Immigration and Nationality Act (/NA) to return certain applicants for admission,
or those who enter illegally between the ports of entry, who are subject to removal proceedings under /NA
Section 240 Removal Proceedings to Mexico pending removal proceedings. Individuals processed for MPP
are released from detained immigration docket while awaiting their removal proceedings and like all asylum
seekers have up to one year after initiation of removal proceedings to claim fear and file form 1589 to have
;heir claims heard by an Asylum Officer or Immigration Judge.
 Asylum Cooperative Agreement (ACA) - CBP, in coordination with ICE Enforcement Removal Operations
(ERO), and USC/S, have executed ACAs to facilitate the transfer of noncitizens to a third country where they
will have access to full and fair procedures for determining their protection claims, based on the ACAs.
Currently, Guatemala is the only ACA participant.

                                                                                                       App.329
u    Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                    Page 34 of 165 PageID 679
 Humanitarian Asylum Review Process (HARP) - Developed by Customs and Border Protection (CBP), in
coordination with ICE, USCIS, and EOIR to promptly address credible fear claims of amenable Mexican
nationals.
7
 Initial disposition of Expedited Removal is converted to a Notice to Appear in full removal proceedings after
a preliminary finding by Asylum Officer, Supervisor or Immigration Judge of credible fear; Custody status is
most likely released on recognizance or "Order of Recognizance" pending discretion of an asylum grant.
 Legal status while out of custody is parole until asylum is granted. Continued detention of a migrant who has
more likely than not demonstrated credible fear is not in the interest of resource allocation or justice.




VOffice of Field Operations - In Custody


                                                                                      1
Field Operations - Southwest Border In Custody
Detention CapacityOct-20         Nov-20     Dec-20      Jan-21      Feb-21     Mar-21       Apr-21
           1005      39 (3.88%)49 (4.88%)53 (5.27%)55 (5.47%)64 (6.37%)107 (10.6%)195 (19.4%)
1
 Represents an estimate of each cell's code occupancy limit, as outlined in technical design standards when
constructed, multiplied by the total number of cells for all ports of entry within each field office. This number
does not account for the unique circumstances that may limit the occupancy of a given cell (e.g., high risk,
nursing/pregnant, transgender, unaccompanied minor, etc.) nor does it reflect operational limitations that
affect a port's capacity to detain. CBP's capacity to detain individuals in its short-term facilities depends on
many factors, including: demographics of the individual in custody; medical or other needs of individuals in
custody; ability of ICE ERO (or, if an unaccompanied child, the U.S. Department of Health and Human
Services) to transfer individuals out of CBP custody; and OFO's available resources to safely process and
gold individuals.
 Represents the average number of travelers in custody on a daily basis averaged over the 30 day period, at
all Southwest Border Field Office locations. Travelers include inadmissible individuals, lawful permanent
residents, asylees, refugees, and United States Citizens who are being detained to verify wants, warrants,
criminal, administrative or other judicial process.




VOffice of Field Operations - Title 8, 19 and 42



OFO Southwest Border TB, T19, T42
CategoryOct-20Nov-20Dec-20Jan-21 Feb-21 Mar-21 Apr-21
Title 8      1,002 1,008 1,132 1,358 1,536 2,135 3,413
Title 19     7,198 6,937 6,917 5,447 5,251 6,826 9,332
Title 42     1,899 1,942 1,748 1,775 1,947 2,003 1,751


    OFO Southwest Border TB, T19, T42
CategoryOct-20Nov-20Dec-20Jan-21 Feb-21 Mar-21 Apr-21
Title 8      1,002 1,008 1,132 1,358 1,536 2,135 3,413
                                                                                                     App.330
       Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21
CategoryOct-20Nov-20Dec-20Jan-21 Feb-21 Mar-21 Apr-21
                                                                          Page 35 of 165 PageID 680
Title 19       7,198 6,937 6,917 5,447 5,251 6,826 9,332
Title42        1,899 1,942 1,748 1,775 1,947 2,003 1,751



VU.S. Border Patrol - Dispositions and Transfers



USBP Monthly Southwest Border Apprehensions by Processing
Disposition
The processing disposition decision related to each apprehension is made on a case-by-case basis. The
processing dispositions below are representative of the time data was aggregated. As dispositions are
subject to change throughout the immigration process, the data does not necessarily reflect final dispositions
or removals.

Processing Disposition                                     Oct-20Nov-20Dec-20Jan-21 Feb-21 Mar-21 Apr-21
Expedited Removal (ER)                                      1,248 1,449 1,642 2,286 3,637 6,416 10,669
                      1
PACR, HARP, ACA                                               0      2       0      6      2      13      25
Notice To2Appear/Order of Recognizance, 1-385 -
                                                              20     9      18    1,317 8,797 26,282 26,233
Released
Reinstatement of Prior Removal                              1,533 1,418 1,430 1,274 1,126 1,488 1,697
Voluntary Return                                             169    964    1,736 1,815 1,857 2,387 2,268
Warrant/Notice To Appear (NTA) - Detained                   2,092 2,766 4,184 5,151 9,639 24,610 20,762
       1
MPP                                                          796   1,106 1,347     717     30      0       0
           3
Other                                                        186    172     189    217    232     919    1,843
Total Title 8 Apprehensions                                 6,044 7,886 10,546 12,783 25,320 62,115 63,497
1
    Subjects enrolled in multiple programs are only counted once based on the following order: PACR,
1cA, HARP, MPP
 Includes individuals released with a Notice to Appear/Order of Recognizance (NTAIOR) with an order
to appear for immigration proceedings and individuals who are processed, not admitted, and released
~tithout an NTA as a matter of discretion.
 Processing dispositions may include subjects that do not yet have a final disposition at the time the
data was collected or subjects processed under the visa waiver program, turned over to, paroled, etc.




USBP Monthly Southwest Border Apprehensions by Transfer
Destination
Following processing, U.S. Border Patrol arranges transfer of individuals to the appropriate entity based on
disposition and other factors such as criminal charges. The transfer destinations below are representative of
the time data was aggregated. The data does not reflect subsequent transfer destinations after subjects leave
Border Patrol custody and are subject to change if an individual returns to U.S. Border Patrol custody during
the same event.


                                                                                                 App.331
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                                                                                                      Apr-
Transfer Destination                                    Oct-20 Nov-20 Dec-20 Jan-21 Feb-21 Mar-21 21

Humanitarian Release                                        19          9      18     1,321   8,798   26,103 26,098
            1
Federal                                                    3,491      4,077   5,746   7,443 13,518 30,993 30,747
Federal - Northern Triangle Repatriation Flights            20          7      0       26      11       8       1
Federal - Mexican Repatriation Flights                     499        894     566     528     187      205    164
Port of Entry (Non-MPP)                                    920        1,377   2,411   2,150   2,100   2,825 3,042
Port of Entry (MPP)                                        796        1,106   1,347   717      30       0       0
State and Local Law Enforcement Agencies                   184        229     315     443     525     1,166   727
        2
Other                                                       114       186     143     151     151      475    1,485
Total Title 8 Transfers                                    6,043      7,885 10,546 12,779 25,320 61,775 62,264
1
 Manifested as turned over to other Federal agencies, to include Immigration and Customs
~nforcement, Health and Human Services, U.S. Marshals, etc.
 Includes subjects that have not been transferred out of USBP custody at the time the data was
collected or subjects manifested as transferred to hospital, paroled, etc.


VU.S. Border Patrol - In Custody



USBP Average Daily Subjects In Custody by Southwest Border
Sector
U.S. Border Patrol facilities, such as stations and central processing centers, provide short-term holding
capacity for the processing and transfer of individuals encountered by agents. Maximum facility capacity
along the Southwest border is approximately 11,200, which assumes a homogenous population and full
operating status at all facilities. Actual capacity fluctuates constantly based on characteristics of in-custody
population, to include demographics, gender, criminality, etc.

Sector          Oct-20Nov-20Dec-20Jan-21 Feb-21 Mar-21 Apr-21
Big Bend          10    16     19     22      43      68         40
Del Rio          379    78     91     174    367     625      816
El Centro         34    35     35     36      53     204      424
El Paso           72    74    123     107    231     913      476
Laredo           113    113    73     72      95     263      334
Rio Grande 178          176   120     158    878    3,779 2,883
San Diego         55    62     57     107     153    503     1,139
Tucson            70    72     98     87      186    490      305
Yuma              8     11     17     28      160    488      785
Total            919   637    633     791   2,164 7,331 7,202



VPathways and Programs Definitions



Migrant Protection Protocols (MPP)
                                                                                                      App.332
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     The Migrant Protection Protocols (MPP) is an exercise of the Department of Homeland Security's express
     statutory authority under the Immigration and Nationality Act (INA) to return certain applicants for admission,
     or those who enter illegally between the ports of entry, who are subject to removal proceedings under INA
     Section 240 Removal Proceedings to Mexico pending removal proceedings.


     Prompt Asylum Claim Review (PACR)
     The Prompt Asylum Claim Review (PACR) pathway was developed by U.S. Border Patrol (USBP), in
     coordination with U.S. Immigration and Customs Enforcement (ICE), U.S. Citizenship and Immigration
     Services (USCIS), and the Executive Office for Immigration Review (EOIR) to promptly address credible fear
     claims of amenable individuals.


     Asylum Cooperative Agreement (ACA)
     U.S. Customs and Border Protection (CBP), in coordination with U.S. Immigration and Customs Enforcement
     (ICE) Enforcement Removal Operations (ERO), and U.S. Citizenship and Immigration Services (USCIS),
     have executed Asylum Cooperative Agreements (ACAs) to facilitate the transfer of individuals to a third
     country where they will have access to full and fair procedures for determining their protection claims, based
     on the ACAs.


     Humanitarian Asylum Review Process (HARP)
     The Humanitarian Asylum Review Process (HARP), was developed by U.S. Customs and Border Protection
     (CBP), in coordination with U.S. Immigration and Customs Enforcement (ICE), U.S. Citizenship and
     Immigration Services (USCIS), and the Executive Office for Immigration Review (EOIR) to promptly address
     credible fear claims of amenable Mexican nationals.


     Electronic Nationality Verification
     Under the Electronic Nationality Verification (ENV) program U.S. Customs and Border Protection (CBP), in
     coordination with U.S. Immigration and Customs Enforcement (ICE) Enforcement and Removal Operations
     (ERO), remove eligible noncitizens with a final order of removal to their native countries.


     Interior Repatriation Initiative (IRI)
     Under the Interior Repatriation Initiative (IRI), U.S. Customs and Border Protection (CBP), in coordination
     with U.S. Immigration and Customs Enforcement (ICE) Enforcement Removal Operations (ERO) and the
     Mexican Ministry of the Interior, remove eligible noncitizens from Mexico to the interior of Mexico.




Tags:
Statistics (https://www.cbp.gov/tags/statistics) [1]



Source URL: https://www.cbp.gov/newsroom/stats/custody-and-transfer-statistics
Links
[1] https://www.cbp.gov/tags/statistics


                                                                                                       App.333
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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS




         U.S. Citizenship and Immigration Services Description of Parole



                                      EXHIBIT B-5




                                                                             App.334
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                                USCIS Response to Coronavirus (COVID-19)




          U.S. Citizenship
          and Immigration
          Services


Home > Humanitarian > Humanitarian or Significant Public Benefit Parole for Individuals Outside the
United States

Humanitarian or Significant Public Benefit Parole for
Individuals Outside the United States
    0 Both the special parole policy for arriving Cuban nationals, commonly known as the "wet
        foot/dry foot" policy, and the Cuban Medical Professional Parole Program expired on January
        12, 2017. Read the announcement on the DHS website. The Cuban Family Reunification Parole
        Program remains in effect.


Individuals who are outside of the United States may be able to request parole into the United States
based on humanitarian or significant public benefit reasons.

For information on the types of documents and evidence you should submit in support of a request
for parole, please see Guidance on Evidence for Certain TyP-es of Humanitarian or Significant Public
Benefit Parole Reguests.

This webpage does not cover the following types of parole requests:

  • Requests for individuals who are already in the United States and seek "advance parole" to leave and
    return. For information on how an individual already in the United States may be considered for
    advance parole to return to the United States after departure, please see Form 1-131 instructions (PDF,
    284.74 KB)..
  • Requests for individuals who are in the United States and seek parole in place. For more information,
    please contact the local USCIS office through ffiY..uscis.gov/aP-P-Ointment.
  • Requests for parole that are under the jurisdiction of Immigration and Customs Enforcement (ICE). ICE
    has primary jurisdiction over a person seeking parole who is in removal proceedings in the United
    States or who has previously been removed or deported. Requests to ICE for parole should be
    submitted to ICE via the USCIS address under Humanitarian P-arole a1:mlicants. Please see the
    Memorandum of Agreement between USCIS, ICE and CBP (PDF). for more information about each
    agency's jurisdiction over parole requests.

  • Requests for individuals who apply under special parole programs such as:
    o The Haitian FamilY. Reunification Parole Program

    o The Cuban FamilY. Reunification Parole Program
                                                                                            App.335
   Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21               Page 40 of 165 PageID 685
 o The Central American Minor Refugee/Parole Program

 o The FiliP-ino World War II Veterans Parole Program

 o International EntreP-reneur Parole


                                                                                 ,l Close All ~" Open All

Terminology

The following terms are used on this page:

  • Petitioner: The person completing the Form 1-131, AJmlication for Travel Document, on behalf
    of an individual outside the United States who is seeking parole (or re-parole as explained
    below). The term "self-petitioner" refers to an individual who files Form 1-131, AP-P-lication for
    Travel Document for him or herself.
  • Beneficiary: A beneficiary is an individual, residing outside the United States (or a person
    seeking re-parole as explained below) who receives parole.
  • Sponsor: A sponsor is an individual who agrees to provide financial support for the beneficiary
    of a parole application by filing Form 1-134, Affidavit of Su1mort (PDF, 463.53 KB)_.
  • Parolee: A parolee is an individual who is paroled into the United States.




What is Parole?

USCIS uses its discretion to authorize parole. Parole allows an individual, who may be inadmissible
or otherwise ineligible for admission into the United States, to be paroled into the United States for a
temporary period. The Immigration and Nationality Act (INA) allows the secretary of Homeland
Security to use their discretion to parole any alien applying for admission into the United States
temporarily for urgent humanitarian reasons or significant public benefit. (See INA section 212(d)(S)).

An individual who is paroled into the U.S. has not been formally admitted into the United States for
purposes of immigration law.

Parole is not intended to be used solely to avoid normal visa processing procedures and timelines, to
bypass inadmissibility waiver processing, or to replace established refugee processing channels.

Length of Parole

If authorized, we will specify the duration of parole for a temporary period of time to accomplish the
purpose of the parole, as indicated in Part 3 of Form 1-131, A1mlication for Travel Document. For
example, if parole is requested to attend a civil court proceeding between private parties, we may
authorize parole for the period of time necessary to attend the proceedings. Parole is typically
granted for no more than a year.

Parole ends on the date the parole period expires or when the beneficiary departs the United States
or acquires an immigration status, whichever occurs first. In some cases, we may place conditions on
                                                                                           App.336
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parole, such as reporting requirements. We may revoke parole at any time and without notice if it
determines that parole is no longer warranted or the beneficiary fails to comply with any conditions
of parole.

Work Permits

If not inconsistent with the purpose and duration of parole, we may, in our discretion, grant a parolee
temporary employment authorization. The parolee may request employment authorization after
being paroled into the United States by filing Form 1-765, A1wlication for EmP-loyment Authorization .




Who Can Apply for Parole?


Anyone may request parole for himself or herself, or on behalf of another individual, by filing Form 1-
131, AP-P-lication for Travel Document. The petitioner is an individual or entity who is filing the Form 1-
131, AP-P-lication for Travel Document, on behalf of an individual outside of the United States. The
petitioner may also self-petition for parole. The petitioner does not have to be a resident of the
United States or related to the beneficiary.




The Need for a Sponsor


One important factor we consider in determining whether to exercise discretion to authorize parole is
whether the beneficiary will have a means of support while in the United States. We require evidence
of a sponsor to provide financial support to the parolee in the United States. Lack of evidence of
financial support while in the United States is a strong negative factor that may lead to a denial of
parole. We will take into account the Health and Human Services Federal P-Overty guidelines along
with any special circumstances related to the beneficiary's need for care in assessing whether there
are sufficient funds in place to adequately support the beneficiary once in the United States.

Requirements for Sponsors

The sponsor is the individual who agrees to provide financial support to the beneficiary while they
are in the United States for the duration of the parole authorization period. The financial sponsor
may or may not be the same person or entity as the petitioner. The sponsor must submit a Form 1-
134, Affidavit of SUP-P-Ort (PDF, 463.53 KB). for each parole request to establish whether they have
enough financial resources to support the parolee during their stay in the United States, and if the
funds are overseas, access to those funds for the parolee's stay in the United States.

Though there is no requirement regarding the sponsor's immigration status in the United States, a
sponsor who has a more permanent status in the United States, such as lawful permanent residence
or is a U.S. citizen, may more readily be able to establish the ability to support the parolee in the
United States. Evidence of the sponsor's immigration status or citizenship in the United States may
be relevant to the sponsor's ability to support the beneficiary. Therefore, the petitioner should
generally include evidence of the sponsor's immigration status or citizenship in the United States,
such as the sponsor's permanent residence card, naturalization certificate, birth certificate or
passport with the parole request.
                                                                                             App.337
     Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21 Page 42 of 165 PageID 687
It is important to read the Form 1-134 instructions (PDF, 222.2 KB}. carefully for information
about what kind of evidence is required to demonstrate sufficient income and financial
resources. Some examples of evidence that is helpful in demonstrating financial resources include
pay stubs, last filed tax return or a letter from a sponsor's employer.

Multiple Sponsors

When determining a sponsor, the petitioner must take into account the Health and Human Services
Federal 12overty guidelines, and any special needs of the beneficiary. If the petitioner is unable to
identify a sponsor who alone has sufficient means to support the beneficiary in the United States, the
petitioner may indicate more than one sponsor if they have the means and agree to support the
beneficiary while paroled in the United States. In this situation, the petitioner must submit a Form 1-
134, Affidavit of Su1212ort (PDF, 463.53 KB)., along with the proper supporting documentation, from
each sponsor.

Self-Sponsor

A beneficiary may also demonstrate that he or she is financially self-sufficient by submitting a Form 1-
134, Affidavit of Su1212ort (PDF, 463.53 KB)., with supporting financial documentation.

Organization as a Sponsor

Occasionally, a non-profit organization or medical institution may serve as a sponsor on a parole
application. In those instances, if an employee of the organization cannot complete a Form 1-134,
Affidavit of Su1212ort (PDF, 463.53 KB)., the petitioner should include with the parole application, a
letter from the organization committing to support the beneficiary.




Eligibility for Parole

A USCIS officer considers each request and the evidence provided on a case-by-case basis, taking
into account all of the circumstances. (See Section 212(d}(5) of the INA.) The burden of proof is on the
petitioner to establish that parole should be authorized. Parole will be authorized only if we
conclude, based on all the evidence the petitioner submits and any other relevant evidence available
to us, that

  • There are urgent humanitarian or significant public benefit reasons for the beneficiary to be in
    the United States; and
  • The beneficiary merits a favorable exercise of discretion.

Urgent Humanitarian Reasons

There is no statutory or regulatory definition of "urgent humanitarian reasons." USCIS officers look at
all of the circumstances, taking into account factors such as (but not limited to):

  • Whether or not the circumstances are pressing;
  • The effect of the circumstances on the individual's welfare and wellbeing; and
  • The degree of suffering that may result if parole is not authorized.
                                                                                             App.338
   Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                Page 43 of 165 PageID 688
An applicant may demonstrate urgency by establishing a reason to be in the United States that calls
for immediate or other time-sensitive action, including (but not limited to) critical medical
treatment, or the need to visit, assist or support a family member who is at an end of life stage of an
illness or disease.

The factors considered in determining urgent humanitarian reasons are dependent on the type of
parole request. See Guidance for Certain Types of Humanitarian or Significant Public Benefit Parole
Reguests for more information on factors often considered in some of the more common types of
requests.

Significant Public Benefit

There is no statutory or regulatory definition of "significant public benefit." Parole based on
significant public benefit includes, but is not limited to, law enforcement and national security
reasons or foreign or domestic policy considerations. USCIS officers look at all of the circumstances
presented in the case.

While the beneficiary may personally benefit from the authorization of parole, the statutory standard
focuses on the public benefit in extending parole. For example, a beneficiary's participation in legal
proceedings may constitute a significant public benefit, because the opportunity for all relevant
parties to participate in legal proceedings may be required for justice to be served .

There may be circumstances where a request is based on both urgent humanitarian reasons and
significant public benefit reasons. For example, a person may be paroled if they have a request for
medical care that involves experimental treatment or medical trials from which a larger community
in the United States may benefit.

Determining Who is Authorized Parole

We exercise our discretion on a case-by-case basis, by evaluating positive factors in the record
against any negative factors. Having an urgent humanitarian reason or a significant public benefit is
a positive determining factor and it is evaluated against any negative factors present in a case. We
evaluate the complete record .

Some common discretionary factors that we evaluate include (but are not limited to):

  • Whether the purpose of the parole request may be accomplished within a specific, temporary
    period of time;
  • Whether the beneficiary intends to leave the United States once their parole expires or has
    means to obtain lawful immigration status during the parole authorization period or any re-
    parole period that is envisioned (where applicable);
  • Whether there is evidence of any national security concerns;
  • Whether there is evidence of any criminal history or previous immigration violations;
  • Whether there is evidence of any previous participation in fraud;
  • Whether the beneficiary's presence would benefit a U.S. citizen or lawful permanent resident or
    community in the United States;
  • Whether the beneficiary will have sufficient financial support while in the United States;
  • Evidence of the beneficiary's character;                                               App.339
   Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                 Page 44 of 165 PageID 689
  • The effect of the beneficiary's presence on a community in the United States; and
  • Whether there are other means, other than parole, that are available to the beneficiary so they
    can travel to and remain in the United States for the stated parole purpose, such as the ability or
    inability to obtain a visa.

No one factor determines the outcome of the case. Each decision is based on all of the circumstances
present in a case.

We may revoke parole at any time if it determines that parole is no longer warranted or the
beneficiary fails to comply with any conditions on the parole.




Parole Process


An overview of the parole process steps is as follows:

Step l: Filing of Parole Request

The petitioner files the following at the USCIS Lockbox in Dallas:

  • Form 1-131, A1212lication for Travel Document
  • Form 1-134, Affidavit of SUP-P-Ort (PDF, 463.53 KB).
  • Supporting documentation
  • The filing fee (or Form 1-912, Reguest for Fee Waiver)

(See the Requesting Parole section below for more specific information)

The Lockbox sends the parole request to USCIS International and Refugee Affairs Division (USCIS-
IRAD) in Washington, D.C.

Step 2: USCIS Reviews the Request for Urgency (Triage)

Within 2 business days of receiving the request, (usually two weeks after Lockbox filing), USCIS-IO
reviews each request to confirm jurisdiction and determine whether it warrants expedited processing
because of an urgent or time-sensitive reason. All requests are reviewed initially to determine
urgency, regardless of whether the petitioner specifically requests expedited consideration.

Step 3: USCIS Officer Makes a Decision

A USCIS officer considers the request. This includes:

  • Reviewing the request and all supporting documents;
  • Conducting all mandatory security checks and vetting;
  • Issuing a Request for Evidence (RFE) or Notice of Intent to Deny, if necessary;
  • Documenting the basis for the decision; and
  • Preparing the decision notice(s).
                                                                                          App.340
   Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                 Page 45 of 165 PageID 690
Step 4: Supervisor Reviews the Decision

A supervisor reviews all parole decisions before any decision is finalized.

Step 5: USC/S Provides Notification of the Decision

If authorized: We will mail an approval letter to the petitioner, the beneficiary and any
representative of record. The letter provides notice of the decision and next steps for obtaining travel
documents. We will also notify the U.S. Embassy or U.S. Consulate closest to the beneficiary's
residence.

If denied: We will mail a denial letter to the petitioner, beneficiary, and any representative of record.

Step 6: Issuance of Travel Documents and Parole into the United States (Approvals Only)

If a request is authorized, the approval notice will inform the beneficiary that he or she must
complete a Form DS-160, AP-,P-,lication for a Nonimmigrant Visa , and appear for an appointment with
the Department of State consular section to verify their identity and collect biometrics for additional
security vetting. All beneficiaries 14 years and older must provide biometrics. If no derogatory
information or new identity information is identified during vetting, the U.S. Consulate issues a
document referred to as a boarding foil that allows the beneficiary to travel to the United States
within 30 days of it being issued. Issuance of a boarding foil does not guarantee parole but allows
the beneficiary to proceed to Step 7 below.

Step 7: Customs and Border Protection {CSP) Paroles into the United States (Approvals Only)

A CBP officer inspects the beneficiary at the port of entry. If CBP paroles the beneficiary, CBP will
issue the parolee an 1-94, Arrival/De12arture Record, documenting the length of their parole period.
The parole period begins when CBP paroles the beneficiary at the port of entry. After arriving in the
United States, the parolee may request employment Form 1-765, AP-,P-,lication for EmP-lOY.ment
Authorization .

Requesting Parole

To request parole you must:

  • Complete a Form 1-131, AP-,Rlication for Travel Document, and, for each parole beneficiary,
    include the filing fee or Form 1-912, Reguest for Fee Waiver.
  • Complete a Form 1-134, Affidavit of SUP-.P-Ort (PDF, 463.53 KB)., for each beneficiary to show how
    each beneficiary will be financially supported in the United States.
    o If there is more than one sponsor, each sponsor must submit a Form 1-134, Affidavit of
       SUP-,P-Ort (PDF, 463.53 KB)..
  • Include a detailed explanation, as well as supporting documentation, of the reasons parole is
    being requested for the beneficiary. (See the Submitting Evidence section below for more
    specific information.)
  • If you are represented, you must include a completed Form G-28, Notice of Entry of AP-,Rearance
    as Attorney or ReP-.resentative, for USCIS to communicate with your attorney or representative.

Submitting Evidence
                                                                                            App.341
   Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                Page 46 of 165 PageID 691
The petitioner must show, through the parole request and supporting evidence, that the beneficiary
qualifies for parole and merits a favorable exercise of discretion. Submitting all relevant supporting
evidence will avoid delays. A USCIS officer may issue a Request for Evidence (RFE) to seek additional
information. In addition to the Form 1-131, ARJ~lication for Travel Document, Form 1-134, Affidavit of
Su1wort (PDF, 463.53 KB)., and the filing fee or request for fee waiver, the petitioner should submit the
following evidence to support their parole request:

  • Detailed explanation of the reasons why the petitioner is requesting parole;
  • Detailed explanation of the length of time for which the beneficiary needs parole;
  • Detailed explanation of why the beneficiary cannot obtain a U.S. nonimmigrant or immigrant
    visa from the U.S. Department of State including:
    o When and where the beneficiary attempted to obtain visas, if applicable;

    o If a visa application was denied, include a copy of the denial letter; and

    o If applicable, a detailed explanation of the reasons why the beneficiary cannot obtain any
       required waiver of inadmissibility and a copy of any denial letter received.
  • Copies of any previously filed immigrant petitions (Forms 1-130, 1-140, 1-360, etc.) or
    nonimmigrant petitions filed by or for the beneficiary, if available;
  • Copies of any documents that support the request, including a clear and legible copy of a
    government-issued identification that indicates the beneficiary's citizenship.
    o If a birth certificate is provided, please submit a copy of the front and back of the original birth
       certificate.
  • Copies of a U.S. passport, lawful permanent resident card, birth certificate or other evidence of
    valid U.S. immigration status or citizenship for the petitioner and sponsor, where applicable.
  • See Guidance for Certain TY.12es of Humanitarian or Significant Public Benefit Parole Reguests for
    information on what additional evidence may support specific types of parole requests.

Requesting Parole for Children

Depending on the circumstances, when parole is requested for a minor child (a child under the age of
18), we will require proof of parentage, and in addition may require the following types of evidence in
the interest of protecting the child:

  Circumstance:                               I Type of evidence that may be requested:
                                                 Written authorization from the non-traveling
                                                 parent for the minor to travel, to include:

                                                    • Permission from the non-traveling parent for
                                                      the child to accompany the traveling parent;
  Where the minor beneficiary is traveling
  with one parent and the other parent              • The duration of authorized travel; and
  will remain outside the United States
                                                    • If the parents of the child are divorced or
                                                      separated, proof showing that the traveling
                                                      parent has been awarded legal custody of the
                                                      minor.

                                                                                              App.342
   Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21 Page 47 of 165 PageID 692
  Circumstance:                       Type of evidence that may be requested:

                                                 Written authorization from both parents for the
                                                 child to leave the country with an appointed
                                                 guardian, to include:

  Where neither parent is traveling                 • The duration of travel and
                                                    • Proof of legal guardianship issued by a
                                                      government authority.



                                                    • Written explanation from the petitioner or
                                                      beneficiary explaining efforts to locate the
                                                      parent; or
                                                    • The circumstances surrounding their
  Where the parent or parents' consent
                                                      unavailability; and
  cannot be obtained
                                                    • Evidence of guardianship for the person who
                                                      is accompanying the child on travel or
                                                      receiving the child once he or she arrives.



Submitting a Request for Parole

USCIS Dallas Lockbox
For U.S. Postal Service (USPS) Deliveries:
USCIS
P.O. Box 660865
Dallas, TX 75266

For Express Mail and courier deliveries:
USCIS
Attn: HP
2501 S. State Hwy 121, Business
Suite400
Lewisville, TX 75067

Please see the 1-131, Ai:wlication for Travel Document website for instructions on submitting
requests.

Length of Parole Consideration Process

While processing time varies according to case complexity and how thorough the supporting
documentation is in the initial filing, we strive to complete requests for parole for applicants outside
the United States (or seeking re-parole as explained below) within 3 months. Please see our
P-rocessing times website for current processing times. To avoid delays in processing, it is critical
that applicants include all relevant supporting evidence at the time of application and in
response to any request for evidence (RFE).

Expedited Processing
                                                                                            App.343
   Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                Page 48 of 165 PageID 693
To request expedited processing, the petitioner should:

  • Follow the guidance on the Form 1-131 instructions (PDF, 284.74 KB)..
  • Write the word EXPEDITE in the top right corner of the application in black ink.
  • Provide an email address, phone number, and fax number for the petitioner or representative
    with any expedite request.
  • Include a detailed explanation of the reason for the expedite request along with any available
    supporting evidence.
    o Generally, all requests for parole are based on urgent needs; therefore, the petitioner must
       demonstrate significant reasons for expediting the request, such as a life threatening or other
       extremely urgent situation.

If Parole is Denied

The petitioner cannot appeal the denial of parole, as the grant of parole confers no substantive right
or immigration status. However, if there are significant new facts that are relevant to the application
for parole, the petitioner may file a new Form 1-131, A1wlication for Travel Document, packet with fee
or request for fee waiver. There is no limit to the number of Forms 1-131, ARJ~lication for Travel
Document a person may file.




Travel for Parolees


Leaving the United States

A parole document provided to an individual outside the United States is valid to be presented only
once for parole at the port of entry. If the petitioner leaves the United States, their parole will end
once the petitioner departs. If the petitioner wishes to travel abroad and then return to the United
States as a parolee, they may file a separate application on a new Form l-131for advance parole
before traveling abroad. For information on how to apply for advance parole while in the United
States, please see Form 1-131 instructions (PDF, 284.74 KB).. The petitioner may also apply for a visa
or again request parole from outside of the United States in order to return.




Re-Parole


Parole ends on the date the parole period expires, is revoked, or when the parolee departs the United
States or obtains an immigration status, whichever happens first. Although parole is temporary in
nature, in some instances, a beneficiary may need to remain in the United States beyond the period
of authorized parole. In such instances, an individual may request re-parole from within the United
States.

The petitioner may request re-parole by:

  • Filing a new Form 1-131, A1wlication for Travel Document;
                                                                                           App.344
   Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21               Page 49 of 165 PageID 694
  • Checking box 1.e or 1.f in Part 2 of the form; and
  • Writing "re-parole" across the top of the application.

In addition to required fees or request for fee waiver, the submission should include materials and
evidence to support re-parole, including explaining and providing supporting documents on the
need for an additional authorized parole period .

The request should be filed at least 90 days in advance of the expiration of the authorized parole
period to allow for sufficient processing time and to avoid the potential for accruing time in unlawful
status.




Related Links

  • Memorandum Of Agreement between CBP, ICE and USCIS regarding Parole Authority_(PDF).

Forms

  • 1-134, Affidavit of SuP-,P-,Ort
  • 1-765, AP-,P-,lication for EmP-IOY.ment Authorization
  • 1-131, AP-,P-,lication for Travel Document



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                                                                         Last Reviewed/Updated: 03/31/2021




                                                                                          App.345
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21          Page 50 of 165 PageID 695



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS




                              2.2.2021 DHS letter to Texas



                                      EXHIBIT B-6




                                                                             App.346
  Case 6:21-cv-00003 Document 63-16 Filed on 02/05/21 in TXSD Page 2 of 3
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21 Page 51 of 165 PageID 696
                                                                            Secretary

                                                                            U.S. Department of Homeland Security
                                                                            Washington, DC 20528




                                      February 2, 2021


Ken Paxton
Attorney General
State of Texas
300 West 15th Street
Austin, Texas 78711

Dear Attorney General Paxton:

       I am writing in response to your letter to me of January 21, 2021 alleging that the
Department of Homeland Security (DHS) has violated a purported “Agreement” (Document)
with the State of Texas.

        As you are fully aware, the State of Texas has initiated a lawsuit against DHS seeking to
enjoin, on the basis of that Document, the Department’s lawful exercise of its authority. Texas v.
United States, No. 6:21-cv-00003, Complaint, ECF No. 1 (S.D. Tex. filed Jan. 22, 2021). The
Document that you reference in your letter is void, not binding, and unenforceable, as explained
in the Defendants’ Memorandum of Points and Authorities in Opposition to Plaintiffs’
Application for a Temporary Restraining Order, ECF No. 8 (filed Jan. 24, 2021).

        Notwithstanding that the Document is void, not binding, and unenforceable—and
preserving all rights, authorities, remedies, and defenses under the law—this letter also provides
notice, on behalf of DHS, U.S. Customs and Border Protection (CBP), U.S. Immigration and
Customs Enforcement (ICE), and U.S. Citizenship and Immigration Services (USCIS), that
DHS, CBP, ICE and USCIS rescinds, withdraws, and terminates the Document, effective
immediately. DHS will continue to comply with applicable executive orders, statutes,
regulations, and court orders.

      Please direct any further correspondence concerning the Document to the
Department of Justice.

                                      Sincerely,



                                      David P. Pekoske
                                      Acting Secretary




                                                                                            App.347
  Case 6:21-cv-00003 Document 63-16 Filed on 02/05/21 in TXSD Page 3 of 3
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21 Page 52 of 165 PageID 697




COPIES OF NOTICE TO:

Brian M. Boynton
Acting Assistant Attorney General
Civil Division, U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530

Greg Abbott, Governor of Texas
1100 San Jacinto Boulevard, 4th Floor
Austin, TX 78701

Department of Homeland Security
c/o Joseph B. Maher, Acting General Counsel
Washington, D.C. 20528

U.S. Customs and Border Protection
c/o Troy Miller, Acting Commissioner
Office of the Commissioner
1300 Pennsylvania Ave. NW
Washington, D.C. 20229

U.S. Immigration and Customs Enforcement
c/o Tae Johnson, Acting Director
Office of the Director
500 12th Street SW
Washington, D.C. 20536

U.S. Citizenship and Immigration Services
c/o Tracy Renaud, Acting Director
Office of the Director
5900 Capital Gateway Drive
Suitland, Maryland 20746




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                                                                    App.348
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21          Page 53 of 165 PageID 698



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS




                         DPS Texas Criminal Illegal Alien Data



                                      EXHIBIT B-7




                                                                             App.349
2/4/2021                                                                                                                    Texas Criminal Illegal Alien Data | Department of Public Safety
                           Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                                                                                            Page 54 of 165 PageID 699
     Home > Crime Records Service > Texas Criminal Illegal Alien Data


   Texas Criminal Illegal Alien Data
   The Department of Public Safety and local law enforcement agencies in Texas participate in the                                                                                              Crime Records
   Department of Homeland Security’s (DHS) Priority Enforcement Program (PEP). Participation in                                                                                                Service Menu
   PEP enables DHS to work with state and local law enforcement to take custody of individuals who
   pose a danger to public safety before those individuals are released into our communities. In
                                                                                                                                                                                               CRS Home
   Texas, PEP begins at the local level when an individual is arrested and booked by a Texas law
   enforcement of cer for a criminal violation of Texas law. The arrested individual’s ngerprints are
   submitted to the Texas DPS and subsequently to the FBI for criminal history and warrant checks.                                                                                             Overview
   This same biometric data is also sent to DHS’ IDENT database so that ICE can determine the
   person’s immigration status and whether the individual is a priority for removal, consistent with
                                                                                                                                                                                               FAQs
   the DHS enforcement priorities. The immigration status information is returned to DPS by DHS.
   The following report is based upon the status indicators provided to the DPS. For the purposes of
   this report, the term “criminal alien” refers to an individual who has been identi ed as an alien by                                                                                        Criminal History
   DHS and who has been arrested for a state criminal offense, typically a Misdemeanor B or higher,                                                                                            Reporting
   committed in Texas.

   Lawful
   Lawful Presence
          Presence Determined Through PEP
                   Determined Through PEP
                                                                                                                                                                                               Fingerprinting
                                                                                                                                                                                               -  - - - - Services
   According to DHS status indicators, over 334,000 criminal aliens have been booked into local
   Texas jails between June 1, 2011 and January 31, 2021, of which over 228,000 were classi ed as
   illegal aliens by DHS.                                                                                                                                                                      Texas Data Exchange
                                                                                                                                                                                               (TDEx)
   Between June 1, 2011 and January 31, 2021, these 228,000 illegal aliens were charged with more
   than 368,000 criminal offenses which included arrests for 681 homicide charges; 42,698 assault
   charges; 6,950 burglary charges; 45,557 drug charges; 590 kidnapping charges; 18,662 theft                                                                                                  Texas Transnational
   charges; 28,892 obstructing police charges; 2,050 robbery charges; 4,505 sexual assault charges;                                                                                            Intelligence Center
   5,651 sexual offense charges; and 3,871 weapon charges. DPS criminal history records re ect                                                                                                 (TTIC)
   those criminal charges have thus far resulted in over 143,000 convictions including 300 homicide
   convictions; 16,864 assault convictions; 3,707 burglary convictions; 20,763 drug convictions; 223
                                                                                                                                                                                               CRS Related Links
   kidnapping convictions; 8,000 theft convictions; 13,012 obstructing police convictions; 1,217
   robbery convictions; 2,146 sexual assault convictions; 2,749 sexual offense convictions; and
   1,527 weapon convictions.                                                                                                                                                                   Misuse of Identity

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                                                                                                                                                                                               Uniform Crime
                                                                                                                                                                                               Reporting Program
             -
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            -  ...-.... I
                 ,
                                                                                                                                                                                               ViCAP - Violent Criminal

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      .                                                                                                                                                                                        Apprehension Program

   Enlarge
   Enlarge chart
           chart
                                                                                                                                                                                               Contact Crime Records
   These gures only count individuals who previously had an encounter with DHS that resulted in
                                                                                                                                                                                               Service
   their ngerprints being entered into the DHS IDENT database. Foreign nationals who enter the
   country illegally and avoid detection by DHS, but are later arrested by local or state law
   enforcement for a state offense will not have a DHS response in regard to their lawful status and                                                                                           Criminal History Search
   do not appear in these counts. However, in addition to the PEP program, DHS actively adjudicates
   the immigration status of individuals incarcerated in the Texas prison system. From 2011 to date,
                                                                                                                                                                                               Sex Offender Search
   the Department of Criminal Justice (TDCJ) has provided DPS with information on more than
   29,000 individuals who were identi ed by DHS as in the country illegally while they were
                                                                                                                                                                                                           Back to Crime
                                                                                                                                                                                                        Records Home >
                                                                                                                                                                                                               App.350
https://www.dps.texas.gov/section/crime-records-service/texas-criminal-illegal-alien-data                                                                                                                                  1/4
2/4/2021                                                                                                        Texas Criminal Illegal Alien Data | Department of Public Safety
                                                         Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                                                  Page 55 of 165 PageID 700
   incarcerated at TDCJ. 10,450 of these individuals were not identi ed through the PEP program at
   the time of their arrest. DPS does not know the current incarceration status of the individuals
   identi ed while they were incarcerated nor when their alien status was initially determined.

   Lawful
   Lawful Presence
          Presence Determined While Incarcerated
                   Determined While Incarcerated at TDCJ
                                                 at TDCJ
   Between June 1, 2011 and January 31, 2021, these 10,450 individual identi ed as illegal aliens
   while in prison, but who were not previously identi ed through PEP, were charged with more than
   7,000 criminal offenses which included arrests for 100 homicide charges; 979 assault charges;
   529 burglary charges; 1,455 drug charges; 36 kidnapping charges; 364 theft charges; 741
   obstructing police charges; 301 robbery charges; 632 sexual assault charges; 282 sexual offense
   charges; and 173 weapon charges. DPS criminal history records re ect those criminal charges
   have thus far resulted in over 4,000 convictions including 76 homicide convictions; 589 assault
   convictions; 344 burglary convictions; 847 drug convictions; 21 kidnapping convictions; 200 theft
   convictions; 323 obstructing police convictions; 231 robbery convictions; 448 sexual assault
   convictions; 210 sexual offense convictions; and 79 weapon convictions.


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   Enlarge
   Enlarge chart
           chart

   Because DPS does not know the date these individuals were identi ed as illegal while in prison,
   the count of charges for which this population was arrested between June 1, 2011 and January
   31, 2021 does not necessarily align with the size of the population of illegal aliens identi ed while
   in prison. A more accurate assessment can be seen when examining this population’s entire Texas
   criminal history and not just for offenses committed during this time period (see the Historical
   Data section of this report). However, for this report, in order to be consistent with the timeframe
   utilized to provide counts of arrest and conviction for the population identi ed through PEP, we
   have limited the arrest and conviction counts for prison identi ed illegal aliens to the same June 1,
   2011 to January 31, 2020 time frame used for individuals identi ed through PEP.

   Report
   Report Notes
          Notes

   These gures do not attempt to allege that foreign nationals in the country illegally commit more
   crimes than other groups. It simply identi es thousands of crimes that should not have occurred
   and thousands of victims that should not have been victimized because the perpetrator should
   not be here. It is also important to note that these gures represent the minimum number of
   crimes associated with criminal illegal aliens:

        • These gures only count arrests in Texas for state offenses. These individuals may have
                   criminal records in other states.
        • These gures only represent offenses and convictions that are associated with arrest events
                   that occurred between June 1, 2011 and January 31, 2021.
        • The criminal activity for individuals identi ed as illegal while in prison is under represented
                   for this time period because they may have been incarcerated during the time frame used in
                   this report.
        • These gures do not count federal criminal charges.
        • These gures do not include similar data for foreign nationals who are lawfully in the country
                   and commit state criminal offenses.
        • Individuals whose lawful presence was determined while in prison may or may not be
                   currently incarcerated.
                                                                                                                                                                                        App.351
https://www.dps.texas.gov/section/crime-records-service/texas-criminal-illegal-alien-data                                                                                                         2/4
2/4/2021                                                                                                              Texas Criminal Illegal Alien Data | Department of Public Safety
                                                         Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                                                        Page 56 of 165 PageID 701
   Historical Data
   Because individuals identi ed as being illegally present in the country may have had a Texas
   criminal history prior to their immigration status being known to law enforcement, DPS has
   traditionally published criminal history data for an alien’s entire criminal history.

   Lawful
   Lawful Presence
          Presence Determined Through PEP
                   Determined Through PEP
   According to DHS status indicators, over 334,000 criminal aliens have been booked into local
   Texas jails between June 1, 2011 and January 31, 2021, of which over 228,000 were classi ed as
   illegal aliens by DHS.

   Over the course of their entire Texas criminal careers, these 228,000 illegal aliens were charged
   with more than 555,000 criminal offenses which included arrests for 1,210 homicide charges;
   64,323 assault charges; 17,037 burglary charges; 70,506 drug charges; 912 kidnapping charges;
   32,700 theft charges; 47,931 obstructing police charges; 4,070 robbery charges; 6,804 sexual
   assault charges; 8,051 sexual offense charges; and 7,995 weapon charges. DPS criminal history
   records re ect those criminal charges have thus far resulted in over 247,000 convictions
   including 556 homicide convictions; 26,896 assault convictions; 8,723 burglary convictions;
   35,242 drug convictions; 343 kidnapping convictions; 15,130 theft convictions; 23,282
   obstructing police convictions; 2,235 robbery convictions; 3,484 sexual assault convictions; 4,223
   sexual offense convictions; and 3,441 weapon convictions.

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   Enlarge
   Enlarge chart
           chart

   Lawful
   Lawful Presence
          Presence Determined While Incarcerated
                   Determined While Incarcerated at TDCJ
                                                 at TDCJ
   From 2011 to date, the Department of Criminal Justice (TDCJ) has provided DPS with
   information on more than 29,000 individuals who were identi ed by DHS as in the country
   illegally while they were incarcerated at TDCJ. 10,450 of these individuals were not identi ed
   through the PEP program at the time of their arrest. DPS does not know the current
   incarceration status of the individuals identi ed while they were incarcerated nor when their
   alien status was initially determined. Over the course of their entire Texas criminal careers, these
   10,450 individual identi ed as illegal aliens while in prison, were charged with more than 47,000
   criminal offenses which included arrests for 1,930 homicide charges; 5,643 assault charges; 3,588
   burglary charges; 6,763 drug charges; 341 kidnapping charges; 2,695 theft charges; 3,697
   obstructing police charges; 2,424 robbery charges; 2,985 sexual assault charges; 1,151 sexual
   offense charges; and 1,563 weapon charges. DPS criminal history records re ect those criminal
   charges have thus far resulted in over 25,000 convictions including 1,150 homicide convictions;
   2,870 assault convictions; 1,961 burglary convictions; 3,964 drug convictions; 152 kidnapping
   convictions; 1,275 theft convictions; 1,664 obstructing police convictions; 1,636 robbery
   convictions; 1,923 sexual assault convictions; 718 sexual offense convictions; and 616 weapon
   convictions.




                                                                                                                                                                                              App.352
https://www.dps.texas.gov/section/crime-records-service/texas-criminal-illegal-alien-data                                                                                                               3/4
2/4/2021                                                                                          Texas Criminal Illegal Alien Data | Department of Public Safety

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   Enlarge
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        Follow DPS                                                                                                         Keep Texas Safe
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        Policies                                                          Texas Sites                                Feedback                                       Helpful Links
        Site Policies                                                     Texas Homeland Security                    Customer Feedback                              Outlook Web Access


        Accessibility                                                     Texas Veterans Portal                      Report Fraud, Waste, or Abuse                  CAPPS Login


        The Governor's Committee on                                       Texas State Library & Archives             Complaints & Compliments                       ERR Entry
        People with Disabilities
                                                                          Public Safety Commission                                                                  Compact with Texans
        Statement on Telemarketing
                                                                          texas.gov
        Texas Fusion Center Privacy
        Policy


        Public Information Act




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                                                                                                                                                                                          App.353
https://www.dps.texas.gov/section/crime-records-service/texas-criminal-illegal-alien-data                                                                                                           4/4
                         Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                                   Page 58 of 165 PageID 703




                     Arrest and Conviction Data for Select Offenses Associated with Illegal Criminal Aliens
                                          Identified by DHS through Texas arrests from 6/1/2011 through 01/31/2021



        Weapons                                               3,871                                                                1,527


   Sexual Offense                                       5,651                                                                2,749


   Sexual Assault                                       4,505                                                                2,146


                                                    2,050                                                                 1,217
         Robbery


Obstructing Police                                       28,892                                                               13,012


            Theft                                           18,662                                                                8,000           Arrests
                                                                                                                                                  Convictions

      Kidnapping                                                590                                                                  223


            Drugs                                        45,557                                                               20,763


                                                      6,950                                                                3,707
         Burglary


          Assault                                            42,698                                                               16,864


        Homicide                                            681                                                                   300


All Other Offenses                                            208,528                                                                73,223




                                                                                                                                              App.354
                          Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                               Page 59 of 165 PageID 704




                     Arrest and Conviction Data for Select Offenses Associated with Incarcerated Illegal Criminal Aliens
                                                 Identified by DHS through Texas arrests from 6/1/2011 through 01/31/2021



        Weapons                                              173                                                                         79


   Sexual Offense                              282                                                                          210


   Sexual Assault                               632                                                                          447


                                               301                                                                          232
         Robbery


Obstructing Police                                           741                                                                         324




                                                                                                                                               ' □
            Theft                                     364                                                                          199
                                                                                                                                                   Arrests

                                                                                                                                   21              Convictions
      Kidnapping                                      36


            Drugs                                    1,455                                                                         843


                                                 529                                                                          345
         Burglary


          Assault                                    979                                                                          585


        Homicide                               100                                                                          76


All Other Offenses                                     2,170                                                                        1,088




                                                                                                                                               App.355
                         Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                                  Page 60 of 165 PageID 705




                     Historical Arrest and Conviction Data for Select Offenses Associated with Illegal Criminal Aliens
                                                                  Identified by DHS through Texas arrests




        Weapons                                       7,995                                                                   3,441


   Sexual Offense                                 8,051                                                                    4,223


   Sexual Assault                                  6,804                                                                   3,484


                                                  4,070                                                                   2,235
         Robbery


Obstructing Police                                 47,931                                                                  23,282


            Theft                                   32,700                                                                  15,130


      Kidnapping                                            912                                                                    343     D Arrests
                                                                                                                                             Convictions



            Drugs                                  70,506                                                                  35,242


                                                  17,037                                                                   8,723
         Burglary


          Assault                                     64,323                                                                  26,896


        Homicide                                     1,210                                                                    556


All Other Offenses                                   294,295                                                                 123,867




                                                                                                                                         App.356
                          Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                                Page 61 of 165 PageID 706




                     Historical Arrest and Conviction Data for Select Offenses Associated with Incarcerated Illegal
                                                            Criminal Aliens
                                                                 Identified by DHS through Texas arrests

        Weapons                                            1,563                                                                       616


   Sexual Offense                               1,151                                                                    718


   Sexual Assault                               2,985                                                                   1,923


                                               2,424                                                                   1,636
         Robbery


Obstructing Police                                       3,697                                                                   1,664


            Theft                                       2,695                                                                   1,275
                                                                                                                                                 Arrests

                                                                                                                                  152            Convictions
      Kidnapping                                          341


            Drugs                                6,763                                                                    3,964


                                                   3,588                                                                   1,961
         Burglary


          Assault                                      5,643                                                                   2,870


        Homicide                                 1,930                                                                   1,150


All Other Offenses                                14,570                                                                   7,905




                                                                                                                                             App.357
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21          Page 62 of 165 PageID 707



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS




     U.S. Census Bureau Table – Geographic Mobility by Citizenship Status



                                      EXHIBIT B-8




                                                                             App.358
Table: ACSST1Y2019.S0701
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                                   Texas

                                   Total                                     Moved; within same county

Label                              Estimate                Margin of Error   Estimate              Margin of Error
Population 1 year and over         28,642,658              ±11,223           8.5%                  ±0.2
 AGE
   1 to 4 years                    1,628,532               ±13,105           11.6%                 ±0.7
   5 to 17 years                   5,414,876               ±7,620            8.3%                  ±0.3
   18 to 24 years                  2,826,700               ±9,587            12.9%                 ±0.5
   25 to 34 years                  4,242,661               ±12,557           13.9%                 ±0.4
   35 to 44 years                  3,959,419               ±12,322           8.4%                  ±0.3
   45 to 54 years                  3,556,845               ±10,636           6.0%                  ±0.3
   55 to 64 years                  3,274,898               ±6,891            4.6%                  ±0.2
   65 to 74 years                  2,259,341               ±7,279            3.3%                  ±0.3
   75 years and over               1,479,386               ±5,575            3.9%                  ±0.3
   Median age (years)              35.5                    ±0.1              28.0                  ±0.3
 SEX
   Male                            14,205,551              ±12,331           8.4%                  ±0.2
   Female                          14,437,107              ±12,058           8.5%                  ±0.2
 RACE AND HISPANIC OR LATINO
 ORIGIN
   One race                        27,831,753              ±29,803           8.4%                  ±0.2
     White                         21,031,553              ±47,146           7.9%                  ±0.2
     Black or African American     3,506,078               ±23,226           11.1%                 ±0.5
     American Indian and Alaska
     Native                        144,038                 ±8,743            9.3%                  ±1.9
     Asian                         1,431,296               ±11,251           7.1%                  ±0.6
     Native Hawaiian and Other
     Pacific Islander              26,595                  ±3,972            11.7%                 ±7.3
     Some other race               1,692,193               ±44,598           9.4%                  ±0.9
   Two or more races               810,905                 ±27,487           10.7%                 ±1.1




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Table: ACSST1Y2019.S0701
                      Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21              Page 64 of 165 PageID 709




                                   Moved; from different county, same state   Moved; from different state

Label                              Estimate                Margin of Error    Estimate               Margin of Error
Population 1 year and over         3.8%                    ±0.1               2.0%                   ±0.1
 AGE
   1 to 4 years                    4.0%                    ±0.4               2.3%                   ±0.3
   5 to 17 years                   2.6%                    ±0.2               1.5%                   ±0.1
   18 to 24 years                  8.3%                    ±0.4               3.5%                   ±0.2
   25 to 34 years                  6.5%                    ±0.3               3.3%                   ±0.2
   35 to 44 years                  3.6%                    ±0.2               2.0%                   ±0.2
   45 to 54 years                  2.9%                    ±0.2               1.4%                   ±0.1
   55 to 64 years                  2.2%                    ±0.2               1.1%                   ±0.1
   65 to 74 years                  1.7%                    ±0.2               1.0%                   ±0.1
   75 years and over               1.7%                    ±0.2               0.8%                   ±0.1
   Median age (years)              28.1                    ±0.4               28.8                   ±0.5
 SEX
   Male                            4.0%                    ±0.1               2.0%                   ±0.1
   Female                          3.7%                    ±0.1               1.9%                   ±0.1
 RACE AND HISPANIC OR LATINO
 ORIGIN
   One race                        3.8%                    ±0.1               1.9%                   ±0.1
     White                         3.7%                    ±0.1               1.7%                   ±0.1
     Black or African American     4.5%                    ±0.3               2.4%                   ±0.3
     American Indian and Alaska
     Native                        4.9%                    ±1.7               2.7%                   ±0.8
     Asian                         3.6%                    ±0.5               3.7%                   ±0.5
     Native Hawaiian and Other
     Pacific Islander              3.2%                    ±2.0               9.4%                   ±8.3
     Some other race               3.0%                    ±0.4               0.9%                   ±0.2
   Two or more races               5.1%                    ±0.6               3.9%                   ±0.7




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Table: ACSST1Y2019.S0701
                      Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21      Page 65 of 165 PageID 710




                                   Moved; from abroad

Label                              Estimate                Margin of Error
Population 1 year and over         0.8%                    ±0.1
 AGE
   1 to 4 years                    1.0%                    ±0.2
   5 to 17 years                   0.7%                    ±0.1
   18 to 24 years                  1.2%                    ±0.1
   25 to 34 years                  1.3%                    ±0.1
   35 to 44 years                  0.8%                    ±0.1
   45 to 54 years                  0.5%                    ±0.1
   55 to 64 years                  0.4%                    ±0.1
   65 to 74 years                  0.4%                    ±0.1
   75 years and over               0.3%                    ±0.1
   Median age (years)              27.9                    ±1.1
 SEX
   Male                            0.8%                    ±0.1
   Female                          0.7%                    ±0.1
 RACE AND HISPANIC OR LATINO
 ORIGIN
   One race                        0.8%                    ±0.1
     White                         0.6%                    ±0.1
     Black or African American     0.4%                    ±0.1
     American Indian and Alaska
     Native                        1.1%                    ±0.6
     Asian                         2.9%                    ±0.4
     Native Hawaiian and Other
     Pacific Islander              1.0%                    ±1.4
     Some other race               1.8%                    ±0.4
   Two or more races               0.7%                    ±0.2




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Table: ACSST1Y2019.S0701
                      Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21             Page 66 of 165 PageID 711


                                      Texas

                                      Total                                  Moved; within same county

Label                                 Estimate             Margin of Error   Estimate              Margin of Error
  Hispanic or Latino origin (of any
  race)                               11,363,374           ±7,932            8.8%                  ±0.3
  White alone, not Hispanic or
  Latino                              11,816,132           ±8,528            7.5%                  ±0.2
 NATIVITY AND CITIZENSHIP
 STATUS
  Native                              23,694,288           ±55,093           8.6%                  ±0.2
  Foreign born                        4,948,370            ±52,930           7.7%                  ±0.4
    Naturalized U.S. citizen          1,958,749            ±30,459           5.2%                  ±0.5
    Not a U.S. citizen                2,989,621            ±47,047           9.4%                  ±0.5
MARITAL STATUS
 Population 15 years and over         22,833,954           ±7,734            8.2%                  ±0.2
  Never married                       7,715,686            ±41,287           11.1%                 ±0.3

  Now married, except separated       11,041,301           ±50,997           6.0%                  ±0.2
  Divorced or separated               2,938,935            ±31,574           10.0%                 ±0.4
  Widowed                             1,138,032            ±21,081           5.4%                  ±0.4
EDUCATIONAL ATTAINMENT
 Population 25 years and over         18,772,550           ±10,843           7.5%                  ±0.2

   Less than high school graduate     2,882,388            ±33,539           7.3%                  ±0.4
   High school graduate (includes
   equivalency)                       4,734,422            ±47,856           7.6%                  ±0.3
   Some college or associate's
   degree                             5,379,207            ±41,497           7.8%                  ±0.3
   Bachelor's degree                  3,750,797            ±35,494           7.6%                  ±0.3

   Graduate or professional degree 2,025,736               ±29,709           7.1%                  ±0.4


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Table: ACSST1Y2019.S0701
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                                      Moved; from different county, same state   Moved; from different state

Label                                 Estimate               Margin of Error     Estimate               Margin of Error
  Hispanic or Latino origin (of any
  race)                               2.9%                   ±0.1                1.0%                   ±0.1
  White alone, not Hispanic or
  Latino                              4.6%                   ±0.2                2.4%                   ±0.1
 NATIVITY AND CITIZENSHIP
 STATUS
  Native                              4.1%                   ±0.1                2.0%                   ±0.1
  Foreign born                        2.4%                   ±0.2                1.8%                   ±0.2
    Naturalized U.S. citizen          2.4%                   ±0.2                1.6%                   ±0.2
    Not a U.S. citizen                2.5%                   ±0.3                1.8%                   ±0.2
MARITAL STATUS
 Population 15 years and over         4.0%                   ±0.1                2.0%                   ±0.1
  Never married                       5.7%                   ±0.2                2.5%                   ±0.1

  Now married, except separated       2.8%                   ±0.1                1.8%                   ±0.1
  Divorced or separated               4.6%                   ±0.2                1.7%                   ±0.2
  Widowed                             2.4%                   ±0.3                1.1%                   ±0.2
EDUCATIONAL ATTAINMENT
 Population 25 years and over         3.5%                   ±0.1                1.8%                   ±0.1

   Less than high school graduate     2.6%                   ±0.2                0.7%                   ±0.1
   High school graduate (includes
   equivalency)                       3.4%                   ±0.2                1.2%                   ±0.1
   Some college or associate's
   degree                             3.9%                   ±0.2                1.9%                   ±0.1
   Bachelor's degree                  3.7%                   ±0.2                2.7%                   ±0.2

   Graduate or professional degree 3.6%                      ±0.3                3.0%                   ±0.3


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Table: ACSST1Y2019.S0701
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                                      Moved; from abroad

Label                                 Estimate             Margin of Error
  Hispanic or Latino origin (of any
  race)                               1.0%                 ±0.1
  White alone, not Hispanic or
  Latino                              0.4%                 ±0.1
 NATIVITY AND CITIZENSHIP
 STATUS
  Native                              0.3%                 ±0.1
  Foreign born                        3.1%                 ±0.3
    Naturalized U.S. citizen          0.6%                 ±0.2
    Not a U.S. citizen                4.7%                 ±0.4
MARITAL STATUS
 Population 15 years and over         0.8%                 ±0.1
  Never married                       1.0%                 ±0.1

  Now married, except separated       0.7%                 ±0.1
  Divorced or separated               0.4%                 ±0.1
  Widowed                             0.4%                 ±0.1
EDUCATIONAL ATTAINMENT
 Population 25 years and over         0.7%                 ±0.1

   Less than high school graduate     1.1%                 ±0.2
   High school graduate (includes
   equivalency)                       0.5%                 ±0.1
   Some college or associate's
   degree                             0.4%                 ±0.1
   Bachelor's degree                  0.9%                 ±0.1

   Graduate or professional degree 1.0%                    ±0.2


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Table: ACSST1Y2019.S0701
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                                   Texas

                                   Total                                     Moved; within same county

Label                              Estimate                Margin of Error   Estimate              Margin of Error
INDIVIDUAL INCOME IN THE PAST 12
MONTHS (IN 2019 INFLATION‐
ADJUSTED DOLLARS)
  Population 15 years and over    22,833,954               ±7,734            8.2%                  ±0.2
   $1 to $9,999 or loss           3,203,558                ±32,025           8.7%                  ±0.3
   $10,000 to $14,999             1,713,105                ±26,543           8.7%                  ±0.5
   $15,000 to $24,999             2,959,404                ±29,675           9.3%                  ±0.4
   $25,000 to $34,999             2,407,403                ±28,262           9.4%                  ±0.4
   $35,000 to $49,999             2,631,883                ±32,926           8.5%                  ±0.3
   $50,000 to $64,999             2,041,160                ±33,830           8.6%                  ±0.4
   $65,000 to $74,999             861,911                  ±18,513           7.5%                  ±0.6
   $75,000 or more                3,355,247                ±36,009           6.4%                  ±0.3
   Median income (dollars)        31,505                   ±139              29,297                ±918
POVERTY STATUS IN THE PAST 12
MONTHS
  Population 1 year and over for
  whom poverty status is
  determined                      28,016,731               ±12,536           8.3%                  ±0.2
   Below 100 percent of the
   poverty level                  3,790,948                ±67,495           12.6%                 ±0.6
   100 to 149 percent of the
   poverty level                  2,623,138                ±67,036           9.9%                  ±0.8
   At or above 150 percent of the
   poverty level                  21,602,645               ±94,258           7.4%                  ±0.2
HOUSING TENURE
  Population 1 year and over in
  housing units                   28,041,965               ±11,223           8.3%                  ±0.2




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Table: ACSST1Y2019.S0701
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                                   Moved; from different county, same state   Moved; from different state

Label                              Estimate                Margin of Error    Estimate               Margin of Error
INDIVIDUAL INCOME IN THE PAST 12
MONTHS (IN 2019 INFLATION‐
ADJUSTED DOLLARS)
  Population 15 years and over    4.0%                     ±0.1               2.0%                   ±0.1
   $1 to $9,999 or loss           5.3%                     ±0.3               2.1%                   ±0.2
   $10,000 to $14,999             3.8%                     ±0.3               1.9%                   ±0.2
   $15,000 to $24,999             3.6%                     ±0.2               2.1%                   ±0.2
   $25,000 to $34,999             3.7%                     ±0.2               1.8%                   ±0.2
   $35,000 to $49,999             3.7%                     ±0.2               2.0%                   ±0.2
   $50,000 to $64,999             4.1%                     ±0.3               1.9%                   ±0.2
   $65,000 to $74,999             3.8%                     ±0.5               2.2%                   ±0.4
   $75,000 or more                3.1%                     ±0.2               2.2%                   ±0.2
   Median income (dollars)        28,266                   ±1,439             31,784                 ±946
POVERTY STATUS IN THE PAST 12
MONTHS
  Population 1 year and over for
  whom poverty status is
  determined                      3.4%                     ±0.1               1.9%                   ±0.1
   Below 100 percent of the
   poverty level                  4.4%                     ±0.3               1.8%                   ±0.2
   100 to 149 percent of the
   poverty level                  3.1%                     ±0.4               1.7%                   ±0.3
   At or above 150 percent of the
   poverty level                  3.3%                     ±0.1               1.9%                   ±0.1
HOUSING TENURE
  Population 1 year and over in
  housing units                   3.4%                     ±0.1               1.9%                   ±0.1




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Table: ACSST1Y2019.S0701
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                                   Moved; from abroad

Label                              Estimate                Margin of Error
INDIVIDUAL INCOME IN THE PAST 12
MONTHS (IN 2019 INFLATION‐
ADJUSTED DOLLARS)
  Population 15 years and over    0.8%                     ±0.1
   $1 to $9,999 or loss           1.2%                     ±0.2
   $10,000 to $14,999             0.5%                     ±0.1
   $15,000 to $24,999             0.7%                     ±0.2
   $25,000 to $34,999             0.4%                     ±0.1
   $35,000 to $49,999             0.4%                     ±0.1
   $50,000 to $64,999             0.3%                     ±0.1
   $65,000 to $74,999             0.3%                     ±0.1
   $75,000 or more                0.4%                     ±0.1
   Median income (dollars)        19,924                   ±2,317
POVERTY STATUS IN THE PAST 12
MONTHS
  Population 1 year and over for
  whom poverty status is
  determined                      0.7%                     ±0.1
   Below 100 percent of the
   poverty level                  1.6%                     ±0.3
   100 to 149 percent of the
   poverty level                  0.7%                     ±0.2
   At or above 150 percent of the
   poverty level                  0.6%                     ±0.1
HOUSING TENURE
  Population 1 year and over in
  housing units                   0.7%                     ±0.1




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Table: ACSST1Y2019.S0701
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                                   Texas

                                   Total                                     Moved; within same county

Label                              Estimate                Margin of Error   Estimate              Margin of Error
   Householder lived in owner‐
   occupied housing units          18,304,178              ±101,137          4.1%                  ±0.1
   Householder lived in renter‐
   occupied housing units          9,737,787               ±101,070          16.3%                 ±0.4
PERCENT ALLOCATED
 Residence 1 year ago              7.8%                    (X)               (X)                   (X)




data.census.gov | Measuring America's People, Places, and Economy                                                    App.368 10
Table: ACSST1Y2019.S0701
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                                   Moved; from different county, same state   Moved; from different state

Label                              Estimate                Margin of Error    Estimate               Margin of Error
   Householder lived in owner‐
   occupied housing units          2.1%                    ±0.1               1.1%                   ±0.1
   Householder lived in renter‐
   occupied housing units          5.8%                    ±0.2               3.2%                   ±0.2
PERCENT ALLOCATED
 Residence 1 year ago              (X)                     (X)                (X)                    (X)




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Table: ACSST1Y2019.S0701
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                                   Moved; from abroad

Label                              Estimate                Margin of Error
   Householder lived in owner‐
   occupied housing units          0.3%                    ±0.1
   Householder lived in renter‐
   occupied housing units          1.5%                    ±0.1
PERCENT ALLOCATED
 Residence 1 year ago              (X)                     (X)




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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS




                            Foreign-Born Population in Texas



                                      EXHIBIT B-9




                                                                             App.371
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                                                         THE FOREIGN-BORN POPULATION IN
                                                           TEXAS: SOURCES OF GROWTH
OFFICE OF
                                                               Based on the size and composition of its foreign-born
THE STATE                                              population , Texas is more international than at any time since its
DEMOGRAPHER                                            statehood in 1845. By 20 13, more than one of every 10 foreign-
                                                       born persons in the United States resided in Texas. Presently,
                                                       about one out of six Texas residents was born in a foreign country.
                                                       In this brief, we examine the sources of growth for the foreign-born
                                                       population in Texas and discuss the implications of th is trend for
Included in this Brief:                                the State. Using U.S. Census Bureau data, we show that slightly
                                                       more than half of the 2012-2013 net migration to Texas was by
•    Texas is experiencing strong                      foreign-born persons and that domestic migration accounts for
     growth in its foreign-born                        almost 40 percent of the growth in the State's foreign-born
                                                       population 1 •
     population.

•    Both international and domestic                   Background
     migration are fueling the
                                                               International in-migrants are persons who move to the
     growth of the foreign-born                        United States from abroad . The American Community Survey
     population in Texas.                              (ACS) asks respondents where they lived one year ago. If they
                                                       lived abroad one year ago, they are considered to be recent
•    The growth of the foreign-born                    international in-migrants. In this context, international in-migrants
     population is making the Texas                    represent the annual inflow of persons from other countries into the
                                                       United States.
     population more international
    .t han -at:any;,tlme        since It
                   ,_-~_,,,i/•·i•-~;-~-~.- -,~- ....
       ----·~·--~- u.'.c._,,.,_,   , __


     oecame a•state,                                                             Census Terminology

                                                                                       Foreign-Born
                                                         The foreign-born population includes anyone who is not a U.S. citizen
Authors:                                                 at birth.
                                                                                       In -Migrant
steveWhite                                               A person entering a specified area by crossing its boundary from
                                                         some point outside the area .
Lloyd B. Potter, Ph.D.

Helen You, Ph.D.                                                                       Native -Born
                                                         Anyone born in the Un ited States, Puerto Rico, or a U.S. Island Area,
Lila Valencia, Ph.D.                                     or those born abroad of at least one U.S. citizen parent .
Jeffrey A. Jordan , Ph.D.
                                                                                       Immigrant
Beverly Pecotte                                          Admitted fo r lawful permanent residence in the United States.

                                                                                  International Migrant
                                                         A person who changes his or her usual place of residence from one
The Office of the State Demographer                      country to another.
is responsible for interpreting and
communicating information on                                                       Domestic Migration
demographic and socioeconomic                            Domestic migration is the movement of people within the United
issues for the State of Texas to the                     States.
                                                                                     Net Migration
public and the legislature.
                                                         Net migration for a given geographic area is the difference between in
                                                         -migration and out-migration during a specified time frame .

                                                         Sources: Schmidley and Gibson 1999; Grieco et al 2012; Perry
                         October2015                              2006; U.S. Census 1992

                                                                                                               App.372
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        By contrast, the foreign-born population                        Historical Trends in Texas Nativity
includes all persons who were not U.S. citizens at
birth. As such, the foreign-born population in the                             Both the size and the share of the foreign-
United States represents all non-native international                  born population in Texas are greater than at any
migrants regardless of when they arrived in the                        time since statehood in 1845. In Table 1, we find
United States or their immigration status.                             that 8.3 percent of Texas residents were foreign-
Consequently,       while international  in-migrants                   born in 1850. After declining to 2.8 percent in 1970,
represent a flow phenomenon, the foreign-born                          the share of the foreign-born population in Texas
population is a stock or resident phenomenon that                      increased to 16.4 percent in 2010.
results from this flow.

                      Table 1: Number and Percent of Texas Residents by Nativity, Selected Years

                      Native-Born Residents               Foreign-Born Residents                           Total Residents

         Year          Number            Percent           Number             Percent                  Number              Percent
         1850            194,911       91.7%          17,681         8.3%         212,592    100.0%
         1900          2,869,353       94.1%         179,357         5.9%      3,048,710     100.0%
         1960          9,282,717       96.9%         298,791         3.1%      9,581 ,508    100.0%
         1970         10,885,644       97.2%         309,772         2.8%     11 ,195,416    100.0%
         1980         13,372,978       94.0%         856,213         6.0%     14,229,191     100.0%
         1990         15,462,074       91.0%       1,524,436         9.0%     16,986,510     100.0%
         2000         17,952,178       86.1%       2,899,642        13.9%     20,851,820     100.0%
         2010         21,115,083       83.6%       4,142,031        16.4%     25,257,114     100.0%
                     Sources: Gibson and Jung 2006; U.S. Census Bureau ACS 1-Year Summary Data, 2010


Figure 1:           Texas Population Size by Nativity, 1850-2010

25,000,000




20,000,000




15,000,000




10,000,000




 5,000,000




         0
             1850   1860   1870   1880    1890   1900   1910   1920   1930     1940    1950     1960     1970    1980     1990     2000    2010

                                                   ■ Native-born      ■ Foreign-born
                                                                 Sources: Gibson ond Jung 2006; U.S. Census Bureau ACS 1- Yeor Summary Data, 2010




                                                                                                                           App.373
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Table 1 and Figure 1 show that as recently as the                  -born population was greater than its share of the
last decades of the twentieth century, the growth of               U.S. foreign-born population. Beginning in 1990,
the foreign-born population in Texas was slight and                Texas' share of the U.S. fore ign-born population has
gradual. For example, from 1900 to 1970, the                       exceeded its share of the U.S. native-born
state's foreign-born population increased by                       population .
130,415 or by less than 2,000 persons per year.
From 1970 to 2010, the number of foreign-born                             SINCE 1990, TEXAS FOREIGN-BORN POPULATION
                                                                          HAS GROWN MORE RAPIDLY THAN THE NATIVE-
Texans increased by 3,832,259 which is almost
                                                                          BORN POPULATION.
96,000 persons per year.
                                                                          From 1990 until the present, the Texas
       In Figure 2, we see the Texas share of the                  share of the U.S. foreign-born population has
U.S. population has increased every decade since                   increased so that by 2010, Texas had 7.8 percent of
1850. Until 1990, the state's share of the U.S. native             the U.S. native-born population and 10.4 percent of

Figure 2:     Texas Percentage of the U.S. Population by Nativity, 1850-201 0


    1850

    1860                      2.1%

    1870                        2.3%

    1880                                   3.4%

    1890                                          3.9%

    1900                                                 4.4%

    1910                                                   4.7%

    1920                                                    4.7%

    1930                                                        5.0%

    1940
                                                                   5.1%

    1950
                                                                    5.3%

    1960
                                                                       5.5%

    1970

    1980
                                                                                           7.7%
    1990
                                                                                                             9.3%
    2000
                                                                                                                         10.4%
    2010                                                                                    7.8%


                        ■ Texas Foreign-Born Population as a Percent of U.S . Foreign-Born Population

                        ■ Texas Native-Born Population as a Percent of U.S. Native-Born Popu lation


                                              Sources: Gibson and Jung 2006; U.S. Census Bureau A CS 1-Year Sum mary Data, 201 0




                                                                                                              App.374
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the U.S. foreign-born population. Thus, in recent             Figure 3 shows the 2005 through 2013 'migrant flow'
decades, the state's foreign-born population has              data for the foreign-born population moving to Texas.
grown more rapidly than its native-born population.           In this figure, migrants are persons who lived in
                                                              another country or state in the prior year.
        In contrast with the native-born population,
migration is the sole source of growth for the foreign-               Between 2005 and 2013, the greatest annual
born population. The following section describes the          migration of fore ign-born people to Texas occurred in
migration patterns of foreign-born persons in Texas.          2006, at 216,605. The least annual migration was
                                                              174,741 in 2010 following the end of the 'great
Historical Trends in Foreign-Born Migration                   recession' of 2007-2009. By 2013, the number of
to Texas                                                      foreign-born migrants to Texas had increased to
                                                              213,504, the second highest level during the nine
        Table 1 and Figures 1 and 2 presented the             year time series.
'migrant stock' or resident population which is the
total number of foreign-born persons living in Texas                   Figure 3 shows that international migration
at a given point in time. With these data, we saw that        has been the major source of growth for the foreign-
the state's fore ign-born population has experienced          born population in Texas, constituting around 60
tremendous growth in recent decades. In this section,         percent of the annual foreign-born in-migration.
we describe the sources of this growth.                       However, growth in the domestic migration of the
                                                              fore ign-born also has been strong.
        Growth in the foreign-born population is the
result of migration flows - the number of foreign-born               The domestic migration of foreign-born
persons moving to Texas during a given time period.           persons has grown from about 64,000 in 2005 to
These migration flows           have two sources:             over 82,000 in 2013. This increase of almost 18,000
international migration (originating in another country)      represents an average annual growth of more than 3
and domestic migration (originating in another state).        percent. By contrast, the international migration of


Figure 3:       Number and Percent of Foreign-Born Migrants to Texas by Migration Type, 2005-2013



                  216,605                                                                                           213,504
                             206,542                                                               205,425
    190,697                               192,960                                  190,351
                                                      184,313




      2005        2006         2007        2008            2009       2010           2011             2012            2013
                                           ■ International        Domestic
                                                                       Source: U.S. Census Bureau ACS 1-Year PUMS Data, 2005-2013




                                                                                                             App.375
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foreign-born persons to Texas grew from around                   Table 2 shows the 10 U.S. states with the
126,000 in 2005 to 131 ,000 in 2013, an increase of      largest average net domestic migration for the 2005-
around 5,000 which reflects an average annual            20 13 time period. These data include both native-
growth rate of less than 1 percent.                      born and foreign-born persons. Net migration for
                                                         international migrants is not presented because the
      RECENTLY, FOR EVERY 10 FOREIGN-BORN
      PERSONS ENTERING TEXAS, ROUGHLY 4
                                                         ACS (American Community Survey) does not track
      MOVED FROM ANOTHER STATE IN THE U.S.               international out-m igration.

        Even though international migration remains              In Table 2 we see that Texas led the nation
the largest source of growth for foreign-born Texans ,   in net domestic migration between 2005 and 2013.
domestic migrants represented close to 40 percent        The state's average of 125,778 net domestic
of the foreign-born migration to Texas between 2005      migrants is 1.8 times larger than that for Florida
and 2013. Thus, in recent years, about four of every     wh ich had the second largest number of net
ten foreign-born persons moving to Texas migrated        domestic migrants for 2005-2013.
from another U.S. state.
                                                            HIGH DOMESTIC IN-MIGRATION TO TEXAS HAS
                                                            FUELED THE GROWTH OF FOREIGN-BORN
        Figure 3 showed migration flow data for total       POPULATION INCREASES; ABOUT ONE IN AVE
in-migrants - the number of persons moving into an          DOMESTIC MIGRANTS WAS FOREIGN-BORN.
area. Though in-migration is an important migration
measure, it does not account for out-migration - the            The rapid growth in Texas' foreign-born
number of peop'le moving out of an area. For             population has occurred alongside this pattern of
example, in 2013, 82,174 foreign-born persons            high net domestic in-migration. The state's
migrated to Texas from other states. However, in         substantial net domestic migration helped fue l the
that same year, 50,789 foreign-born persons moved        growth of the fore ign-born population because
out of Texas into other states. To capture the total     around one in every five of these domestic migrants
population gain from migration , we employ net           was foreign-born.
migration. Net migration is the numerical difference
between in-migration and out-migration. Using net                Table 3 and Figu re 4 have the net domestic
migration, Texas gained an estimated total of 31 ,385    migration to Texas for native- and foreign-born
foreign born persons from domestic migration in          persons from 2005 through 2013. During these nine
2013 (i.e., 82 ,1 74- 50 ,789 = 31 ,385).                years, Texas added a little over 1.1 million persons
                                                         through domestic migration. Of these, 254, 181, or
                                                         22.5 percent, were fore ign-born.
                       Table 2
                                                                 In the 2005-2013 series, 2006 had the
               States Ranked by
                                                         largest total net migration , at 169,404, while 2010
              Average Annual Net
                                                         had the sma llest at 81,277. After the 2006 peak, net
           Domestic Migration 2005-2013
                                                         migration declined until 2011. As noted above, th is
      State                   Net Migration              cycle of peak and decline reflects the effects of the
      Tennessee                      24,684              2007-2009 recession. By 2013, net domestic
                                                         migration had risen to 133,749, the fourth highest
      Oregon                         25,422
                                                         number during the 2005-20 13 annual series.
      Washington                     27,763
      Colorado                       33,504                      These data suggest that the native-born and
      South Carolina                 38,189              foreign-born migrants have somewhat different
      Georgia                        48,050              migration patterns. For example, the peak number
      Arizona                        53,863              of native-born migrants occurred in 2006 while the
                                                         peak number of foreign-born migrants happened in
      North Carolina                 67,501
                                                         2007. The smallest net migration for the native-born
      Florida                        69,801              happened in 2010 at 21 ,237. For the foreign-born,
      Texas                         125,778              the smallest net migration was in 2005 at 10,046. As
            Source: U.S. Census Bureau                   for shares of net migration, native-born in-migrants
           ACS 1-Year PUMs, 2005-2013                    range from a high of 91.3 percent in 2005 to a low of


                                                                                              App.376
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            Table 3: Number and Percent of Net Domestic Migrants to Texas by Nativity, 2005-2013

                    Native-Born Migrants          Foreign-Born Migrants                  Total Migrants

      Year        Number       Percent            Number   Percent                Number             Percent
      2005         105,041         91.3%            10,046     8.7%                 115,087             100.0%
      2006         146,422         86.4%            22,982    13.6%                 169,404             100.0%
      2007         103,034         70.7%            42,638    29.3%                 145,672             100.0%
      2008         103,372         77.3%            30,388    22.7%                 133,760             100.0%
      2009          89,647         72.2%            34,524    27.8%                 124,171             100.0%
      2010          59,950         73.8%            21,327    26.2%                  81,277             100.0%
      2011          92,693         78.2%            25,831    21.8%                 118,524             100.0%
      2012          75,295         68.2%            35,060    31.8%                 110,355             100.0%
      2013         102,364         76.5%            31,385    23.5%                 133,749             100.0%
    All Years       877,818          77.5%          254,181       22.5%             1,131,999             100.0%

                                     Source: U.S. Census Bureau ACS 1-Year Summary Data, 2005-2013



Figure 4:       Net Domestic Migration to Texas by Nativity, 2005-2013




                  2006        2007         2008        2009        2010           2011          2012           2013
                                              ■ Native-Born    ■ Foreign-Born
                                                               Source: U.S. Census Bureau ACS 1-Year PUMS Data, 2005-2013



                                                                                                       App.377
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68.2 percent in 2012. Conversely for the foreign-                    Origins of Foreign-Born Migrants to Texas
born, their highest share was in 2012 at 31.8 percent
and the lowest was 2005 at 8.7 percent. Also, for the                       Figures 5, 6, and 7 are based on the world
recession years, 2007-2009, the foreign-born share                   area of birth for foreign-born migrants to Texas. In
of net migration was 26.6 percent, higher than its                   Figure 5, we find that, for both international and
overall average share of 22.5 percent. By contrast,                  domestic migration, persons from Latin America and
the native-born share fell to 73.4 percent in this                   Asia2 predominate foreign-born migration to Texas
period, below its overall 77.5 percent average share.                (for more details on the origins of international
                                                                     migrants to Texas, please see White et al 2015).
        We have demonstrated that the stock of
foreign-born persons in Texas has had strong growth                          Between 2005 and 2013, 2005 was a peak
in recent years. We have also shown that migration -                 year for the international migration of Latin-American
both international and domestic – is the source of this              born persons to Texas. During 2005, over 70 percent
growth. In the next section we will describe the                     of the Latin-American origin migrants were
origins of these foreign-born migrants to Texas.                     international migrants. By 2013, less than 60 percent


Figure 5:           Comparison of 2005 and 2013 Foreign-Born Migrants to Texas by World Area of Birth and
                    Migration Type



                            65.0%         35.0%
            All Others
                            22,400        12,040




('(')
.-t                                     62 .4%                          37.6%
0                 Asia
N                                       53,358                          32,184




                                         59 8%                              40.2%
         Latin America
                                         55,572                             37,295




                          61.7%      38.3%
            All Others
                          16,410     10,191




 L.I')
0                           56.0%             44.0%
0                 Asia
N                           23,446            18,390




                                                       70.8%                                        29.2%
         Latin America
                                                       86,465                                       35,627




                                                   ■ International    ■ Domestic




                                                                      Source: U.S. Census Bureau ACS 1-Year PUMS Data, 2005 and 2013



                                                                7                                                 App.378
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Figure 6:      Foreign-Born Migrants to Texas by Region of Origin, 2005-2013

  2013                  . 92,867                                                 85,542


  2012                    'ftjf'~i,$
                              -                                -
                                                                                  71,652


  2011

  2010                  89,831'                                         58,630


  2009                    101,454                                            56,987
                             .                                      .
  2008                      }_09,5.61·                         _                  55,317

                              -                                -
  2007                             ' 123,9-95 i                             _             51,081


  2006                       .          137   ;ii19'
                                        - ._., . -.·           -                                   50,445


  2005                             122,9~2_                                           41,836

                                                       ■ Latin America          ■ Asia
                                                                                  Source: U.S. Census Bureau ACS 1-Year PUMS Data, 2005-2013


of Latin-American born persons moving to Texas                            in the Asian-born population. The peak year for Asian
were international migrants, resulting in nearly                          migration to Texas was 2013 and 62.4 percent of
31,000 fewer international Latin-American origin                          Asian-origin migrants to Texas moved from abroad
migrants to Texas.                                                        while 37.6 percent moved from other states.
    BETWEEN 2005 AND 2013, DECLINES IN LATIN                                      Figure 6 shows a time-series for foreign-born
    AMERICAN ORIGIN MIGRATION TO TEXAS WERE
    LARGELY OFFSET BY INCREASES IN ASIAN
                                                                          migration to Texas. In this figure, international and
    ORIGIN MIGRATION.                                                     domestic migration are combined, and we see a
                                                                          trend where migration to Texas from Latin-American
       In 2005, 56.0 percent of Asian-born persons                        origin persons is declining while that for Asian origin
moving to Texas were international migrants while                         persons is increasing. Between 2005 and 2013, Latin
44.0 percent came from other U.S. states. By 20 13,                       American migration declined by almost 25 percent
Texas was experiencing an unprecedented growth                            while migration for Asian origin persons doubled.

Figure 7:      Numerical Difference in the Size of the 2005 and 2013 Foreign-Born Migrant Streams to Texas
               by World Area of Birth and Migration Type



                                                                                                                           All Others



                                                                                                                           Asia
                                                                                                            29,912


                                                                                                                           Latin America
   (30,893 )


                                                       ■ Domestic       ■ International
                                                                            Source: U.S. Census Bureau ACS 1-Year PUMS Data, 2005 and 2013


                                                                                                                          App.379
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        The shift from Latin-American born to Asian         together, the 10 states in this figure contributed to
born migration to Texas is further illustrated in           more than half of the total domestic migration to
Figure 7. This figure shows differences in the 2005         Texas in 2013.
and 2013 migration streams for international and                IN 2013, ONE OF EVERY FIVE FOREIGN-BORN
domestic migration to Texas. We find that the                   DOMESTIC MIGRANTS MOVED TO TEXAS FROM
international migration of Latin-American origin                CALIFORNIA.
persons declined by more than 30,000 while that for
Asian origin persons increased by almost 30,000.                   Figure 8 shows that California, the nation’s
With domestic migration, the Latin-American origin          most populous state, is the primary source of
migrants increased by less than 2,000 while Asian           domestic migration to Texas. In 2013, California
origin migration increased by more than 13,000.             sent a total of 62,386 migrants to Texas. This was
Thus, between 2005 and 2013, the declining Latin            almost twice as many as the 33,321 from Florida,
American origin migration to Texas was largely              the second largest sender.
offset by increases in Asian origin migration.
                                                                   California also dominates as the primary
       The primary states of origin for domestic            sender of foreign-born domestic migrants to Texas.
migration to Texas are examined in Figure 8. Taken          In 2013, 16,412 foreign-born persons migrated from

Figure 8: Nativity of Domestic Migrants to Texas from the Top Ten Origin States, 2013



    Georgia
                                              17,097

   Colorado
                                              16,843

     Arizona
                                               17,188

   New York
                                               17,269

 New Mexico
                                                  18,995

   Louisiana
                                                                    26,334

  Oklahoma


      Illinois
                                                                    26,272

     Florida
                                                                      27,057

   California
                                                                                                                  45,974


                                        ■ Foreign-Born      ■ Native-Born



                                                                 Source: U.S. Census Bureau ACS 1-Year PUMS Data, 2013




                                                        9                                               App.380
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California to Texas. This represented 26.3 percent of                            primary source for foreign-born domestic migrants
the 62,386 total migrants from California. The 16,412                            to Texas. The next section describes the
foreign-born migrants from California comprise 20                                destinations of these migrants within Texas.
percent of the 82,174 total 2013 domestic foreign-
born migrants from all states to Texas. That is, one of                          Destinations of Foreign-Born Migrants to
every five foreign-born domestic migrants to Texas in                            Texas
2013 originated from California.
                                                                                        Figure 8 indicated that most of the state’s
       We have seen that Texas’s foreign-born                                    domestic in-migrants originate in large population
migrants are predominantly of Asian and Latin                                    states such as California and geographically
American origin. We also found that California is a                              proximate states such as Oklahoma. Figures 9-11

Figure 9:              Top Ten Receiving Counties in Texas for Foreign-Born International Migrants, 2013

       32,608




                        15,379


                                       10,618
                                                    7,644
                                                                  6,451              6,423                5,779                 5,618
                                                                                                                                                  4,787         4,235




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                                                                                                Source: U.S. Census Bureau ACS 1-Year Summary Data, 2013


Figure 10:             Top Ten Receiving Counties in Texas for Foreign-Born Domestic Migrants, 2013

    22,035




                       11,830



                                      6,206
                                                   4,779         4,504               4,483




                                                                                                                        ---
                                                                                                         3,157                 2,634              2,331            1,925



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                                                                                                Source: U.S. Census Bureau ACS 1-Year Summary Data, 2013


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show there also is a degree of selectivity in where          differences in the types of migrants to the destination
these in-migrants locate within Texas.                       counties. For Harris, Dallas, and Travis counties,
                                                             there is roughly a 60-40 split between international
   IN 2013, THE MAJORITY OF FOREIGN-BORN                     and domestic foreign-born migrants. In Tarrant
   MIGRANTS TO TEXAS SETTLED IN THE STATE’S                  County, the split is close to 50-50. For Bexar County,
   FOUR MOST POPULOUS COUNTIES.                              the foreign-born migrant stream is about 70 percent
                                                             international versus 30 percent domestic.
        Figures 9 and 10 respectively show the top
destination counties for foreign-born international                 We have shown that foreign-born migrants to
and domestic in-migrants to Texas. Not surprisingly,         Texas tend to settle in the state’s largest
these migrants tend to settle in the state’s more            metropolitan areas. Next we examine how current
populous counties. However, these migrants also              trends in foreign-born migration are shaping
tend to be highly concentrated. For example, four            population growth in Texas.
counties, Harris, Dallas, Bexar, and Tarrant,
received 52.4 percent of the state’s foreign-born            Current Trends in Texas Nativity
migrants in 2013. For comparison, these four
counties contained only 39.8 percent of the state’s                  The foreign-born population of Texas is
total population.                                            growing because of international and domestic
                                                             migration. Table 4 indicates that between 2010 and
       Figure 11 shows the five counties that                2013, Texas received an average of 182,593
received 60 percent of the foreign-born migration to         international migrants per year (the left panel in
Texas in 2013. This figure indicates there are some          Table 4). This made Texas second only to California


Figure 11: Number and Percentage of Foreign-Born In-migrants by Migration Type to the Top Five Receiving
           Counties in Texas, 2013


         54,643




                              27,209




                                                       15,10 1
                                                                                  12,657                    12,423




         Harris               Dallas               Bexar                         Tarrant                    Travis

                                        ■ INTERNATIONAL          ■ DOMESTIC



                                                                 Source: U.S. Census Bureau ACS 1-Year Summary Data, 2013



                                                        11                                                 App.382
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       Table 4: Comparison of International Migration and Foreign-Born Population Growth 2010-20 13

        Average Annual International Migration                 Numerical Change Foreign-Born
      State                             Migration         State                             Foreign-Born
      Illinois                             67,106         New Jersey                               81 ,192
      New York                           151,412          New York                                 85,699
      Florida                            164,710          Florida                                 140,019
      Texas                              182,593          California                              160,771
      California                         268,868          Texas                                  227,240
                                Source: U.S. Census Bureau ACS 1-Year Summary Data, 2010-2013

which received an annual average of 268,868                     Thus , while California consistently receives
international in-migrants during the 2010-2013 time     the largest number of international migrants, Texas
period.                                                 leads the nation in the growth of the foreign-born
                                                        population . The explanation for this apparent
    WHILE CALIFORNIA CONSISTENTLY RECEIVES              paradox is the domestic migration of the foreign-
    THE LARGEST NUMBER OF INTER NA TJONAL
    MIGRANTS, TEXAS LEADS THE NATION IN THE             born population to Texas.
    GROwrH OF THE FOREIGN-BORN POPULATION.
                                                                Earlier, we saw that Ca liforn ia is a major
        Even though California is the leading           source of foreign-born domestic migrants to Texas.
destination for international migrants, recent data     In 2013, around one-in-five foreign-born domestic
indicate that Texas leads the nation in the growth of   migrants to Texas moved from California. The data
the foreign-born population. Between 201 0 and          suggest that California is not on ly a gateway for
20 13, Texas added 227,240 foreign-born persons         international migrants but also a 'staging area' for
(the right panel in Table 4). California was second     their subsequent relocation. It appears that many of
to Texas, adding 160,771 foreign-born persons           the international migrants who initia lly settle in
during the same time period.                            California subsequently relocate in Texas as
                                                        domestic migrants.

Figure 12: Net Population Gain from Domestic and International Migration to Texas by Migrant Nativity, 2013 3

                    Net Gain=159,774                                      Net Gain =162,715




                      Native-Born                                           Foreign-Born

                            ■ Net Domestic Migration     ■ International Migration


                                                               Source: U. S. Census Bureau ACS 1-Year PUMS Data, 201 3


                                                                                                     App.383
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       When net migration is examined in Figure              Asian origin persons to the state doubled. With this
12, the importance of foreign-born migration to the          shift in the traditional migration patterns of the
recent growth of the Texas population is                     foreign-born, Texas now has an unprecedented
immediately apparent. Using net migration, Figure            number of Asian origin residents.
12 shows that slightly more than half of Texas’ 2013
growth from migration can be attributed to foreign-                  The data show selectivity in both the origins
born persons moving to Texas.                                and destinations of foreign-born migrants to Texas.
                                                             For example, in 2013, one of every five foreign-born
       For contemporary Texas, about half of its             domestic migrants to Texas originated in California.
population growth is from natural increase (i.e., the        As for destinations, in 2013, the majority of the
excess of births over deaths) while the other half is        state’s foreign-born in-migrants (52.4 percent)
from net migration. Figure 12 shows about half of            settled in just four counties: Bexar, Dallas, Harris,
this net migration was by the foreign-born.                  and Tarrant.
Consequently, this means that about one of every
four new Texans in 2013 was born abroad.                             Whether these recent patterns will sustain
                                                             into the future is impossible to know. But, should
        The migration of foreign-born persons to             there be continued growth in the state’s foreign-born
Texas is not only adding to the size of the state’s          population, Texas can expect an increasingly
population but also leading to greater diversity in          diverse and more international population in its
the state’s population composition. Recent migrants          future. The continuing growth of the foreign-born
to Texas represent an increasing variety of                  population could lead to a future Texas that is
countries,     yielding     greater     racial/ethnic        different in several important ways:
heterogeneity in the state’s population (White et al
2015).                                                          First, a continuing shift toward more Asian origin
                                                                 migrants which would make the state’s
                                                                 population more racially and culturally diverse.
Summary and Conclusions
                                                                Second, while the state as a whole will become
        In recent decades, the international and                 more international, the foreign-born will not be
domestic migration of foreign-born persons have                  distributed evenly across Texas’ geography.
made Texas more international than at any time                   Because of geographic selectivity, the
since its statehood in 1845. In 2013, about one of               population of cities such as Houston and Dallas
every four new Texans was born abroad. These                     will become more similar to the traditional
foreign-born Texans came to the state from other                 foreign-born gateways of New York, Miami, and
countries as well as other states. International                 Los Angeles.
migration accounts for the majority of these foreign-
born Texans. Nonetheless, between 2005 and                      Lastly, the continued domestic migration of the
2013, Texas added a little over 1.1 million persons              foreign-born to the state would mean that even
through net domestic migration and 254,181, or                   in the absence of international migration to
22.5 percent, of these domestic migrants were                    Texas the state’s foreign-born population would
foreign-born.                                                    continue to grow.
        For both international and domestic                          This report has examined the sources of
migration, persons from Latin America and Asia               growth for the foreign-born population in Texas. The
dominate the migration of the foreign-born to Texas.         focus has been on domestic and international
Historically, people of Latin-American origin have           migration because these are the only processes by
comprised the vast majority of Texas’ foreign-born           which the foreign-born population of the state can
population. Recently, however, this trend has                grow. By definition, these migrants either lived
moderated as the migration of Latin-American origin          abroad or in another U.S. state one year ago. As
persons to Texas has declined while that for Asian           such, the report described only the newly arrived
origin persons has increased. Between 2005 and               foreign-born Texans. The majority of the state’s
2013, Latin-American origin migration to Texas               foreign-born residents have been in Texas for more
declined by almost 25 percent while the migration of         than a year. Future reports will examine the entire


                                                        13                                        App.384
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foreign-born population of Texas. Topics to be                  Latin America: Anguilla, Antigua & Barbuda,
covered include:                                                 Argentina, Aruba, Bahamas, Barbados, Belize,
                                                                 Bolivia, Bonaire, Brazil, British Virgin Islands,
   Education and Labor Force Characteristics;                   Cayman Islands, Chile, Colombia, Costa Rica,
   Income      Levels,  Poverty,     and     Income             Cuba, Curacao, Dominica, Dominican Republic,
    Distribution;                                                Ecuador, El Salvador, Falkland Islands, French
   Family, Household, and Fertility Patterns;                   Guiana, Grenada, Guadeloupe, Guatemala,
   Age, Sex, and Race/Ethnicity;                                Guyana, Haiti, Honduras, Jamaica, Martinique,
   Housing and Suburbanization Patterns; and,                   Mexico, Montserrat, Netherlands Antilles,
   Language Acquisition and Citizenship Patterns.               Nicaragua, Panama, Paraguay, Peru, Saba, Sint
                                                                 Eustatius, Sint Maarten, St. Barthelemy, St. Kitts
                                                                 -Nevis, St. Lucia, St. Vincent & the Grenadines,
Notes                                                            Suriname, Trinidad & Tobago, Turks & Caicos
                                                                 Islands, Uruguay, Venezuela, and West Indies
1
    Please be aware that the U.S. Census Bureau              3
                                                                Please note that international migrants are
has several programs that estimate migration.
                                                             persons who were living abroad one year ago. The
These include the American Community Survey
                                                             Census Bureau includes the following as native-
(ACS), the Current Population Survey (CPS),
                                                             born migrants who were living abroad one year ago:
Population Estimate (Components of Population
                                                             persons from Puerto Rico, the U.S. Virgin Islands,
Change), and the Survey of Income and Program
                                                             Guam, and other outlying parts of the United States
Participation. Each of these estimation programs
                                                             who are U.S. citizens at birth; overseas military
uses specific data sources, time frames, and
                                                             personnel and their dependents who are returning to
sampling techniques. For example migration
                                                             the U.S.; and, any other U.S. citizens who return
estimates in the ACS are based on the respondents’
                                                             from abroad (Faber 2000).
answer to where they lived one year ago. By
contrast, migration in the Population Estimates is
based on a wide range of administrative data
including IRS filings, Medicare enrollment, Social           References
Security information, and Defense Manpower data.
Consequently, the estimates of migration by the              Faber, Carol S. 2000. “Geographical Mobility –
different Census programs are not equivalent. As             March 1997 to March 1998.” Current Population
such, data users should not compare estimates                Reports, Series P20-520, U.S. Census Bureau
from one Census source to another without a                  (Available: https://www.census.gov/prod/2000pubs/
thorough     understanding    of   their   differing         p20-520.pdf 09/02/2015).
methodologies.
                                                             Gibson, Campbell and Kay Jung. 2006. “Historical
2
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                                                             (Available: https://www.census.gov/population/www/
   Asia:    Afghanistan,     Armenia,    Azerbaijan,        documentation/twps0081/twps0081.pdf 07/31/2015).
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    (Myanmar), Cambodia, China, Cyprus, East                 Grieco, Elizabeth, Yesensia Acosta, G. Patricia de
    Timor, Georgia, Hong Kong, India, Indonesia,             la Cruz, Christine Gambino, Thomas Gryn, Luke
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    South Korea, Spratly Islands, Sri Lanka, Syria,          07/28/2015)
    Taiwan,      Tajikistan,    Thailand,    Turkey,
    Turkmenistan,       United    Arab     Emirates,
    Uzbekistan, Vietnam, and Yemen.


                                                        14                                         App.385
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                                         The University of Texas at San Antonio™
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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF RYAN D. WALTERS




                                       Gone to Texas



                                     EXHIBIT B-10




                                                                             App.387
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                                    GONE TO TEXAS
The latest state-to-slate migration flows data from the U.S. Census Bureau reveal over half a million people moved to Texas
from other states in 2019, among the highest in-migration flows of all U.S. states, second only to Florida. Texas net migration
(in -migrants minus out-migrants) during this time was over 106,000, with California contributing over 42% to this net
migration . The next two highest sending slates to Texas were Florida and Illinois. During this same period, over 37,000
Texans moved to California, but the greatest net migrant loss from Texas went to Colorado.

                                 Percent of Net Migration Flows to Texas, 2019
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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
THE STATE OF TEXAS and                       §
                                             §
THE STATE OF MISSOURI,                       §
                                             §
       Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                             §
v.                                           §
                                             §
JOSEPH R. BIDEN, JR., in his official        §
capacity as President of the United States   §
of America, et al.,                          §
                                             §
       Defendants.                           §

      APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                              DECLARATION OF MARK MORGAN



                                       EXHIBIT C




                                                                             App.389
                                                                             App.001
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION
THE STATE OF TEXAS AND                               )
THE STATE OF MISSOURI,                               )
                                                     )
                        Plaintifft,                  )
                                                     )
v.                                                   )       Case No. 2:21-cv-00067-Z
                                                     )
JOSEPH R. BIDEN, JR.,                                )
in his official capacity as                          )
President of the United States of                    )
America, et al.,                                     )
                                                     )
                        Defendants.                  )



                            DECLARATION OF MARK MORGAN

       I, Mark Morgan, am over the age of 18 and fully competent in all respects to make this

declaration.

       Pursuant to 28 U.S.C.§ 1746, testify that:

       1.      I make this declaration on the basis of my own personal and professional

knowledge. I have almost 30 years of combine law enforcement experience at the local, county,

and federal levels, as well as, more than ten years of service with the United States Marine Corps.

       2.      Since February 2021, I have been a Senior Fellow for the Federation for American

Immigration Reform, a non-partisan public interest organiz.ation evaluating immigration policies

and seeking solutions to reduce the negative impact of uncontrolled immigration on the Nation's

security, economy, workforce, education, healthcare, and environment.

       3.      From July 5, 2019 to January 20, 2021, I was Acting Commissioner of U.S.

Customs and Border Protection ("CBP"). In this position, I oversaw 60,000 employees at the

largest law enforcement agency and the second-largest revenue-collecting source in the federal




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                                                                                            App.002
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government. I managed a budget of over $13 billion and ensured the effective operations of CBP' s

mission to protect national security while promoting economic prosperity. I directed CBP' s five

core missions of counterterrorism, combatting transnational crime, border security, facilitation of

lawful trade and travel, and revenue enforcement, including $4 trillion in trade and the travel of

over 410 million people through ports of entry.

       4.      From March 28, 2019 to July 5, 2019, I was Acting Director of U.S. Immigration

and Customs Enforcement ("ICE"). During my leadership ofICE, I was responsible for overseeing

an organization of approximately 19,000 employees with a budget of more than $7.5 billion. ICE

is the lead federal agency responsible for enforcing federal laws related to immigration, border

control, customs, and trade. In addition to enforcing our immigration laws, ICE's law enforcement

responsibilities include investigating financial and cybercrimes as well as intellectual property and

commercial fraud; human rights violations; weapons, narcotics, and human smuggling;

transnational gang activity; and enforcing our export laws.

       5.      From January 2017 to January 2018, I served as the Executive Director of the FBI's

National Academy Associates, a non-profit, international organization of more than 16,500 senior

law enforcement professionals dedicated to providing communities and profession with the highest

degree oflaw enforcement expertise, training, and education.

       6.      From October 12, 2016 to January 26, 2017, I was Chief of U.S. Border Patrol, a

component of CBP within the Department of Homeland Security ("DHS"), after having begun to

serve in that position in an acting capacity in July 2016. In this position, I had oversight of nearly

21,000 Border Patrol Agents. The mission of Border Patrol is preventing the illegal trafficking of

people and contraband and is specifically responsible for patrolling nearly 6,000 miles of Mexican

and Canadian international land borders and over 2,000 miles of coastal waters surrounding the




                                                                                              App.391
                                                                                              App.003
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Florida Peninsula, as well as the island of Puerto Rico.

       7.      From August of 1996 to August of 2016, I served as a Special Agent with Federal

Bureau of Investigation. Over the span of 20 years, I served in a variety of positions including

supervisor of an MS-13 Gang Task Force; Assistant Special Agent In-Charge of the New Haven

Division; Deputy On-Scene Commander in Baghdad, Iraq; Special Agent In-Charge of the El Paso

Division; and Assistant Director of the FBI's Training Division, Quantico. I was a member of the

Special Weapons and Tactics Team, certified Firearms Instructor, and Tactical Medic.

       8.      From 1995 to 1996 I served as a Police Officer with the Los Angeles Police

Department where I was assigned to the 7T1' Division as a patrol officer.

       9.      From 1992 to 1995 I attended the University of Missouri-Kansas City, School of

Law. I earned a Juris Doctor degree in 1995 and passed the Missouri Bar. While attending law

school I served as a Reserve Deputy Sheriff in Platte County, Missouri.

       10.     I served in the United States Marine Corps, active duty and reserves, from August

of 1984 until my Honorable Discharge in September of 1996.

The 2018-2019 Border Crisis

       11.     In Fiscal Year ("FY") 2018, CBP experienced a steady increase in total

apprehensions along the Southwest Border ("SWB"). Starting the FY with just under 35,000

apprehensions for the month of October and ending the FY with just over 50,000 apprehensions

in the month of September. The total apprehensions in FY 2018 were approximately 521,000, an

increase of more than 100,000 from FY 2017. The apprehensions were continuing to rise and

already over-burdening agencies involved in the immigration process due to the increase in

families and unaccompanied minor apprehensions.

       12.     As FY 2019 began, apprehensions spiked. At the end of FY 2018, CBP




                                                                                         App.392
                                                                                         App.004
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apprehended over 50,000 aliens in a single month (September). That number increased by 10,000

for the first month of FY 2019 (October) and had more than doubled to over 100,000 only a few

months later (March). The apprehension numbers continued to climb and by May of FY 2019

CBP apprehended more than 144,000 aliens along the SWB - more than double the monthly

highwater mark of the previous 6 years. At the time it was acknowledged by the White House and

the DHS as a full-blown crisis.

       13.     In addition to the skyrocketing number of apprehensions, the major element

exacerbating the crisis was the demographic composition of those being apprehended.

Historically, the majority of migrants illegally entering our SWB were adult single males,

primarily from Mexico. The U.S. immigration system, laws, and agency's capability and capacity

were designed around the single adult male demographic. By contrast, dealing with families and

unaccompanied minors consumes an exhaustive amount time and resources to support the

humanitarian efforts required.

        14.    By the end of FY 2019 CBP's enforcement actions totaled more than 979,000-a

staggering 88% higher than FY 2018 and 72% higher than FY 2014's highwater mark. The U.S.

Border Patrol alone reported more than 850,000 apprehensions - 115% higher than FY 2018.

Family units consisted of more than 473,000, the highest year on record and 342% higher than FY

2018. Unaccompanied minors consisted of more than 76,000, 26% higher than FY 2018.

        15.    These are numbers no immigration system in the world is designed to handle -

including the U.S. Arrivals of families at our SWB in FY 2019 more than tripled any previous FY

on record. CBP's facilities are not designed for long-term hold for families and unaccompanied

minors. The dual front crisis, both volume and demographics, quickly strained CBP resources

along the SWB and forced the diversion of many of our essential front-line personnel securing our




                                                                                         App.393
                                                                                         App.005
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border to address the humanitarian crisis - negatively impacting CBP's ability to carry-out its

national security mission. In some sectors along the SWB, 40% of front-line personnel were pulled

to provide humanitarian assistance.

The Migrant Protection Protocols

        16.    As CBP was navigating the crisis, including the unprecedented volume of families

and unaccompanied minors, the Trump Administration was developing strategies and introducing

policies and initiatives in an effort to restore the rule of Jaw; remove the incentives driving illegal

immigration; and close the loopholes undermining the integrity of our immigration system.

Although FY 2019 began with skyrocketing apprehensions and ended with record setting number

of families and unaccompanied minors, had there not been intervention with a network of tools,

polices, and initiatives, the crisis would have been catastrophic. Increased interior enforcement;
                                                   I

Asylum Cooperative Agreement ("ACA") with Guatemala; and Mexico's support of the Migrant

Protection Protocols ("MPP") laid the foundation to dramatically reduce the flow of illegal

immigration - especially by families and unaccompanied minors.

        17.     In FY 2019, DHS announced the MPP as part of its network of polices to assist

with addressing the crisis at the border. The MPP declared migrants who illegally enter our borders

or otherwise were deemed inadmissible, may be removed to Mexico while the illegal alien

continues to participate in immigration proceedings conducted in the U.S. Illegal aliens enrolled

in MPP and removed to Mexico are not barred from claiming asylum or fully participating in the

U.S. immigration proceedings but rather are required to do so while remaining in Mexico.

        18.     There was extensive coordination and planning between the U.S. and the

Governrnent of Mexico concerning the effective implementation ofMPP. I personally oversaw

CBP's "phased-in" implementation strategy area by area along the SWB over several months




                                                                                                App.394
                                                                                                App.006
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during FY 2019, to ensure a smooth and safe approach. We constantly coordinated with partners

in the Mexican Government-both with my counterparts at the agency-head level, as well as, field

leadership at the ground level. By the beginning of FY 2020 MPP had been initiated along the

entire SWB.

        19.   Pursuant to the Flores Settlement Agreement ("FSA") court order, unaccompanied

minors arriving at the border who have been determined not to have been trafficked and are from

non-contiguous countries, can only be detained by U.S. authorities 20 days before being released

into the United States. This 20-day detention rule was later reinterpreted to apply to families as

well.

        20.    Historically, especially when the inunigration system is inundated with the volume

experienced in FY 2019, inunigration proceedings generally cannot be completed within 20 days.

Thus, the FSA resulted in the mandatory release of any family and unaccompanied minor who

illegally crosses our borders. The inability to detain a migrant while immigration proceedings

progress is what directly resulted in the process commonly referred to as "catch and release".

Meaning illegally alien families and unaccompanied minors could no longer be detained while

awaiting their proceedings due to the 20-day restriction order, but rather were mandated to be

released into the U.S. Whereas single adults could still be detained.

        21.    By FY 2019, the human smuggling organizations were using this judicially created

loophole in our immigration system as an incentive to convince families to illegally enter the U.S.

That's exactly what CBP experienced. In FY 2019, Border Patrol apprehended the highest number

of illegal alien families on record. The human smugglers were so successful because they, along

with the migrants, understood if they came to our borders with a minor child, they would be

released into the interior of the U.S. in just a few days. The result of the FSA, regardless of its




                                                                                            App.395
                                                                                            App.007
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                                                                                                  of
noble premise, had the opposite impact. It resulted in the ruthless and dangerous exploitation
                                                                                              non-
minors. Children were being used as human passports. They were being sold or rented to
                                                                                           or
family members, being forced to make the dangerous overland journey, with some being flown

driven back to their home country to repeat the journey all over again.

        22.     Additionally, not only did the FSA create an unmitigated loophole to be exploited,
                                                                                             If the
it enhanced the human smuggler's ability to take advantage of those seeking a better life.
                                                                                                 d
cartels smuggle 300,000 migrants per year at an average "fee" of $5,000 per person, it's estimate
                                                                                       in
the cartels can make more than $1.5 billion. And the migrants are often abused, locked
                                                                                              the
overcrowded, unsanitary stash house or tractor trailers during their journey. Fear is part of
                                                                                                 even
smuggler's business model, often subjecting the migrants to extortion, sexual assault, and
                                                                                                 es
forced labor to pay off their debts. The smugglers often use the families as distraction techniqu
                                                                                             and
to pull Border Patrol agents off the line allowing the smugglers to bring in dangerous drugs

 criminal illegal aliens across the border.

         23.     DHS implemented MPP, as part of the network of policies and tools, to manage
                                                                                                 only
 this crisis at the border. By allowing CBP to directly remove illegal aliens to Mexico it not
                                                                                                  and
 ended "catch and release," but it simultaneously sent a powerful message to the smugglers
                                                                                              to the
 immigrants themselves that we had closed a significant loophole. Bringing a child with you
                                                                                     stop
 border was no longer your passport into the U.S. Not only did the MPP enable DHS to

 releasing illegal aliens into the U.S. but just as important, it acted to deter aliens from paying

 smugglers, risking their lives, and attempting to illegally cross the southern border. This policy
                                                                                           with
 created a powerful disincentive for aliens to arrive at the southern border to seek entry

 meritless claims of asylum.

         24.     The MPP played a critical role in addressing the border crisis. By removing




                                                                                             App.396
                                                                                             App.008
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migrants to Mexico to await their asylum proceedings, MPP reduced the ability of illegal aliens to

remain in the U.S. in defiance of their court ordered removals; deterred aliens from attempting

illegal entry or making meritless asylum claims in the hope of staying inside the United States;

and shut down the driving force behind the FY 2019 illegal migration crisis by closing the FSA

generated loophole. An additional benefit to MPP is it's allowed the government to better focus

its resources on individuals who have legitimate asylum claims. To illustrate MPP's effectiveness,

the underlying demographic driving the crisis-families from Central America was significantly

mitigated by February of FY 2020 when CBP saw a decline of families from the previous year of

66%. And families decreased from the height of May FY 2019 by 92%. In FY 2019, because of

the FSA and other loopholes, CBP alone had released more than 230,000 illegal aliens and

inadmissible migrants into the U.S. In FY 2020, in large part directly related to MPP, CBP released

fewer than 1,000.

The Biden Presidential Transition

        25.     I have served in a variety of federal law enforcement positions during my 25 years

of federal service, including more than a decade in the Senior Executive Service ranks, and as such

 I am familiar with the Presidential Transition processes.

        26.     The process to transition-in a new administration is an extremely formal and a time-

 tested process. The incoming administration selects its own transition members and drives not

 only the briefing schedule but the areas of focus for the briefings. The transition teams often ask

 for specific briefers by name - as did the Biden transition team. Each Cabinet-level Department

 selects a senior executive to act the Department's "lead" coordinator.     Each agency within its

 respective Department also selects a lead "coordinator." The incoming transition team coordinates

 directly with Department coordinators, as well as agency coordinators after consultation with the




                                                                                            App.397
                                                                                            App.009
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department coordinator, to set all briefings - including dates, times, and topics. Included in most

transition briefings there will be an "Agency 101" covering the general mission, statistics, and

accomplishments, as well as a series of more detailed topics addressing areas of critical

importance.

        27.     The transition process following the 2020 election was consistent with previous

transitions that I participated in.

        28.     For the transition following the 2020 election, Deputy Director of the U.S.

Citizenship and immigration Services ("USCIS") Mark Koumans, a career official, led the DHS

transition team and each agency within DHS appointed a transition official to assist the Biden

transition team.

        29.      Assistant Commissioner, Chief Acquisition Officer ("CAO") of CBP Mark

 Borkowski, a career official, was the lead coordinator for the CBP transition. As such CAO

 Borkowski provided regular updates to the CBP executive team, including myself, regarding all

 aspects on the transition. He provided detailed briefing materials which outlined the transition

 progress, issues and concerns, topics, and over all timetable of briefings. CAO Borkowski

 coordinated with the senior leadership of each of the six program offices within CBP to ensure

 timely and effective materials were provided in advance and addressed the transition teams

 inquires.

         30.       As Acting Commissioner ofCBP, it was my duty to ensure that CBP was providing

 any and all materials requested by the transition team members; that CBP provided timely and

 complete responses; and that CBP made the transition team aware of issues and concerns requiring

 their awareness and attention. I not only received regular status updates from CAO Borkowski

 regarding the transition process but also from senior executives who participated in the briefings.




                                                                                            App.398
                                                                                            App.010
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        31.      Based on the "back briefs" I receive!!, I was confident the Biden Transition Team

members were fully and completely briefed on a series of critical issues facing CBP' s five mission

priorities, especially border security and the progress we made addressing the illegal immigration

crisis we faced in FY 2019. I recall one such back-brief detailing the transition team briefing

concerning implementation of MPP, its effectiveness, and the consequences if the policy were

suspended. One of the reasons I recall the back brief was the significance ofMPP. CPB career

employees informed me that they had fully briefed the Biden transition officials on the importance

ofMPP and the consequences that would follow a suspension ofMPP.

        32.     During the transition, DHS provided approximately 200 hundred briefings to the

Biden transition team, most of them concerning border security and immigration related topics,

 including the effectiveness of the MPP program and the border crisis that would occur if it were

to be suspended.

        33.     The Biden transition personnel were specifically warned that the suspension of the

 MPP, along with other polices, would lead to a resurgence of illegal aliens attempting to illegally

 enter our SWB. They were warned the smuggling organizations would exploit the rescission and

 convince migrants the U.S. borders are open. They were warned the increased volume was

 predictable and would overwhelm Border Patrol's capacity and facilities, as well as HHS facilities.

 The Biden Administration's Suspension of the MPP Program

        34.     I have reviewed the memorandum issued by then-Acting Secretary of DHS titled

 "Suspension of Enrollment in the Migrant Protection Protocols Program" dated January 20, 2021

 (the "Pekoske Memorandum"). The body of that memorandum consists entirely of the follo\'iing:

 "Effective January 21, 2021, the Department will suspend new enrollments in the Migrant

 Protection Protocols (MPP), pending further review of the program. Aliens who are not already




                                                                                            App.399
                                                                                            App.011
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emolled in MPP should be processed under other existing legal authorities."

       35.     The Pekoske Memorandum does not reflect any understanding regarding the

consequence of rescinding MPP to the CBP briefers, nor does it heed the warning of border

security experts who predicted the very crisis we are now experiencing at our SWB as a result of

the suspension ofMPP.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed on this 12th day of May 2021.




                                                                                           App.400
                                                                                           App.012
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

                                              §
 THE STATE OF TEXAS and                       §
                                              §
 THE STATE OF MISSOURI,                       §
                                              §
        Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                              §
 v.                                           §
                                              §
 JOSEPH R. BIDEN, JR., in his official        §
 capacity as President of the United States   §
 of America, et al.,                          §
                                              §
        Defendants.                           §

       APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                              DECLARATION OF ALISON PHILLIPS



                                        EXHIBIT D




                                                                             App.401
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

THE STATE OF TEXAS; and                     )
                                            )
THE STATE OF MISSOURI,                      )
                                            )
                      Plaintiffs,           )
                                            )
v.                                          )    Case No. 2:21-CV-00067-Z
                                            )
JOSEPH R. BIDEN, JR.,                       )
in his official capacity as                 )
President of the United States of           )
America;                                    )
                                            )
ALEJANDRO MAYORKAS,                         )
in his official capacity as                 )
Secretary of the United States              )
Department of Homeland Security;            )
                                            )
UNITED STATES DEPARTMENT OF                 )
HOMELAND SECURITY;                          )
                                            )
TROY MILLER,                                )
in his official capacity as                 )
Acting Commissioner of the                  )
United States Customs and Border            )
Protection;                                 )
                                            )
UNITED STATES CUSTOMS AND BORDER            )
PROTECTION;                                 )
                                            )
TAE JOHNSON,                                )
in his official capacity as                 )
Acting Director of the                      )
United States Immigration and               )
Customs Enforcement;                        )
                                            )
UNITED STATES IMMIGRATION AND               )
CUSTOMS ENFORCEMENT;                        )
                                            )
TRACY RENAUD,                               )
in her official capacity as                 )
Acting Director of the United States        )




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Citizenship and Immigration Services; and             )
                                                      )
UNITED STATES CITIZENSHIP AND                         )
IMMIGRATION SERVICES,                                 )
                                                      )
                       Defendants.                    )

                           DECLARATION OF ALISON PHILLIPS
Background
1.       My name is Alison Phillips and I am the Director for the Anti-Human Trafficking Task
Force (HTTF) for the Missouri Attorney General's Office. My job entails facilitating and
implementing a multi-disciplinary, comprehensive approach to addressing human trafficking in
the state of Missouri. Toward that end, I work with federal, state, county and local law
enforcement, as well as regulatory, and social service agencies. I train hundreds of professionals
every year about how to identify and respond to human trafficking and have extensive public
speaking experience, including my own Tedx Talk. Under my leadership, our HTTF launched a
first of its kind in the nation, strategy to address human trafficking in illicit massage businesses;
named The Hope Initiative. This initiative is achieving unprecedented success in closing IMB’s
within our state. It has been featured in multiple national forums and to date, nine other states are
looking to replicate the Hope Initiative.
2.      Prior to my employment with the Attorney General's Office, I worked as an Adjunct
Professor at the University of Missouri, Kansas City and Mid-America Nazarene University
teaching courses on human trafficking to undergraduate criminal justice majors. I have worked
as a consultant to churches and other community groups, helping them to plan effective and
strategic efforts to combat human trafficking. In 2017, I obtained a Master’s Degree in Criminal
Justice and Criminology from the University of Missouri, Kansas City. I have almost a decade
of experience in the anti-trafficking field.
3.      As part of my work, I have interviewed, worked with, advocated for and mentored
dozens of survivors of human trafficking. Many of them have shared with me personal details
about the inhumane and horrific things that they have experienced; things that I will never forget.
These stories and the resilience of those that have survived and carry on to build a new life for
themselves motivate and inspire me to continue to fight.
4.      Part of my background in human trafficking work also originates from my experiences as
a foster parent. Additionally, I am the proud mother of a daughter that my husband and I adopted
internationally at the age four. Our adoption is the result of an intensive, three year process that
we underwent before we could bring our daughter home. This was followed by another year
before we were permitted to legally finalize her adoption. When we traveled to our daughter’s
birth country of India to bring her home, we were allowed to do so because an Indian court had
granted us legal guardianship and we had obtained a Visa so that she could enter the United
States. In order to finalize the adoption and for our daughter to become a U.S. citizen, we first
submitted to a year’s worth of social work visits and progress reports which were forwarded to



                                                                                            App.403
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India for their review and approval. We understood that all of this was to ensure that children
brought into the U.S. for the purpose of adoption are protected from abuse and exploitation.
Human Trafficking on a Global Level
5.       Recent estimates state that human trafficking is a $150 billion dollar annual industry in
which 40 million people around the world are currently victimized (International Labor
Organization, 2014). Victims are trafficked for the purpose of forced labor, commercial sexual
exploitation, using children as soldiers, begging, surrogacy, adoption and even organ harvesting.
In financial terms, human trafficking is the second largest criminal enterprise on earth, following
the illegal trade in drugs. Traffickers all around the world are increasingly recognizing the
lucrative nature of human trafficking as it is relatively low risk when compared to the trade in
illegal drugs, which requires extensive time and investment to manufacture, and high risk to
transport and sell. Victims of human trafficking, on the other hand, can be easily obtained for
little or no investment and can be sold repeatedly.
6.      On a global scale, human trafficking victims are recruited and sold domestically within
their own native country, but they are also moved via trans-regional flows that are influenced by
“push and pull” factors. In so-called “origin countries,” government corruption, war, persecution,
natural disasters, poverty, and organized crime create environments that in effect push victims
out of their native country. Traffickers use financial rewards, opportunities to make money and
the provision of basic needs to lure potential victims. Individuals from backgrounds of poverty
and desperation are especially vulnerable to these offers. Traffickers capitalize on these
circumstances of desperation and further exploit their victims’ vulnerabilities by creating
situations of debt bondage and dependency. The affluence of “destination countries,” and the
presence of demand for commercial sex and forced labor present a powerful economic pull that
influence the flow of victims from one country to another.




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I Main destinations of transreg ional f lows and their significant origins. 20 12-2014



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7.       Policy makers in destination countries who are interested in protecting vulnerable people
groups from exploitation within their country, should understand trans-regional flow and global
patterns of human trafficking. Yury Fedotov, former Executive Director of the United Nations
Office of Drugs and Crime, was quoted in the 2020 Annual Trafficking in Persons Report (TIPS)
as saying, “[Human Trafficking] thrives in situations where the rule of law is weak and people
lack opportunities. Humanitarian crises and conflicts create an environment in which traffickers
easily prey upon the vulnerable.” (Trafficking In Persons Report, 2020 p. 23) Destination
countries with weak border security and lax immigration policies in effect create an open door
for traffickers to enter and do business. It creates more opportunity for them to make money and
in turn motivates traffickers to recruit more victims from origin countries. Put simply, traffickers
would not invest the time and resources to groom, recruit and transport large numbers of
potential victims to the U.S. border if they had reason to believe a crossing would not be
possible. There’s no money in that.


Human Trafficking in the United States
8.      According to years of data collected by Polaris Project, the nation’s largest anti-human
trafficking non-governmental organization and the operator of the National Human Trafficking
Hotline, the majority of human trafficking victims in the United States are U.S. citizens. The
affluence of the U.S., however, also makes it a destination country for victims from other
countries. International criminal organizations look for weaknesses in U.S. borders and



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immigration policy in order to bring their victims into the country. Russian mafia, Asian
organized crime, and Mexican cartels smuggle people into the United States for the purpose of
human trafficking. Much of this occurs across the U.S.-Mexico border.
9.      The most common origin countries for human-trafficking victims documented in 2020
were from Mexico followed by Honduras and Guatemala (US Department of State (2020)
Trafficking in Persons Report. pgs. 515-523. Retrieved from:https://www.state.gov/wp-
content/uploads/2020/06/2020-TIP-Report-Complete-062420-FINAL.pdf). In the years 2015-
2018, 2,552 victims of human trafficking were identified by Polaris Project that related to cross
US-Mexico border human trafficking activities. Of those victims, 1,535 originated from Mexico,
151 from the USA, 82 from Honduras, 76 from Guatemala, 33 from India, and 33 from El
Salvador. In the same years, Polaris identified 1,782 traffickers committing cross US-Mexico
border human trafficking. 380 of those traffickers originated from Mexico, 132 from the USA,
29 from Honduras, 20 from Guatemala, and 13 from India.
10.    Not all victims entering the U.S. via the southern border are Hispanic. Victims from
Eastern Europe have also been smuggled into the United States via the U.S.-Mexico border by
Russian mafia and other Eastern European criminal organizations. Their tactic is to disguise their
victims as American students by purchasing a nice car and western clothing for their Caucasian
victims as a means to ensure passage across the border. Asian organized crime also has a history
of using the southern border as a means to bring in women they intend to traffic through illicit
massage businesses.
11.     It is important to understand that human trafficking and human smuggling, while
interconnected, are two different things. Smuggling is a crime against a nation and is something
that an individual can consent to. Human trafficking, however, is a crime against an individual.
As defined by law, a person cannot consent to being trafficked. Smuggling can make an
individual vulnerable to traffickers in a number of ways. For example, many smuggling
operations are conducted for the purpose of creating debt bondage situations or circumstances in
which children are separated from their families. Many traffickers employ smugglers to transport
the victims recruited in origin countries.
12.      To be clear, the United States is a desirable location for human traffickers to be doing
business. There is money to be made here. International organized crime groups seek to exploit
loopholes in our visa system, policies about asylum, and find areas of our borders that can be
physically crossed with relative ease. For example, many of the workers in the estimated 9,000
illicit massage businesses across the United States entered the U.S. in one of two ways: they
were smuggled across the U.S.-Mexico border via coyotes or took advantage of loopholes in
immigration policy enacted in 2012 under the Obama Administration that allowed them to claim
asylum for persecution. No verification of the basis for seeking asylum is required and follow up
is not provided. Thus, the victims disappeared into the United States. Many of these women are
under the control of Asian organized crime groups and are being sex trafficked in illicit massage
parlors across the United States (Polaris, 2018, Human Trafficking in Illicit Massage
Businesses.)




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13.      Foreign national victims of human trafficking are found in both labor and sex trafficking
across the United States. Foreign nationals who don’t speak English and are undocumented can
easily be marginalized and isolated. Fear of deportation can keep victims from reporting to law
enforcement. Often these victims have been told to fear law enforcement and are unaware of
their rights. Unaccompanied and undocumented minors who enter the United States via
smugglers are extremely vulnerable to traffickers and other abusers. There is no one to file a
missing child report, or issue an Amber Alert. There is no record that the child is even here in
this country. No one even knows to look. In the eyes of a trafficker, children in these
circumstances make ideal victims.
14.    The following graphic represents top venues for human trafficking reported to the
National Human Trafficking Hotline during the year of 2019 (the latest year those statistics are
available):

TOP VENUES/INDUSTRIES FOR                 TOP VENUES/INDUSTRIES FOR SEX
LABOR TRAFFICKING                         TRAFFICKING


  Domestic Work (218)                       Illicit Massage/Spa Business (1,247)

  Agriculture (108)                         Pornography (733)

  Traveling Sales Crews (107)               Residence-Based Commercial Sex (592)

  Restaurants/Food Service (81)             Hotel/Motel-Based (534)

  Construction (55)                         Online Ad, Venue Unknown (452)

# of Cases                        1,236   # of Cases                               8,248



Source: Polaris Project (2019), Retrieved from: https://humantraffickinghotline.org/states
15.     Unskilled labor pools are common places to find labor trafficking victims in states all
across the U.S. Undocumented, marginalized immigrants are ideal candidates for these
situations. Female labor trafficking victims are also often subjected to harassment and sexual
abuse including sex trafficking.
        According to the International Journal of Rural Criminology (2014), 39% of North
         Carolina’s farm workers report being trafficked or otherwise abused.
        In 2008, approximately 1,200 undocumented migrant workers were freed from slave-like
         conditions on tomato farms in central Florida. Victims had wages withheld, were beaten,
         threatened and forced to work long hours in extreme conditions. They were locked up
         and confined. Some of the women reported sexual abuse.
        In 2015, a Justice Department press release announced the unsealing of a 15-count
         superseding indictment “charging three defendants with luring Guatemalan minors and
         adults into the United States on false pretenses, then using threats of physical harm to
         compel their labor at egg farms in Ohio.”
        Other cases have involved tomato pickers locked in box trucks under armed guard and
         children around the age of 7 laboring in Michigan blueberry groves.



                                                                                               App.407
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   Retrieved from: https://www.csmonitor.com/World/2015/1116/Trafficking-In-Florida-s-
   tomato-fields-a-fight-for-ethical-farm-labor-grows)

16.      Farley, Ugarte & Zarate (2004) document reports of residential brothels and camps that
extend from San Diego all the way up to Canada where undocumented immigrant young girls
and women are sold for sex. These victims entered the United States via the southern border with
the assistance of coyotes who initially promised them a better life (Farley, M., Ugarte, MB.,
Zarate, L. 2004. Prostitution and trafficking of women and children from Mexico to the United
States. Journal of Trauma Practice, Taylor & Francis.) One of these camps is described in a 2003
report by a physician working with migrant workers, “‘The first time I went to the camps I didn’t
vomit only because I had nothing in my stomach. It was truly grotesque and unimaginable.’
Many of the girls were 9 to 10 years old. On one occasion the physician counted 35 men raping a
girl for money during a single hour.” (Hernandez, A. 2003. The Sex Trafficking of Children in
San Diego: Minors are prostituted in farm labor camps in San Diego. El Universal, Mexico City.
Jan 11, 2003).

 Number of Trafficking Cases by State of Exploitation

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17.     Humanitarian considerations are primary in our border policy. Nevertheless, there are
fiscal costs to consider as well. Expenses are incurred by our federal government, but also by
states for things like law enforcement; and other criminal justice system resources, social service
costs, the public health system as well as opportunity costs should be considered. Labor
trafficking results in lost wages and tax revenue and puts downward pressure on wages in
general, especially in unskilled labor pools. This further exacerbates the economic challenges for
individuals working in those areas of the economy which often impacts increased demand for




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assistance with housing and food. The money made through human trafficking by international
organized criminal organizations operating in the United States further empowers these entities
and contributes to an increase in crime in general. All of this has a very real price tag to it. In
2016, the University of Texas and published a report estimating the prevalence of child sex
trafficking and labor trafficking in Texas and the associated financial cost to the state. Key
findings of this report estimate that approximately 79,000 minors were being sex-trafficked in
Texas at any given time during that year. The lifetime social service costs incurred by the state
and the victims themselves through mental and physical health costs, strains to the public health
system, and law enforcement expenses is estimated to be $6.6 billion dollars. The study
additionally estimates the annual value of lost wages for labor trafficking victims to be
approximately $600 million dollars. (Source retrieved from: https://globalinitiative.net/wp-
content/uploads/2018/01/Human-trafficking-by-the-numbers.pdf)
18.     In conclusion, the data presented indicates there is a relationship between the prevalence
of human trafficking in the United States and activity on the US-Mexico border. Immigration
policies as they relate to the management of the southern border of the United States are a
contributing factor to overall rates of human trafficking in the United States. Cross border
trafficking is not the largest cause of overall human trafficking in the United States, as the
majority of human trafficking cases within the United States originate domestically.
Nevertheless, cross border human trafficking activity has implications for the overall prevalence
of human trafficking in all fifty states, not just the states along the U.S. Mexico border.


Missouri
19.     For the three years 2017 through 2019, between 9% and 12% of calls made to the
National Human Trafficking Hotline for the state of Missouri involved foreign nationals. It is my
professional opinion, based on my study of relevant research and my work in the field, that what
is reported to the National Human Trafficking Hotline are just the proverbial “tip of the iceberg.”
The vast majority of cases of human trafficking are not identified or reported at all, this is
especially true for cases in which the victims are foreign nationals. Most of these victims are
very isolated and marginalized by physical, geographical, cultural and linguistic factors. They,
like many human trafficking victims, do not self-identify as victims, do not know their rights,
and do not know who or how to ask for help.
20.      Several recent sample cases of human trafficking involving foreign nationals who were
able to gain entry into the United States due to weaknesses in immigration policy and then were
exploited in or through Missouri are provided in the following section. They detail the ways in
which lax immigration policy and open borders create opportunities for traffickers. Once victims
arrive in the United States, they do not just stay in the bordering states of California, Arizona,
New Mexico and Texas. Cases involving human trafficking of foreign nationals are documented
in all fifty states.
21.    In 2014, an 80% increase in unaccompanied minors at the U.S. Mexico border was
reported. This increase is attributed to several factors, including a change in policy regarding the



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potential deportation for undocumented immigrants who were minors. Accompanying that
change in policy was a marked increase in smugglers’ recruitment in origin countries.
( Robertson, Lori (2018-06-28). "Illegal Immigration Statistics"). As Director of our state HTTF,
I have the opportunity to work with numerous social service and law enforcement agencies
across the state. A veteran state Trooper with over two decades of experience on Missouri
highways recounted for me how in 2014, he saw a marked increase in activity on our highways
involving foreign nationals. Some of that activity he suspects involved human trafficking.
22.     Missouri can be a destination or transit state for many human traffickers. This is mainly
due to the state’s substantial transportation infrastructure, major population centers and various
aspects of our economy that are reliant on unskilled labor such as agriculture. Missouri has the
7th largest highway system in the nation with six major interstates. Coupled with its geographical
middle location in the country, this ensures that a significant portion of transnational movement
passes through Missouri.




Source: Missouri Department of Economic Development (2021). Retrieved from:
https://ded.mo.gov/transportation-and-logistics/why-missouri/centrally-located-with-excellent-
infrastructure




                                                                                         App.410
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21               Page 115 of 165 PageID 760



Case Examples
An Unaccompanied Three Year Old Girl
23.     On December 22, 2020, a Kansas Highway Patrol Technical Trooper conducted a traffic
stop on U-54 Hwy in SW Kansas. The vehicle was full of illegal immigrants. The trooper
observed 9 males and 1 female and wanted to check the welfare of the female to make sure that
she was not being trafficked. During the traffic stop, it came to light that there was a small
female child in the vehicle. The trooper re-approached and eventually discovered that the 3 year
old female from Ecuador was concealed under the rear bench seat and covered with a
blanket. Further investigation revealed that the child was not related to anyone in the
vehicle. Further, her parents had her smuggled across the U.S.-Mexico border in one fashion and
they were going to attempt to cross utilizing a different method. The parents didn’t make it
across. However, they had sent the girl with a phone and some phone numbers to contact if this
scenario happened. The driver stated he picked the child up in Albuquerque, NM at a gas station
from a different vehicle. He admitted he was taking the child to Chicago [via Missouri]. The
parents had planned to arrive in New York to live with family. The driver didn’t know why the
girl was going to Chicago or whether she would end up in New York or not. He was being paid
to transport these immigrants.
24.    The girl was removed from the situation and family in New York was contacted. No one
had heard from this girl in the six days since she crossed the border. Two days later, the family
members from New York arrived to take custody of the girl.
25.    This traffic stop came five days after some human trafficking/sex offender training that
the Missouri State Highway Patrol provided to this trooper and other members of the Kansas
Highway Patrol.
(Source: Personal Communication (April 2, 2021). Kansas Highway Patrol)
26.     As task force director, I am aware of children in situations like this, especially very
young ones, being sexually exploited in residential brothels and through websites that specialize
in producing child sexual abuse material (CSAM) (also referred to as child pornography). There
is a very specific niche market for CSAM featuring very young children with subscribers who
are willing to pay high dollar to access. Some of these websites require subscriptions where a
viewer can pay for customized sessions where they can request specific acts to be done to the
child while the viewer watches live. The website platforms that participate in this horrible
practice often use children from developing countries with unstable governments where they
have reasonable assurance that there will be no law enforcement involvement. Children who are
unaccompanied and undocumented in the United States are ideal potential victims for this form
of horrific abuse as well.
______________________________________________________________________________




                                                                                         App.411
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Labor Trafficking in the Kansas City Area

27.     In 2016, the owners and crew leaders of a company named Century Roofing were found
to be involved in labor trafficking of undocumented immigrants. The federal indictment alleges
that the workers were threatened, intimidated, and coerced into paying kickbacks to the company
and its managers. Workers were housed in over-crowded apartments, and threatened with
deportation if they did not work long hours and pay money back to supervisors. Further
investigation indicated that Century Roofing helped facilitate the recruitment and transportation
of their victims for the purpose of providing below market wages. Three arrests were made.

Retrieved from: https://fox4kc.com/news/3-arrested-in-kck-on-criminal-charges-following-
homeland-security-investigation/



Labor Trafficking in the Branson Area
28.      In 2009, a labor leasing company named Santa Cruz Management, was found to be hiring
foreign nationals who had been trafficked into the United States utilizing loopholes in the U.S.
H-2B Visa system. The company sent recruiters to countries like Belize and the Phillipines to
find workers to fill their positions knowing there were weaknesses in the H-2B Visa system that
could be used to facilitate their entry into the U.S. Workers agreed to incur a debt that they
believed could later be paid off once they started working. The labor company would help
facilitate travel, and provided assistance with circumventing the immigration process by telling
them how to lie to immigration officials. Victims were then forced violate the terms of their
visas, housed in overcrowded apartments and hotel rooms, and threatened with deportation. The
victims were employed as landscapers, housekeepers and worked in restaurants in the Branson
Area.
29.     This case is a classic example of how the tactic of utilizing debt bondage is a common
means to control labor trafficking victims and exploit them for their wages. Many victims make
substandard wages, but even those who make minimum wage can then be forced, coerced or
tricked into paying all or most of that back to the company as a means to pay of that debt.
Traffickers will continue to find ways to add to this contrived debt as a means to continue control
and make money. An important aspect of this story to keep in mind is that were it not for
weaknesses in our immigration system, be it loopholes in our Visa system or a physical opening
in a border where crossing is permissible, traffickers would not invest in recruiting, transporting
and harboring of victims in the first place.
Retrieved from: https://www.hoppocklawfirm.com/a-branson-human-trafficking-scheme-and-its-
hopeful-aftermath/




                                                                                          App.412
                                                    Multi State Labor Trafficking Case
                                                    30.     In 2009, eight individuals from Uzebekistan were charged with racketeering, forced labor
                                                    trafficking, immigration violations. They owned and operated three labor leasing companies that
                                                    primarily was looking to hire house cleaners for hotels across 14 states including Missouri,
                                                    specifically in the Kansas City and Branson areas. The workers were largely undocumented
                                                    immigrants who entered via the southern U.S.-Mexico border or had overstayed their visas. They
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                                                    were controlled by debt bondage tactics in which sometimes worker would receive paychecks
                                                    with negative earnings and threats of physical violence and abuse and threat of deportation. The
                                                    indictment also included violations related to identity theft, harboring illegal aliens, mail fraud,
                                                    conspiracy to commit money laundering, transporting illegal aliens, visa fraud, extortion,
                                                    interstate travel in aid of racketeering, wire fraud and inducing the illegal entry of foreign
                                                    nationals.
                                                    Retrieved from: https://www.justice.gov/opa/pr/eight-uzbekistan-nationals-among-12-charged-
                                                    racketeering-human-trafficking-immigration
                                                    I swear or affirm under penalty of perjury that the foregoing is true and correct.
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21




                                                    Dated: April 28, 2021
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                                                             ~;
                                                                                 I~




                                                                            Alison Phillips
                                                                                                                                               App.413
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

                                              §
 THE STATE OF TEXAS and                       §
                                              §
 THE STATE OF MISSOURI,                       §
                                              §
        Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                              §
 v.                                           §
                                              §
 JOSEPH R. BIDEN, JR., in his official        §
 capacity as President of the United States   §
 of America, et al.,                          §
                                              §
        Defendants.                           §

       APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                                DECLARATION OF CARA PIERCE



                                        EXHIBIT E




                                                                             App.414
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                Page 119 of 165 PageID 764


                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION
THE ST ATE OF TEXAS AND                              )
THE ST ATE OF MISSOURI,                              )
                                                     )
                        Plaintiffs,                  )
                                                     )
V.                                                   )       Case No. 2:21-cv-00067-Z
                                                     )
JOSEPH R. BIDEN, JR.,                                )
in his official capacity as                          )
President of the United States of                    )
America, et al.,                                     )
                                                     )
                        Defendants.                  )


                              DECLARATION OF CARA PIERCE

          My name is Cara Foos Pierce, and I am over the age of 18 and fully competent in all

respects to make this declaration. I have personal knowledge and expertise of the matters herein

stated.


Background

          1.    I am the Chief of the Texas Attorney General's Human Trafficking and

Transnational Organized Crime Section ("HTTOC"), and I also serve, as designee of Texas

Attorney General Ken Paxton, as the chair of the Texas Human Trafficking Prevention Taskforce

and the Texas Human Trafficking Coordinating Council. In these roles, I am charged with

developing and implementing a comprehensive plan to eradicate human trafficking in Texas. I

work with federal, state and local partners, including prosecutors, law enforcement, social service

providers, and non-government organizations to combat human trafficking. I also supervise seven

prosecutors that support District Attorneys throughout Texas on human trafficking prosecutions. I

have trained thousands of law enforcement officers, prosecutors and community members about




                                                                                          App.415
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 human trafficking. I also consult and serve as a Resource Witness to the Texas Legislature on

human trafficking.       In my role as Chief of HTTOC, I was asked to write this Declaration

summarizing the scope of human trafficking in Texas.

           2.     Prior to joining the Attorney General's Office in June of 2020, I was an Assistant

United States Attorney in the Northern District of Texas for twelve years. I served as the Human

Trafficking Coordinator for the District for nine years, and I prosecuted over 80 human trafficking

cases, involving over 200 victims. I have seen first-hand the horrific trauma traffickers inflict on

victims, and the long-term impact it has on their lives. Traffickers frequently target the most

vulnerable people - children, people with substance abuse problems, people without legal status

in the United States, people with mental or physical disabilities and those experiencing

homelessness. They are master manipulators that prey on people's vulnerabilities, and they profit

greatly from exploiting others.


Human Trafficking in the United States

           3.    Human trafficking is the fastest growing crime impacting every continent and

economic structure in the world. 1 Affecting every ethnicity, gender, age and socioeconomic

background, human trafficking knows no boundaries. And the true magnitude of this hidden crime

is largely unconfirmed as human trafficking data is often difficult to collect. 2 The majority of

existing data focuses primarily on identified victims, highlighting only a fraction of the problem.

Because many survivors do not report their exploitation for a variety of reasons, including fear of

harm or retaliation, language barriers, mistrust of government and trauma, the data will never fully




1 https://www.
               a2I.org/content/human-trafficking/gqe0rc (last visited Apr 29, 2021).
2 Noi;jl
        L. Busch-Armendariz et al., Human Trafficking by the Numbers: The Initial Benchmark of Prevalence and
Economic Impact for Texas (December 2016), https://ic2 .utexas.edu/p ubs/human-trafficking-by-the-numbers-the-
initial-benchmark-of-prevalence-and- economic-im pact-for-texas /.




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    reflect the gravity of human trafficking cases. However, data can provide useful insight into human

trafficking trends.

                4.         For example, the Counter Trafficking Data Collaborative collects data on human

trafficking from organizations across the world. By collaborating data from several different

organizations, it determined that 10.9% of trafficking victims in the United States came from

Mexico. The second highest nationality of non-American trafficking victims was the 3. 7% who

came from China. 3


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                                        16.42%
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                                        11.19%
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     >47    t                           3 32'1.                                                                     Pacific
                                                                                                                    Ocean




                5.        Federal agencies provide additional insight into the number of foreign nationals in

trafficking situations in the United States. In 2019, the United States Department of Health and

Human Services served 1573 individuals, including 968 trafficking victims and 605 family

members who were foreign national victims. 4 The State Department's Trafficking in Persons

Report also tracks Certification Letters, which allow foreign national adult victims of severe

trafficking to receive continued presence, and Eligibility Letters, which does the same for children.

In 2019, HHS issued 331 Certification Letters, which was approximately 75% of the number


3 https://www
             .ctdatacollaborative.org/.
4
 2020 Trafficking in Persons Report, p.525, found at https://www.state.gov/wp-content/uploads/2020/06/2020-TIP-
Report-Complete-062420-FINAL.pdf.




                                                                                                                              App.417
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issued in 2018. 5 The number of Eligibility Letters, in contrast, increased from 466 in 2018 to 892

in 2019. 6 DHS also reported on the issuance of T visas, which allow for Continued Presence in

the United States. It requires that the applicant show that they are ( 1) a victim of severe trafficking

in persons, (2) are physically present in the United States, (3) have complied with law enforcement,

and (4) would suffer hardship if they were removed from the United States. In 2019, DHS granted

T status to 500 individuals and 491 family members, which was a significant decrease from 576

victims and 703 family members in 2018. 7 DHS also issued Continued Presence in 2019 to 125

trafficking victims. 8

            6.    Many immigrants come to the United States in hopes of finding a legitimate job,

and they end up being exploited, in places such as illicit massage businesses ("IMBs"). IMBs

frequently traffic women from Asian countries, including China and South Korea. 9 Women who

come to the United States and end up working in an 1MB are frequently smuggled into the United

States, or they enter on a tourist visa, and overstay that visa. These girls and women are frequently

indebted to their smuggler, and they end up being trafficked to repay that debt. 10 Once here, they

are unable to leave because they are controlled by their traffickers due to their immigrant status

and through threats and coercion. 11


Human Trafficking in Texas

            7.    Texas consistently has the second highest number of reported human trafficking

cases in the United States. Texas' size, diverse economy, and geographic location as a border state




5 Id.
        at 526.
6 Id.

1 Id.
s Id.
9
  Polaris: Human Trafficking in Illicit Massage Businesses p. 19.
IO Id
11/d.




                                                                                              App.418
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leads to a wide range of human trafficking related crimes and issues. According to Human

Trafficking by the Numbers: The Initial Benchmark ofPrevalence and Economic Impact fer Texas,

a prevalence data report published in 2016, minor and youth sex trafficking is estimated to cost

Texas approximately $6.6 billion, and traffickers are estimated to exploit approximately $600

million from victims of labor trafficking. 12 Migrants are frequently targeted by traffickers and

exploited for their labor because of their lack of community and family ties in the United States,

their uncertain immigration status and language barriers.

         8.       Currently, Texas has over 1,000 active illicit massage businesses, as identified by

Heyrick Research. These storefront brothels frequently employ women without legal status in the

United States. This makes them particularly susceptible to traffickers, who exploit them through

sex trafficking and debt bondage arising from being smuggled into the United States. In 2020,

there were over 37,000 online commercial advertisements for illicit massage businesses in Texas.

         9.       In 2019, the National Human Trafficking Hotline identified 2,455 victims, 515

traffickers, and 240 trafficking businesses located in Texas. 13 It also identified 1,080 trafficking

cases in Texas. 14 Of those, 16% involved foreign nationals, with unreported citizenship. 15 While

this is not a complete picture of the scope of the human trafficking problem in Texas for the reasons

stated in paragraph 3 above, it indicates that non-citizens are particularly susceptible to being

trafficked Also, non-citizens may not report their trafficking through the Hotline because of

language barriers and fear of deportation.




12 Id.
       Net present value (NPV) of estimated lifetime cost of minor and youth sex trafficking victims.
13
   https ://humantraffickinghotline.org/sites/default/files/2019%20Texas%20State%20Report.pdf
14 Id.
15
   https://humantraffickinghotline.org/state/texas




                                                                                                        App.419
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                 LOCATIONS OF REPORTED HUMAN TRAFFICKING IN TEXAS




This image represents locations in Texas where trafficking was reported to the Hotline. While

these figures are shocking, they represent only a small glimpse of the whole picture as these

statistics indicate only reported cases. Many cases are not reported either because of fear, or

victims may not even know that they are victims of a crime.


           10.     Since 2008, when Texas issued its first report on human trafficking in the state,

there are five times the number of trafficking arrests and four times the number of human

trafficking convictions in Texas courts. Likewise, according to the Texas Department of Public

Safety, when many industries in Texas slowed down because of COVID-19, human trafficking

flourished. In 2020, there were 1,817,605 online commercial sex advertisements posted in Texas.

Of those ads, 323,900 are believed to advertise children for commercial sex. Even more startling,

most of the more than 1.8 million commercial sex ads were likely reused on several occasions,

making the actual number of commercial sex transaction substantially higher.




16
      .
     Id.




                                                                                           App.420
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             11.     The Texas Attorney General's Human Trafficking and Transnati onal/Org anized

 Crime Section (HTT0C ) was established in 2016 to assist human trafficking prosecuti ons across

 the State.        HTT0C is currently comprised of a team of seven criminal attorneys, two civil

 attorneys, one policy attorney, three legal assistants, a victim advocate, a policy specialist , and a

 criminal analyst. The 0AG- HTT0C section assists law enforcement and prosecutors on human

trafficking cases, pursues civil litigation against traffickers and businesses, assists victims with

 resources, engages the public through training, develops initiatives to enhance the state's support

and coordinat ion of human trafficking efforts, and facilitates collaboration between federal, state,

and local law enforcem ent and prosecutors. Since its inception, HTT0C has resolved 51 cases,

resulting in 734 years in prison and one life sentence for human traffickers. HTT0C is currently

involved in 42 ongoing human trafficking cases and investigations across the state.

             12.     The charts below provide data on the number of arrests and convictions for human

trafficking and related offenses in state courts in Texas, including compelling prostitution,

promotio n of prostitution, and aggravated promotio n of prostitution. 17 It should be noted that

arrests and cases from recent years, may be ongoing and delayed in the court process because of

COVID-1 9, thus producin g a relatively low number of convictions compared to prior years as of

the date of this Declaration.



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         2007               39                    11                     9                  7                  3
         2008               24                     5                    10                 10                  5
         2009               12                     2                     4                  0                 10
         2010               16                     7                     3                  2                  3
         2011               24                     8                     5                  1                  2
17
     Source: Texas Department of Public Safety. All data by fiscal years. 2007 from January I-August 31.




                                                                                                           App.421
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          2012              68                   10                     5                  5                  3
          2013             109                   20                    11                  1                 20
          2014             110                   26                    19                  1                 14
          2015             120                   19                    32                  6                 40
          2016             142                   26                    53                  6                 34
          2017             128                   18                    41                  6                 46
          2018             184                   20                    62                  3                 39
          2019             165                   27                    46                  7                 53
          2020             185                   21                    28                  5                 39
          2021              45                    2                     2                  2                  5

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       2007                45                     0                    13                   3                  5
       2008                45                     4                    22                   0                 16
       2009                51                     2                    13                   6                14
       2010                48                     6                    13                   3                  4
       2011                65                     4                    10                   2                16
       2012                70                     4                    21                   3                14
       2013                85                     7                    19                   2                22
       2014               113                    16                    25                   5                34
       2015               105                    19                    38                   6                49
       2016               142                     6                    35                  12                37
       2017               141                     7                    31                  15                81
       2018               106                     7                    43                   7                35
       2019               105                     5                    26                   6                53
       2020                97                     5                    18                   3                28
       2021                21                     1                     4                   0                  4

             13.      In 2019, Texas had the highest number of active human trafficking cases pending

in federal courts in the United States. 18 Forty-eight federal human trafficking defendants were

convicted in Texas in 2019, which was also the highest in the nation. The 2019 Federal Human

Trafficking Report also noted that 19.6% of victims in new trafficking cases across the country




18
     Federal Human Trafficking Report, The Human Trafficking Institute (2019).




                                                                                                       App.422
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lacked regular immigration status in the United States. 19         Victims hailed from 24 different

countries, including Guatemala, Honduras, Mexico, Columbia, the Dominican Republic and

Venezuela. It also noted that traffickers exploited communication barriers to isolate these victims,

along with their fear of deportation, as a means of control. 20

           14.    Based on my knowledge and experience, I anticipate that any increase in non-

citizens present in the United States, including those claiming asylum, is likely to increase human

trafficking because traffickers often target non-citizens for exploitation. Traffickers may use any

method available to get their victims into the United States, including instructing them to claim

asylum at the border; many victims feel compelled to comply with their trafficker's demands.

Also, even legitimate asylum seekers, especially children, face the risk of being trafficked once

they are within the United States. They are especially vulnerable because of cultural and language

barriers and the lack of a stable home and system of support in this country.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

           Executed on this ~    day of May 2021.

                                                                CtMA..7?>'4 P~u
                                                                Cara Foos Pierce




19 Id. at
          30.
zo Id




                                                                                             App.423
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

                                              §
 THE STATE OF TEXAS and                       §
                                              §
 THE STATE OF MISSOURI,                       §
                                              §
        Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                              §
 v.                                           §
                                              §
 JOSEPH R. BIDEN, JR., in his official        §
 capacity as President of the United States   §
 of America, et al.,                          §
                                              §
        Defendants.                           §

       APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                                DECLARATION OF SHERI GIPSON



                                        EXHIBIT F




                                                                             App.424
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

                                                §
 THE STATE OF TEXAS and                         §
                                                §
 THE STATE OF MISSOURI,                         §
                                                §
        Plaintiffs,                             §     Case No. 2:21-cv-00067-Z
                                                §
 v.                                             §
                                                §
 JOSEPH R. BIDEN, JR., in his official          §
 capacity as President of the United States     §
 of America, et al.,                            §
                                                §
        Defendants.                             §

                             DECLARATION OF SHERI GIPSON

       My name is Sheri Gipson, and I am over the age of 18 and fully competent in all respects

to make this declaration. I have personal knowledge and expertise of the matters herein stated.

       1.       I am the Chief of the Texas Department of Public Safety (“DPS”) Driver License

Division. In this capacity, I oversee DPS’s issuance of driver licenses and identification cards to

residents of the State of Texas.

       2.       I was appointed to my current position and confirmed by the Texas Public Safety

Commission in February 2020. Prior to that, I served as Assistant Chief of the Driver License

Division from March 2016 through February 2020. I have worked for the Driver License Division

of DPS for 38 years.

       3.       Pursuant to Section 521.142(a) of the Texas Transportation Code, an individual

applying for an original driver license “who is not a citizen of the United States must present to

[DPS] documentation issued by the appropriate United States agency that authorizes the applicant

to be in the United States before the applicant may be issued a driver’s license.” Section




                                                                                         App.425
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521.1425(d) of the Texas Transportation Code provides that DPS “may not deny a driver’s license

to an applicant who provides documentation described by Section 521.142(a) based on the duration

of the person’s authorized stay in the United States, as indicated by the documentation presented

under Section 521.142(a).”

        4.         Pursuant to Section 521.101(f-2) of the Texas Transportation Code, an individual

applying for an original personal identification certificate “who is not a citizen of the United States

must present to [DPS] documentation issued by the appropriate United States agency that

authorizes the applicant to be in the United States.” Section 521.101(f-4) of the Texas

Transportation Code provides that DPS “may not deny a personal identification certificate to an

application who complies with Subsection (f-2) based on the duration of the person’s authorized

stay in the United States, as indicated by the documentation presented under Subsection (f-2).”

        5.         If an individual presents documentation issued by the federal government

showing authorization to be in the United States (such as an Employment Authorization

Document), and otherwise meets eligibility requirements, DPS will issue a limited term driver

license or personal identification certificate to a non-citizen resident of Texas. 1 A license or

identification certificate issued to such an applicant is limited to the term of the applicant’s lawful

presence, which is set by the federal government when it authorizes that individual’s presence. In

fiscal year 2019 (September 2018 through August 2019), DPS issued 386,898 limited term licenses

and identification certificates. In fiscal year 2020 (September 2019 through August 2020), DPS

issued 304,031 limited term licenses and identification certificates. Driver license and

identification card transactions for FY 2020 were impacted by office closures and reduced



1
 DPS maintains a list documents acceptable for verifying lawful presence. See Tex. Dep’t of Public Safety, Verifying
Lawful Presence 4 (Rev. 7-13), https://www.dps.texas.gov/sites/default/files/documents/driverlicense/documents/
verifyinglawfulpresence.pdf. A copy is attached to this declaration as Exhibit 1.



                                                                                                         App.426
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customer capacity in offices due to the pandemic.

       6.       For each non-citizen resident of Texas who seeks a limited term driver license or

personal identification certificate, DPS verifies the individual’s lawful presence status with the

United States government using the Systematic Alien Verification of Entitlements (“SAVE”)

system. The State of Texas currently pays $0.30 per customer for SAVE verification purposes.

Approximately 18% of customers must complete additional SAVE verification at $0.50 per

transaction.

       7.       For each non-United States citizen resident of Texas who seeks a limited term

driver license, DPS verifies the individual’s social security number and that person’s eligibility

through Social Security Online Verification (“SSOLV”) and the American Association of Motor

Vehicle Administrators’ (“AAMVA”) Problem Drivers Pointer System (“PDPS”) and, if

applicable, the Commercial Driver License Information System (“CDLIS”). The State of Texas

currently pays $0.05 per customer for SSOLV and PDPS verification purposes. There is a cost of

$0.028 for CDLIS verification purposes, which is about 2% of all limited term licenses.

       8.       Each additional customer seeking a limited term driver license or personal

identification certificate imposes a cost on DPS. DPS estimates that for an additional 10,000 driver

license customers seeking a limited term license, DPS would incur a biennial cost of approximately

$2,014,870.80. The table below outlines the estimated costs that DPS would incur based on the

additional number of customers per year for employee hiring and training, office space, office

equipment, verification services, and card production cost. For every 10,000 additional customers

above the 10,000-customer threshold, DPS may have to open additional driver license offices or

expand current facilities to meet that increase in customer demand.




                                                                                          App.427
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                         Additional     Biennial Cost for
  Customer   Additional Office Space Additional Employees, Biennial Cost for
                                                                             Biennial Cost for    Total Cost to
   Volume    Employees    Required                           Verification
                                      Leases, Facilities and                 Card Production          DPS
  Scenario    Required (SqFt) (96 per                           Services
                         employee)         Technology
      10,000     9.4        902.4         $1,978,859.60        $9,011.20        $27,000.00        $2,014,870.80
      20,000    18.8       1,804.8        $3,957,719.20       $18,022.40        $54,000.00        $4,029,741.60
      30,000    28.2        2,707.2      $5,936,578.80        $27,033.60        $81,000.00        $6,044,612.40
      40,000    37.6        3,609.6       $7,915,438.40       $36,044.80       $108,000.00        $8,059,483.20
      50,000    46.9        4,502.4       $9,894,298.00       $45,056.00       $135,000.00       $10,074,354.00
     100,000    93.9        9,014.4     $19,788,596.01        $90,112.00       $270,000.00       $20,148,708.01
     150,000   140.8       13,516.8      $29,682,894.01      $135,168.00       $405,000.00       $30,223,062.01
     200,000   187.8       18,028.8      $39,577,192.01      $180,224.00       $540,000.00       $40,297,416.01

       9.        Standard term licenses issued to most citizens are valid for a period of eight years

with an allowance to renew online once after an office visit. Therefore, most license holders only

have to visit a driver license office once every sixteen years. Because limited term licenses are

limited to the term of the applicant’s lawful presence, it is possible that an individual would have

to renew their limited term license sixteen or more times during the same sixteen-year span. The

frequency of renewing the license would depend on the length of time the appropriate United States

agency authorizes the applicant to be in the United States. Every renewal for a limited term license

requires an additional in-person visit to a DPS facility, and thus requires additional costs related

to employee hiring and training, verification of lawful presence status through the SAVE system,

office space, office equipment, and infrastructure. Thus, the estimated costs identified above that

DPS would incur would only increase as more limited term licenses are issued.

       10.       The added customer base that may be created by an increase in the number of

individuals authorized to be in the United States who chose to reside in Texas will substantially

burden driver license resources without additional funding and support.

       11.       All of the facts and information contained within this declaration are within my

personal knowledge and are true and correct.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true




                                                                                                 App.428
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and correct.

       Executed on this _6th__ day of May 2021.

                                          ____________________________
                                          SHERI GIPSON




                                                                           App.429
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21          Page 134 of 165 PageID 779



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

                                              §
 THE STATE OF TEXAS and                       §
                                              §
 THE STATE OF MISSOURI,                       §
                                              §
        Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                              §
 v.                                           §
                                              §
 JOSEPH R. BIDEN, JR., in his official        §
 capacity as President of the United States   §
 of America, et al.,                          §
                                              §
        Defendants.                           §

       APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                                DECLARATION OF SHERI GIPSON




                                 Verifying Lawful Presence



                                       EXHIBIT F-1




                                                                             App.430
    Case
     -.;;Of P~2:21-cv-00067-Z Document 31-2 Filed 05/14/21            Page 135 of 165 PageID 780
     /        E       X
    II,
    AT
          -
                      A           Verifying Lawful Presence
                  s



An applicant for a driver license (DL) or identification card (ID) must present proof of lawful
presence in the US. The table on the following pages describes the acceptable documents for
each type of applicant attempting to verify lawful presence. All documentation must show the
applicant's name and date of birth. The applicant must validate a name change or other
inconsistent information through additional documentation such as a marriage license, divorce
decree or court order.


The department must verify applicable lawful presence documentation through the US
Department of Homeland Security's (DHS) Systematic Alien Verification for Entitlements (SAVE)
Program. Verification through SAVE is often instantaneous, but when it is not, receipt of the
DL/ID may be delayed for up to 30 days. If SAVE cannot verify on the first attempt, SAVE will
permit two additional stages of verification. Each stage may require additional documentation
from the applicant. After each stage, the applicant will receive instructions either verbally or by
mail on how to proceed with the transaction. To avoid further delay, the applicant should
comply with the instructions fully and as soon as possible. If the applicant provides timely
responses, the process timeline generally occurs as follows.

                                DLD receives response
                      Stage                                     DLD response to applicant
                                      from DHS
                  F.irst                    -   I   I        If verified, card issued
                                                             Instruction letter issued within 48
                  Seconcl     3 to 5 business days           hours after DHS response received
                                                             b DLD
                              Up to 20 additional business   Instruction letter issued within 48
                  mtiirct     days after second response     hours after DHS response received
                              received from DHS              b DLD

Temporary Visitor/Limited Term Issuance

An applicant may be issued a limited term DL/ID if he or she is NOT:

•   A US citizen;
•   A US national;
•   A lawful permanent resident;
•   A refugee; or
•   An asylee.

A limited term DL/ID will expire with the applicant's lawful presence as determined by DHS.


Commercial Driver Licenses

This guide does not apply to commercial driver licenses. A person who is a US citizen, US
national, lawful permanent resident, refugee or asylee may apply for a commercial driver
license. All others may apply for a nonresident commercial driver license, if eligible. Refer to
http://www.dps.texas.gov/DriverLicense/CommercialLicense.htm or Chapter 522 of the
Transportation Code for application and eligibility requirements.
                                                                                             (Rev.7-13}
                                                                                            App.431
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21            Page 136 of 165 PageID 781
    Category                                      Acceptable Documents

                      ❖   Birth certificate issued by the appropriate vital statistics agency of a U.S .
                          State, a U.S. territory, or the District of Columbia indicating birth in U.S.
                      ❖   Department of State Certification of Birth issued to U.S. Citizens born
                          abroad (FS-240, DS-1350, or FS-545) or Consular Report of Birth Abroad
                      ❖   Certificate of U.S . Citizenship
                      ❖   Certificate of Naturalization
                      ❖   U.S. Dept. of Justice - INS U.S. Citizenship Identification Card (1-197 or 1-
                          179)
                      ❖   Northern Mariana Card (1-873)
                      ❖   U.S. passport book that does not indicate on the last page that "THE
                          BEARER IS A UNITED STATES NATIONAL AND NOT A UNITED STATES
                          CITIZEN"


                      U.S. passport book that indicates on the last page that "THE BEARER IS A
                      UNITED STATES NATIONAL AND NOT A UNITED STATES CITIZEN"



                      American Indian Card (form 1-872) which indicates "KIC"



                      American Indian Card (form 1-872) which indicates "KIP"



                      An applicant may refer to the Jay Treaty, 8 U.S.C. § 1359, or 8 C.F.R. § 289.2
                      and may present a variety of documents. Issuance cannot occur without
                      approval of the documents by Austin headquarters. DLD Personnel: make
                      copies of documentation and seek approval through the chain of command.


                      ❖   Permanent Resident Card (1-551)
                      ❖   Resident Alien Card (1-551) - card issued without expiration date
                      ❖   Valid Immigrant Visa (with adit stamp) and unexpired foreign passport
                      ❖   Unexpired foreign passport stamped with temporary 1-551 language (adit
                          stamp), "Approved 1-551," or "Processed for 1-551"
                      ❖   1-94 stamped with temporary 1-551 language (adit stamp), "Approved 1-
                          551," or "Processed for 1-551"
                      ❖    Re-entry Permit 1-327

                      Note: 1-151, the predecessor to 1-551, is not acceptable as proof of permanent
                      resident status.



                      A valid Immigrant Visa within one year of endorsement (i.e. stamped by
                      Customs and Border Protection - adit stamp) and an unexpired passport



                      Immigration documentation with an alien number or 1-94 number indicating this
                      status, which can include but is not limited to:
                          ❖   1-94 or other document showing admission under Section 203(a)(7),
                              "refugee conditional entry"
                          ❖   l-688B coded 274a.12(a)(3)
                          ❖   1-766 with category A3 or A03




                                            2
                                                                                        App.432
          Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21            Page 137 of 165 PageID 782
               Category                                     Acceptable Documents


                                Immigration documentation with an alien number or 1-94 number indicating this
                                status, which can include but is not limited to:
                                    ❖   1-94 with annotation "Section 208" or "asylee"
                                    ❖   Unexpired foreign passport with annotation "Section 208" or "asylee"
                                    ❖   1-571 Refugee Travel Document
                                    ❖   1-688B coded 274a.12(a)(5)
                                    ❖   1-766 with category AS or A0S


                                Immigration documentation with an alien number or 1-94 number indicating this
                                status, which can include but is not limited to:

. .
...   ......
                                    ❖
                                    ❖
                                        1-94 with annotation "Section 207" or "refugee"
                                        Unexpired foreign passport with annotation "Section 207" or "refugee"
                                    ❖   1-571 Refugee Travel Document
                                    ❖   1-688B coded 274a.12(a)(3)
                                    ❖   1-766 with category A3 or A03


                                Immigration documentation with an alien number or 1-94 number indicating this
                                status or Employment Authorization Document (EAD) (1-766) with category A12
                                or C19



                                Employment Authorization Document (EAD)( 1-766)


                                Immigration documentation with an alien number or 1-94 number

                                This can include but is not limited to a form 1-797 indicating pending 1-485 or
                                pending application for adjustment of status.

                                Immigration documentation with an alien number or 1-94 number

                                This can include but is not limited to a form 1-797 indicating a pending
                                application for an extension of status, change of status, petition for non-
                                immigrant worker, or other pending category.

                                Unexpired foreign passport or I -94 with annotation "CFA/PAL" or other
                                annotation indicating the Compact of Free Association/Palau

                                OR

                                Employment Authorization Document (EAD)(I-766) with category A8 or A08


                                Unexpired foreign passport or I -94 with annotation "CFA/RMI" or other
                                annotation indicating the Compact of Free Association/Republic of Marshall
                                Islands

                                OR

                                Employment Authorization Document (EAD)(l-766) with category A8 or A08




                                                      3
                                                                                                 App.433
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    Category                                        Acceptable Documents


                        Unexpired foreign passport or I -94 with annotation "CFA/FSM" or other

               .-   .   annotation indicating the Compact of Free Association/Federated States of
                        Micronesia

                        OR

                        Employment Authorization Document (EAD)(l-766) with category AS or A08


                        Immigration documentation with an alien number or 1-94 number

                        This can include but is not limited to an 1-94 with annotation "Cuban/Haitian
                        entrant"



                        Immigration documentation with an alien number or 1-94 number



                        Immigration documentation with an alien number or 1-94 number

                        This can include but is not limited to 1-797 indicating approved, pending, or
                        prima facie determination of 1-360 or an approved or pending 1-360 or an 1-766
                        with category C31.

                        Immigration documentation with an alien number or 1-94 number

                        This can include but is not limited to an 1-94 with annotation "parole" or
                        "paroled pursuant to Section 212(d)(5)."


                        Immigration documentation with an alien number or 1-94 number


                        Immigration documentation with an alien number or 1-94 number or
                        Employment Authorization Document (EAD) (1-766) with category All

                        Note: Individuals in this status may have been granted an extension to the
                        period of authorized stay that is not reflected on the current EAD. Notifications
                        regarding any extensions to this category will be distributed by Austin
                        head uarters.


                        Immigration documentation with an alien number or 1-94 number




                        Immigration documentation with an alien number or 1-94 number




                        Immigration documentation with an alien number or 1-94 number




                                              4
                                                                                         App.434
Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21            Page 139 of 165 PageID 784
    Category                                      Acceptable Documents

                      Immigration documentation with an alien number or 1-94 number

                      This can include but is not limited to an 1-94 or passport with annotation
                      "Section 243(h)" or a letter or order from USCIS or court granting withholding
                      of deportation or removal.


                      Immigration documentation with an alien number or 1-94 number




                      Immigration documentation with an alien number or 1-94 number




                      Immigration documentation with an alien number or 1-94 number


                      Unexpired foreign passport or I -94

                      Note: Issuance cannot occur unless applicant presents a letter from U.S.
                      Department of State with original signature indicating ineligibility for
                      Department of State issued driver license or requesting issuance of a state
                      issued identification card.

                      All of the following:
                      ♦ Unexpired foreign passport,
                      ♦ Visa (border crosser card), and
                      ♦ I -94
                      Note: Applicant must have an 1-94 to be eligible because of the time and
                      distance from the border restrictions for applicants who do not obtain an 1-94.


                      Unexpired foreign passport or I -94

                      Note: The applicant may not be able meet residency/domicile requirements.



                      This status is restricted to New York, NY and not eligible for a Texas driver
                      license under the domicile/residency requirements.



                      Unexpired foreign passport or I -94



                      This status is limited to persons entering the Commonwealth of the Northern
                      Mariana Islands (CNMI) and is not eligible for a Texas driver license (8 CFR §
                      214.2(3)(23)).




                      Unexpired foreign passport or I -94 or 1-20




                                            5
                                                                                       App.435
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    Category                                     Acceptable Documents



                      Unexpired foreign passport or I -94




                      This status is for commuters from Mexico or Canada and is not eligible for a
                      Texas driver license under the domicile/residency requirements.


                      Unexpired foreign passport or I -94

                      Note: Issuance cannot occur unless applicant presents a letter from US
                      Department of State approving the issuance of a DL/ID.


                      Unexpired foreign passport or I -94




                      Unexpired foreign passport or I -94 or DS-2019




                      Unexpired foreign passport or I -94



                      Unexpired foreign passport or I -94




                      Unexpired foreign passport or I -94 or 1-20




                      Unexpired foreign passport or I -94




                      This status is for commuters from Mexico or Canada and is not eligible for a
                      Texas driver license under the domicile/residency requirements.




                      Unexpired foreign passport or I -94




                      Unexpired foreign passport or I -94




                                            6
                                                                                     App.436
         Case 2:21-cv-00067-Z Document 31-2 Filed 05/14/21                Page 141 of 165 PageID 786
              Category                                          Acceptable Documents


                                      Unexpired foreign passport with admission stamp annotated "WT/WB" or I -94

                                      Note: The applicant may not be able meet residency/domicile requirements.


                                      Unexpired foreign passport with admission stamp annotated "WT/WB" or I -94

                                      Note: The applicant may not be able meet residency/domicile requirements.


*Visa waiver program countries: Andorra, Australia, Austria, Belgium, Brunei, Czech Republic, Denmark, Estonia, Finland,
France, Germany, Greece, Hungary, Iceland, Ireland, Italy, Japan, Latvia, Liechtenstein, Lithuania, Luxembourg, Malta,
Monaco, the Netherlands, New Zealand, Norway, Portugal, San Marino, Singapore, Slovakia, Slovenia, South Korea, Spain,
Sweden, Switzerland, and the United Kingdom.




                                                           7
                                                                                                   App.437
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

                                              §
 THE STATE OF TEXAS and                       §
                                              §
 THE STATE OF MISSOURI,                       §
                                              §
        Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                              §
 v.                                           §
                                              §
 JOSEPH R. BIDEN, JR., in his official        §
 capacity as President of the United States   §
 of America, et al.,                          §
                                              §
        Defendants.                           §

       APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF LEONARDO R. LOPEZ



                                        EXHIBIT G




                                                                             App.438
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION
THE STATE OF TEXAS AND                               )
THE STATE OF MISSOURI,                               )
                                                     )
                        Plaintiffs,                  )
                                                     )
v.                                                   )      Case No. 2:21-cv-00067-Z
                                                     )
JOSEPH R. BIDEN, JR.,                                )
in his official capacity as                          )
President of the United States of                    )
America, et al. ,                                    )
                                                     )
                        Defendants.                  )


                         DECLARATION OF LEONARDO R. LOPEZ

          My name is Leonardo R. Lopez, and I am over the age of 18 and fully competent in all

respects to make this declaration. I have personal knowledge and expertise of the matters herein

stated.

          1.     I am the Associate Commissioner for School Finance/Chief School Finance Officer

at the Texas Education Agency (“TEA”). I have worked for TEA in this capacity since June 2016,

having previously served as the Executive Director of Finance for the Austin Independent School

District (“AISD”) for four years. Prior to my time at AISD, I served for ten years in a variety of

roles for TEA, including six years as the Foundation School Program Operations Manager for the

TEA’s State Funding Division.

          2.     In my current position, I oversee TEA’s school finance operations, including the

administration of the Foundation School Program and analysis and processing of financial data.




                                                                                        App.439
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My responsibilities also include representing TEA in legislative hearings and school finance-

related litigation.

        3.      TEA estimates that the average funding entitlement for 2021 will be $9,216 per

student in attendance for an entire school year. If a student qualifies for the additional Bilingual

and Compensatory Education weighted funding (for which most, if not all, UAC presumably

would qualify), it would cost the State $11,432 to educate each student in attendance for the entire

school year. Assuming additional Bilingual and Compensatory Education weighted funding,

comparable student costs for fiscal year 2022 would be $11,532.

        4.      TEA has not received any information directly from the federal government

regarding the precise number of unaccompanied children (“UAC”) in Texas. However, I am aware

that data from the U.S. Health and Human Services (“HHS”) Office of Refugee Resettlement

(accessed on April 29, 2021 at 4 p.m. CST at https://www.acf.hhs.gov/orr/grant-

funding/unaccompanied-children-released-sponsors-state) (attached as Exhibit 1), indicates that in

Texas, 3,272 UAC were released to sponsors during the 12-month period covering October 2014

through September 2015; 6,550 UAC were released to sponsors during the 12-month period

covering October 2015 through September 2016; 5,391 UAC were released to sponsors during the

12-month period covering October 2016 through September 2017; 4,136 UAC were released to

sponsors during the 12-month period covering October 2017 through September 2018; 9,900 UAC

were released to sponsors during the 12-month period covering October 2018 through September

2019; and 2,336 UAC were released to sponsors during the 12-month period covering October

2019 through September 2020. If each of these children is educated in the Texas public school

system and qualifies for Bilingual and Compensatory Education weighted funding (such that the

State’s annual cost to educate each student for fiscal years 2016, 2017, 2018, 2019, 2020, and 2021




                                                                                          App.440
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would be roughly $9,573, $9,639, $9,841, $10,330, $11,323, and $11,432, respectively), the

annual costs to educate these groups of children for fiscal years 2016, 2017, 2018, 2019, 2020, and

2021 would be approximately $31.32 million, $63.13 million, $53.05 million, $42.73 million,

$112.10 million, and $26.71 million, respectively.

        5.     Additionally, if the same number of UAC are released to sponsors during the 12-

month period covering October 2020 through September 2021 as were released during the 12-

month period covering October 2019 through September 2020, and if each of these children is

educated in the Texas public school system and qualifies for Bilingual and Compensatory

Education weighted funding (such that the State’s annual cost to educate each student for fiscal

year 2022 would be roughly $11,532), the State’s annual cost to educate this group of children for

fiscal year 2022 would be approximately $26.94 million. Currently, all the costs of educating these

students would be borne by the State.

        6      In fact, the number of UAC released to sponsors in Texas may end up being higher

than this, as 2,389 UAC were released to sponsors in Texas during the 6-month period covering

October 2020 through March 2021. (Exhibit 1). If the rate of this 6-month period is maintained

for the rest of the 12-month period through September 2021, 4,778 UAC would be released to

sponsors in Texas for that period. This would be an increase of nearly 105% over the previous 12-

month period number of 2,336.

        7.     School formula funding is comprised of state and local funds. The state funding is

initially based on projections made by each school district at the end of the previous biennium.

Districts often experience increases in their student enrollment from year to year, and the State

plans for an increase of approximately 36,000 students in enrollment growth across Texas each

year.



                                                                                         App.441
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       8.      The Foundation School Program serves as the primary funding mechanism for

providing state aid to public schools in Texas. Any additional UAC enrolled in Texas public

schools would increase the State’s cost of the Foundation School Program over what would

otherwise have been spent.

       9.      Based on my knowledge and expertise regarding school finance issues impacting

the State of Texas, I anticipate that the total costs to the State of providing public education to

UAC will rise in the future to the extent that the number of UAC enrolled in the State’s public

school system increases.

       10.     All of the facts and information contained within this declaration are within my

personal knowledge and are true and correct.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed on this 29th day of April 2021.

                                                            ____________________________
                                                            LEONARDO R. LOPEZ




                                                                                         App.442
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

                                              §
 THE STATE OF TEXAS and                       §
                                              §
 THE STATE OF MISSOURI,                       §
                                              §
        Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                              §
 v.                                           §
                                              §
 JOSEPH R. BIDEN, JR., in his official        §
 capacity as President of the United States   §
 of America, et al.,                          §
                                              §
        Defendants.                           §

       APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                            DECLARATION OF LEONARDO R. LOPEZ




          U.S. Health and Human Services Office of Refugee Resettlement



                                       EXHIBIT G-1




                                                                             App.443
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4/29/2021                           Unaccompanied Children Released to Sponsors by State | The Administration for Children and Families


   Unaccompanied Children Released to Sponsors by
   State
   Publication Date: April 29, 2021
   The data in the table below shows state-by-state data of unaccompanied children released to sponsors as of March 31, 2021.
   ACF will update this data each month. View unaccompanied children released to sponsors by county.

   Please note: ORR makes considerable e ort to provide precise and timely data to the public, but adjustments occasionally
   occur following review and reconciliation. The FY2014 release data posted in the chart below were updated on March 13, 2015.
   The FY2015 release data were updated May 9, 2016. The FY2017 release data were updated May 22, 2018. The FY2018 release
   data were updated December 3, 2019. Questions may be addressed to ORR directly, at (202) 401-9246.


   Unaccompanied Children Release Data

                            TOTAL              TOTAL
                                                                 TOTAL             TOTAL            TOTAL             TOTAL               TOTAL
                            NUMBER             NUMBER
                                                                 NUMBER            NUMBER           NUMBER            NUMBER              NUMBER
                            OF UC              OF UC
                                                                 OF UC             OF UC            OF UC             OF UC               OF UC
                            RELEASED           RELEASED
                                                                 RELEASED          RELEASED         RELEASED          RELEASED            RELEASED
                            TO                 TO
                                                                 TO                TO               TO                TO                  TO
      STATE                 SPONSORS           SPONSORS
                                                                 SPONSORS          SPONSORS         SPONSORS          SPONSORS            SPONSORS
                            IN FY15            IN FY16
                                                                 IN FY17           IN FY18          IN FY19           IN FY20             IN FY21
                            (OCT. 2014         (OCT. 2015
                                                                 (OCT. 2016        (OCT. 2017       (OCT. 2018        (OCT. 2019          (OCT. 2020
                            —                  —
                                                                 — SEPT.           — SEPT.          — SEPT.           — SEPT.             — MAR.
                            SEPT.              SEPT.
                                                                 2017)*            2018)*           2019)             2020)               2021)*
                            2015)*             2016)

      Alabama               808                870               598               736               1,111            247                 333

      Alaska                2                  5                 3                 0                 4                0                   0

      Arizona               167                330               322               258               493              162                 96

      Arkansas              186                309               272               193               359              87                  116

      California            3,629              7,381             6,268             4,675             8,447            2,225               1,696

      Colorado              248                427               379               313               714              172                 168

      Connecticut           206                454               412               332               959              260                 249

      Delaware              152                275               178               222               383              107                 86

      DC                    201                432               294               138               322              48                  38

      Florida               2,908              5,281             4,059             4,131             7,408            1,523               1,779

      Georgia               1,041              1,735             1,350             1,261             2,558            559                 708

      Hawaii                2                  4                 4                 1                 16               6                   3

      Idaho                 11                 39                11                28                62               19                  13

      Illinois              312                519               462               475               863              211                 255

https://www.acf.hhs.gov/orr/grant-funding/unaccompanied-children-released-sponsors-state                                                               1/4


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4/29/2021                           Unaccompanied Children Released to Sponsors by State | The Administration for Children and Families

                            TOTAL              TOTAL
                                                                 TOTAL             TOTAL            TOTAL             TOTAL               TOTAL
                            NUMBER             NUMBER
                                                                 NUMBER            NUMBER           NUMBER            NUMBER              NUMBER
                            OF UC              OF UC
                                                                 OF UC             OF UC            OF UC             OF UC               OF UC
                            RELEASED           RELEASED
                                                                 RELEASED          RELEASED         RELEASED          RELEASED            RELEASED
                            TO                 TO
                                                                 TO                TO               TO                TO                  TO
      STATE                 SPONSORS           SPONSORS
                                                                 SPONSORS          SPONSORS         SPONSORS          SPONSORS            SPONSORS
                            IN FY15            IN FY16
                                                                 IN FY17           IN FY18          IN FY19           IN FY20             IN FY21
                            (OCT. 2014         (OCT. 2015
                                                                 (OCT. 2016        (OCT. 2017       (OCT. 2018        (OCT. 2019          (OCT. 2020
                            —                  —
                                                                 — SEPT.           — SEPT.          — SEPT.           — SEPT.             — MAR.
                            SEPT.              SEPT.
                                                                 2017)*            2018)*           2019)             2020)               2021)*
                            2015)*             2016)

      Indiana               240                354               366               394               794              209                 234

      Iowa                  201                352               277               238               489              119                 115

      Kansas                245                326               289               305               453              95                  100

      Kentucky              274                503               364               370               710              158                 177

      Louisiana             480                973               1,043             931               1,966            355                 478

      Maine                 4                  9                 11                22                26               11                  17

      Maryland              1,794              3,871             2,957             1,723             4,671            825                 838

      Massachusetts         738                1,541             1,077             814               1,756            448                 410

      Michigan              132                227               160               136               248              74                  67

      Minnesota             243                318               320               294               624              151                 176

      Mississippi           207                300               237               299               482              108                 128

      Missouri              170                261               234               203               431              93                  112

      Montana               2                  0                 2                 3                 0                2                   2

      Nebraska              293                486               355               374               563              130                 158

      Nevada                137                283               229               132               324              79                  41

      New
                            14                 25                27                20                25               8                   8
      Hampshire

      New Jersey            1,462              2,637             2,268             1,877             4,236            921                 955

      New Mexico            19                 65                46                43                89               34                  22

      New York              2,630              4,985             3,938             2,845             6,367            1,663               1,545

      North Carolina        844                1,493             1,290             1,110             2,522            610                 674

      North Dakota          2                  10                3                 2                 10               1                   0

      Ohio                  483                693               584               547               1,091            260                 251

      Oklahoma              225                301               267               286               581              120                 150



https://www.acf.hhs.gov/orr/grant-funding/unaccompanied-children-released-sponsors-state                                                               2/4


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4/29/2021                           Unaccompanied Children Released to Sponsors by State | The Administration for Children and Families

                            TOTAL              TOTAL
                                                                 TOTAL             TOTAL            TOTAL             TOTAL               TOTAL
                            NUMBER             NUMBER
                                                                 NUMBER            NUMBER           NUMBER            NUMBER              NUMBER
                            OF UC              OF UC
                                                                 OF UC             OF UC            OF UC             OF UC               OF UC
                            RELEASED           RELEASED
                                                                 RELEASED          RELEASED         RELEASED          RELEASED            RELEASED
                            TO                 TO
                                                                 TO                TO               TO                TO                  TO
      STATE                 SPONSORS           SPONSORS
                                                                 SPONSORS          SPONSORS         SPONSORS          SPONSORS            SPONSORS
                            IN FY15            IN FY16
                                                                 IN FY17           IN FY18          IN FY19           IN FY20             IN FY21
                            (OCT. 2014         (OCT. 2015
                                                                 (OCT. 2016        (OCT. 2017       (OCT. 2018        (OCT. 2019          (OCT. 2020
                            —                  —
                                                                 — SEPT.           — SEPT.          — SEPT.           — SEPT.             — MAR.
                            SEPT.              SEPT.
                                                                 2017)*            2018)*           2019)             2020)               2021)*
                            2015)*             2016)

      Oregon                122                188               170               200               318              71                  89

      Pennsylvania          333                604               501               563               1,229            271                 295

      PR                    0                  0                 0                 1                 3                3                   0

      Rhode Island          185                269               234               235               453              92                  62

      South
                            294                562               483               508               1,012            255                 245
      Carolina

      South Dakota          61                 81                81                96                149              44                  36

      Tennessee             765                1,354             1,066             1,173             2,191            510                 717

      Texas                 3,272              6,550             5,391             4,136             9,900            2,336               2,389

      Utah                  62                 126               99                97                179              75                  39

      Vermont               1                  1                 0                 2                 6                1                   2

      Virginia              1,694              3,728             2,888             1,650             4,215            770                 792

      Washington            283                476               494               435               723              237                 210

      West Virginia         12                 26                23                23                41               4                   12

      Wisconsin             38                 85                94                98                246              62                  63

      Wyoming               6                  23                14                15                15               6                   5

      Virgin Islands        0                  0                 3                 0                 0                0                   0

      TOTAL                 27,840             52,147            42,497            34,953            72,837           16,837              17,154


   *The FY2015 numbers have been reconciled.

   *The FY2017 numbers have been reconciled.

   *The FY2018 numbers have been reconciled.

   *The FY2021 numbers have been reconciled.

   For more information, please read ORR’s reunification policy.


        Topics:
https://www.acf.hhs.gov/orr/grant-funding/unaccompanied-children-released-sponsors-state                                                               3/4


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4/29/2021                          Unaccompanied Children Released to Sponsors by State | The Administration for Children and Families

        Unaccompanied Children (UC)

        Types:
        Grant & Funding

        Audiences:
        Unaccompanied Alien Children (UAC)



   Last Reviewed Date: April 29, 2021




https://www.acf.hhs.gov/orr/grant-funding/unaccompanied-children-released-sponsors-state                                                      4/4


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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

                                              §
 THE STATE OF TEXAS and                       §
                                              §
 THE STATE OF MISSOURI,                       §
                                              §
        Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                              §
 v.                                           §
                                              §
 JOSEPH R. BIDEN, JR., in his official        §
 capacity as President of the United States   §
 of America, et al.,                          §
                                              §
        Defendants.                           §

       APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                              DECLARATION OF LISA KALAKANIS



                                        EXHIBIT H




                                                                             App.448
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION
THE STATE OF TEXAS AND                              )
THE STATE OF MISSOURI,                              )
                                                    )
                      Plaintiffs,                   )
                                                    )
v.                                                  )       Case No. 2:21-cv-00067-Z
                                                    )
JOSEPH R. BIDEN, JR.,                               )
in his official capacity as                         )
President of the United States of                   )
America, et al. ,                                   )
                                                    )
                      Defendants.                   )


                           DECLARATION OF LISA KALAKANIS

       My name is Lisa Kalakanis, and I am over the age of 18 and fully competent in all respects

to make this declaration. I have personal knowledge and expertise of the matters herein stated.

       1.      I serve as the Interim Director of the Texas Health and Human Services

Commission’s Center for Analytics and Decision Support (CADS). The Texas Health and Human

Services Commission (HHSC) is the state agency responsible for ensuring the appropriate delivery

of health and human services in Texas. As such, HHSC has operational responsibility for certain

health and human services programs and oversight authority over the state health and human

services (HHS) agencies.

       2.      As a part of my employment with HHSC, I am responsible for analytic and

quantitative research on health care utilization, demographic trends, and enrollment patterns for

the state’s health care and human service programs, including Medicaid. I am also responsible for

program evaluation activities and analytic support across all of the HHS agencies and programs.




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         3.    I have served as Interim CADS Director since September 1, 2020. I also serve as

the Director for the Data Dissemination Unit within CADS.

         4.    This declaration was first prepared by Monica Smoot, then Chief Data and

Analytics Officer for the Texas Health and Human Services Commission’s Center for Analytics

and Decision Support (CADS). Ms. Smoot retired from the agency in August 2020. The data

contained in this declaration is true and correct.

         5.    In 2007, as part of the 2008-2009 General Appropriations Act, the Texas

Legislature required HHSC to report the cost of services and benefits provided by HHSC to

undocumented immigrants in the State of Texas. This report, also known as the Rider 59 Report,

was first completed by HHSC in 2008. Due to numerous requests for more recent information

following the issuance of the 2008 report, the Rider 59 Report was updated in 2010, 2013, 2014

and 2017. The Rider 59 Report completed in 2017 covered state fiscal year (SFY) 2015.

         6.    HHSC provides three principal categories of services and benefits to undocumented

immigrants in Texas: (i) Texas Emergency Medicaid; (ii) the Texas Family Violence Program

(FVP); and (iii) Texas Children’s Health Insurance Program (CHIP) Perinatal Coverage.

Undocumented immigrants also receive uncompensated medical care from public hospitals in the

State.

         7.    Emergency Medicaid is a federally required program jointly funded by the federal

government and the states. The program provides Medicaid coverage, limited to emergency

medical conditions including childbirth and labor, to undocumented immigrants living in the

United States. Because HHSC Medicaid claims data do not conclusively identify an individual’s

residency status, the portion of Emergency Medicaid payments attributable to undocumented

immigrants must be estimated. Attached as Exhibit 1 is a document that explains the methodology




                                                                                        App.450
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HHSC utilized to obtain the estimates provided in this affidavit. It is the same methodology relied

upon by HHSC for preparing internal estimates and for preparation of the Rider 59 report. The

total estimated cost to the State for the provision of Emergency Medicaid services to

undocumented immigrants residing in Texas was approximately $80 million in SFY 2007, $62

million in SFY 2009, $71 million in SFY 2011, $90 million in SFY 2013, $73 million in SFY

2015, and $85 million in SFY 2017; the estimate in SFY 2019 was $80 million.

       8.      The Family Violence Program contracts with non-profit agencies across the State

to provide essential services to family violence victims, including undocumented immigrants, in

three categories: shelter centers, non-residential centers, and Special Nonresidential Projects.

Because the FVP does not ask individuals about their residency status, the portion of the FVP’s

expenditures attributable to undocumented immigrants must be estimated. Attached as Exhibit 1

is a document that explains the methodology HHSC utilized to obtain the estimates provided in

this affidavit. It is the same methodology relied upon by HHSC for preparing internal estimates

and for preparation of the Rider 59 report. The total estimated cost to the State for the provision of

direct FVP services to undocumented immigrants residing in Texas was $1.2 million in SFY 2007,

$1.3 million in SFY 2009, $1.3 million in SFY 2011, $1.4 million in SFY 2013, $1.0 million in

SFY 2015, and $1.2 million in SFY 2017; the estimate for SFY 2019 is $1.0 million.

       9.      Texas CHIP Perinatal Coverage provides prenatal care to certain low-income

women who do not otherwise qualify for Medicaid. There is no way to definitively report the

number of undocumented immigrants served by CHIP Perinatal Coverage because the program

does not require citizenship documentation. Attached as Exhibit 1 is a document that explains the

methodology HHSC utilized to obtain the estimates provided in this affidavit. It is the same

methodology relied upon by HHSC for preparing internal estimates and for preparation of the




                                                                                            App.451
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Rider 59 report. CHIP Perinatal Coverage expenditures were not included in HHSC’s original

Rider 59 Report because a full year of program data was not available when the report was

prepared. The total estimated cost to the State for CHIP Perinatal Coverage to undocumented

immigrants residing in Texas was $33 million in SFY 2009, $35 million in SFY 2011, $38 million

in SFY 2013, $30 million in SFY 2015, and $30 million in SFY 2017; the estimate for SFY 2019

is $6 million.

       10.       In the 2008 and 2010 versions of the Rider 59 Report, HHSC also provided

estimates of the amount of uncompensated medical care provided by state public hospital district

facilities to undocumented immigrants. In these reports, HHSC estimated that the State’s public

hospital district facilities incurred approximately $596.8 million in uncompensated care for

undocumented immigrants in SFY 2006 and $716.8 million in SFY 2008. HHSC has not provided

any estimates of uncompensated care for undocumented immigrants in more recent versions of the

Rider 59 Report.

       11.       Although all of these numbers are estimated costs for the respective programs, it is

a certainty that each of these programs has some positive cost to the State of Texas due to

utilization by undocumented immigrants.

       12.       Based on my knowledge, expertise, and research regarding the provision of services

and benefits to undocumented immigrants by HHSC, I believe that the total costs to the State of

providing such services and benefits to undocumented immigrants will continue to reflect trends

to the extent that the number of undocumented immigrants residing in Texas increases or decreases

each year.

       13.       CADS can produce an updated report on the cost of services and benefits provided

by HHSC to undocumented immigrants in the State of Texas. Because of other CADS workload,




                                                                                            App.452
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including ongoing reporting on the impacts of COVID on Texas’ vulnerable populations and

demands associated with other litigation, as well as the ongoing legislative session, we estimate

that the report will be ready by May 15.

       14.     All of the facts and information contained within this declaration are within my

personal knowledge and are true and correct.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed on this 30 day of April, 2021.


                                                Lisa Kalakanis

                                               LISA KALAKANIS




                                                                                         App.453
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

                                              §
 THE STATE OF TEXAS and                       §
                                              §
 THE STATE OF MISSOURI,                       §
                                              §
        Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                              §
 v.                                           §
                                              §
 JOSEPH R. BIDEN, JR., in his official        §
 capacity as President of the United States   §
 of America, et al.,                          §
                                              §
        Defendants.                           §

       APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                              DECLARATION OF LISA KALAKANIS




                      Estimating the Percent of Undocumented Clients



                                       EXHIBIT H-1




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Appendix B: Estimating the Percent of Undocumented
Clients

Previous Undocumented Immigrant Estimates

Previously, HHSC relied on different methods to estimate the percent of non-U.S.
citizens in Texas who are undocumented. The first method consisted of assuming
that one-half of the estimated non-U.S. citizen population in the state was
undocumented. Under this method, HHSC would obtain the estimate for total
number of non-U.S. citizens in the state, as reported from the U.S. Census Bureau’s
American Community Survey (ACS)1, and would divide that number by two in order
to obtain an estimate of the undocumented population in the state.

More recently HHSC relied on a method that uses two different sources of official
federal government data to develop its own in-house estimates of the percent of
Texas residents that are undocumented immigrants:


         The Texas-specific sample of the U.S. Census Bureau's American Community
          Survey (ACS), and
         The Office of Immigration Statistics of the U.S. Department of Homeland
          Security (DHS).


The ACS was the source for estimates of the total non-U.S. citizen population in the
state while DHS was the source for the estimated number of persons in the state
who are undocumented.

Using these two sources, HHSC estimated the percent of non-U.S. citizens who are
undocumented by taking DHS' estimate of the number of undocumented
immigrants in Texas (the numerator) and dividing it by the ACS estimate for the
number of non-U.S. citizens in the state (the denominator). This calculation
resulted in HHSC’s estimate of the proportion/percent of non-U.S. citizens in the
state who are undocumented.




1
    The ACS is a large-scale demographic survey that provides annual estimates of the total population in Texas
according to U.S. citizen status (citizen versus non-citizen). However, the estimate for the non-U.S. citizen
population is not broken down any further according to documented/undocumented status because that type of
information is not collected by the survey.




                                                                                                                  A-1
                                                                                                         App.455
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According to this method, during 2008-2014, an estimated two-thirds (62 to 66%)
of non-citizens were considered undocumented on any given year within that
period.

DHS temporarily suspended the publication of its estimates for the
unauthorized/undocumented population after March 2013, when it published
estimates for this population as of January 2012. It resumed publication of the
estimates on April 19, 2021, when it released previously unpublished estimates for
the years 2013-2018. The new updates may be used to develop future versions of
this report.

With the temporary suspension of DHS's estimates after March 2013, HHSC lost the
official information source relied upon for data on the number of non-citizens who
are undocumented, as none of the other Federal and Texas state agencies collected
and published information about the legal status of non-U.S. citizens’ residing in the
state of Texas.

This situation resulted in the need to develop and alternative method for estimating
the number and percent of non-U.S. citizens using HHSC services who are
undocumented. The goal was to develop a method that does not rely on the simple
assumptions previously used (that one-half of non-citizens are undocumented). The
alternative method is explained below.

Method for Current Estimates

Benchmark Program: Texas’ Medicaid Type Program 30

Texas’ Medicaid Type Program 30 (TP 30) plays an important role in paying for
emergency medical services provided to non-U.S. citizens who do not meet the
eligibility criteria for Medicaid. Given the high-profile role the program plays in
compensating health care providers for services provided to non-eligible non-
citizens, it was chosen as the benchmark program for developing an estimate of the
percent of non-citizens provided HHSC services who are undocumented.

To a very significant degree, uninsured non-citizen reproductive-age (ages 15-44)
females are the main caseload driver within TP 30. In SFY 2017, reproductive- age
females accounted for 81% of the clients served. Given the highly disproportionate
impact this group has on the program, it is by far the most important one to
analyze to obtain the best and most accurate estimate possible of the percent of
clients served under this program that are likely to be undocumented non-citizens.



                                                                                  A-2
                                                                              App.456
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Data Analysis and Estimate

According to the U.S. Census Bureau’s American Community Survey (ACS), in 2016
there were approximately 446,000 uninsured non-U.S. citizen reproductive-age
females in Texas. Of those, 39 percent (176,000) had resided in the U.S. for 10
years or less and 61 percent (270,000) for more than 10 years.

It is reasonable to expect that the longer a non-citizen has resided in the U.S., the
more likely he/she would have been able to attain some form of U.S. legal
permanent resident status.

Assuming that the fraction of non-citizen reproductive-age females (ages 15-44)
who have not attained some form of legal permanent resident status is 7 of every
10 (70%) among those who have lived in the U.S 10 years or less, and 4 of every
10 (40%) among those in the U.S. for more than 10 years, the estimated potential
percentage for undocumented females of reproductive age in Texas is 52%.

               Calculation for Estimated Percent Undocumented

    ((0.7*176,000 + 0.4*270,000) / (446,000)) * 100 = 51.8% ~ 52%

Extending these assumptions derived from the ACS data to non-citizen
reproductive-age females that received assistance under TP 30 – for whom year of
entry into the U.S. information is not known -- it is then estimated that 52% of
them are likely to be undocumented.

Taking into consideration that uninsured, non-citizen reproductive-age females
represent a highly disproportionate share of the program’s caseload, the estimated
potential percentage for undocumented clients applicable to them, slightly adjusted
downwards to 50%, is also applied to the entire TP 30 program. Due to the lack of
sufficient demographic data on populations at-risk for other programs of interest,
the same percentage was also applied to the Family Violence and CHIP-P programs
for the purposes of the analysis in this report.




                                                                                   A-3
                                                                              App.457
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

                                              §
 THE STATE OF TEXAS and                       §
                                              §
 THE STATE OF MISSOURI,                       §
                                              §
        Plaintiffs,                           §   Case No. 2:21-cv-00067-Z
                                              §
 v.                                           §
                                              §
 JOSEPH R. BIDEN, JR., in his official        §
 capacity as President of the United States   §
 of America, et al.,                          §
                                              §
        Defendants.                           §

       APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                              DECLARATION OF REBECCA WALTZ



                                         EXHIBIT I




                                                                             App.458
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION
THE STATE OF TEXAS AND                               )
THE STATE OF MISSOURI,                               )
                                                     )
                        Plaintij]s,                  )
                                                     )
V.                                                   )       Case No. 2:21-cv-00067-Z
                                                     )
JOSEPH R. BIDEN, JR.,                                )
in his official capacity as                          )
President of the United States of                    )
America, et al.,                                     )
                                                     )
                        Defendants.                  )



                           DECLARATION OF REBECCA WALTZ

       My name is Rebecca Waltz, and I am over the age of 18 and fully competent in all respects

to make this declaration. I have personal knowledge and expe1iise of the matters herein stated.

        1.     I am the Budget Director for the Texas Depmiment of Criminal Justice. The Texas

Department of Criminal Justice (TDCJ) is the state agency responsible for the care, custody, and

rehabilitation of persons convicted ofa criminal offense in the state of Texas.

       2.      I have been employed with TDCJ since June 2004, and I have served in my current

position since January 2020. Prior to that, I served as TDCJ's Deputy Budget Director from

December 2017 to December 2019, a Senior Budget Analyst from October 2007 to November

2017, and a Junior Budget Analyst from September 2004 to September 2007.

       3.      The Bureau of Justice Assistance (BJA) administers the State Criminal Alien

Assistance Program (SCAAP) in conjunction with the U.S. Immigration and Customs

Enforcement (ICE), Depmiment of Homeland Security (OHS). SCAAP provides federal payments

to states and localities that incmTed correctional officer salary costs for incarcerating



                                                                                         App.459
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undocumented criminal aliens with at least one felony or two misdemeanor convictions for

violations of state or local law, and incarcerated for at least 4 consecutive days during the repmiing

period.

          4.     As a patt of my employment with TDCJ, I am responsible for compiling the data

to be included in TDCJ's application for federal reimbursement to the State Criminal Alien

Assistance Program. These data sets include the number of correctional officers and their salmy

expenditures ( correctional officer is defined as a person whose primary employment responsibility

is to maintain custody of individuals held in custody in a correctional facility) for the reporting

period, information regarding maximum bed counts and inmate days, and information about the

eligible inmates - (I) whom the agency incarcerated for at least four consecutive days during the

reporting period; and (2) who the agency knows were undocumented criminal aliens, or reasonably

and in good faith believes were undocumented criminal aliens.

          5.     TDCJ has sought reimbursement from the federal government through SCAAP

since 1998.

          6.     For the most recently completed SCAAP application (reporting period of July I,

2017 through June 30, 2018), TDCJ reported data for 8,951 eligible inmates and total of2,439, II 0

days. An estimate of the cost of incarceration for these inmates can be calculated by multiplying

the systemwide cost per day per inmate for Fiscal Year 2018 ($62.34) as reported by the Texas

Legislative Budget Board by the number of days. For example ($62.34 x 2,439, 1 IO days =

$152,054,117).

          7.     Of this estimated amount, TDCJ was reimbursed $14,657,739 by SCAAP.

          8.   It is my belief that to the extent the number of aliens in TDCJ custody increases,

TDCJ's unreimbursed expenses will increase as well.




                                                                                            App.460
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       9.      All of the facts and information contained within this declaration are within my

personal knowledge and are true and cmTect.


       Pursuant to 28 U.S.C. § 1746, I declare under penalty ofpe1jmy that the foregoing is true

and correct.


       Executed on this 30th day of April 2021.




                                                          REBECCA WALTZ




                                                                                      App.461
